                                 No. 23-16094

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT


 JASON WOLFORD; ALISON WOLFORD; ATOM KASPRZYCKI; HAWAII
                   FIREARMS COALITION,
                                                  Plaintiffs-Appellees,
                                       v.
ANNE E. LOPEZ, in her official capacity as the Attorney General of the State of
                                 Hawai‘i,
                                                  Defendant-Appellant.

   On Appeal from the United States District Court for the District of Hawai‘i
          No. 1:23-cv-00265-LEK-WRP, Hon. Leslie E. Kobayashi


  EMERGENCY MOTION UNDER CIRCUIT RULE 27-3 FOR A STAY
  PENDING APPEAL AND FOR AN IMMEDIATE ADMINISTRATIVE
      STAY PENDING DISPOSITION OF THE STAY MOTION

                    IMMEDIATE RELIEF REQUESTED


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                     CIRCUIT RULE 27-3 CERTIFICATE

      Defendant-Appellant Anne E. Lopez, in her official capacity as Attorney

General of the State of Hawaiʻi, moves this Court on an emergency basis for an

order staying the district court’s appealable temporary restraining order pending an

appeal and for an immediate administrative stay pending the Court’s consideration

of Appellant’s stay request. See Fed. R. App. P. 8(a)(2) & 27(a); 9th Cir. R. 27-1

& 27-3.

      The undersigned counsel certifies that the following is the information

required by Circuit Rule 27-3:

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         for the parties

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      2. Facts showing the existence and nature of the emergency

      The district court enjoined five provisions of a crucial public safety law

enacted by the Hawai‘i Legislature (“Act 52”), which prohibits carrying firearms

in certain sensitive locations and on private property without consent. Dkt. 66.

Although the district court characterized its ruling as a temporary restraining order,

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the 91-page decision is, in substance, a preliminary injunction: “[t]he parties

vigorously contested the legal basis for the TRO in written briefs and oral

arguments,” Washington v. Trump, 847 F.3d 1151, 1158 (9th Cir. 2017) (per

curiam), “[t]he district court’s order has no expiration date, and no hearing has

been scheduled,” id., and “emergency relief is necessary to support [the State’s]

interests,” E. Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 763 (9th Cir.

2018).

      The district court glossed over threshold issues of standing to apply an

extraordinary test for firearm restrictions that goes far beyond the Supreme Court’s

decision in New York State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022).

The district court concluded that Bruen prohibits the legislature from designating

bars, restaurants serving alcohol, banks, parks, and beaches as “sensitive

places”—despite a robust tradition of analogous firearms restrictions. In applying

its sensitive-places analysis, the court heavily relied on the approach taken in two

outlier district court decisions that have both been stayed in relevant part pending

appeal. See Antonyuk v. Hochul, No. 1:22-cv-0986, 2022 WL 16744700

(N.D.N.Y. Nov. 7, 2022), stayed pending appeal, No. 22-2908 (2d Cir. Dec. 7,

2022), application to vacate stay denied, No. 22A557 (U.S. Jan. 11, 2023); Koons

v. Platkin, No. 22-7464 (RMB/AMD), 2023 WL 3478604 (D.N.J. May 16, 2023),

stayed pending appeal, No. 23-1900 (3d Cir. June 20, 2023). The district court


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also held that Bruen prevents the State from honoring private property rights by

establishing that individuals cannot carry firearms onto others’ property without

permission. And the court enjoined a provision of Act 52 based on the notion that

it prohibits carrying firearms in parking lots that are shared between sensitive and

non-sensitive locations—even though the State disclaimed Plaintiffs’ incorrect

interpretation of the provision to cover such parking lots.

      An emergency stay pending appeal is warranted and necessary. The order

prevents the State from enforcing duly-enacted statutory provisions that protect

sensitive locations from gun violence. The order also allows individuals to carry

firearms into businesses without seeking the owners’ consent. The order creates

confusion on the ground, and is highly disruptive to the work of law enforcement

agencies across the State—which have invested significant time and energy into

implementing Act 52 and now must rework those efforts on the fly. Like the

Second Circuit in Antonyuk (which stayed the district court’s injunction as to the

sensitive-places provisions and the private property rule challenged there) and the

Third Circuit in Koons (which stayed the district court’s injunction as to almost all

of the challenged sensitive-places provisions), this Court should stay the district

court’s order pending appeal.

      3. Timing of the motion

      Following the issuance of the district court’s temporary restraining order on


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August 8 (Dkt. 66), Appellant filed a motion in the district court on August 11 to

stay the order pending appeal or, in the alternative, enter an administrative stay to

permit application to this Court for a stay pending appeal (Dkts. 67, 67-1). The

district court has not granted Appellant’s motion for a stay pending appeal, and

Appellant’s stay motion remains pending before the district court. Appellant filed

a notice of appeal from the August 8 order enjoining enforcement of the relevant

provisions of Act 52 on August 14. Dkt. 68. Because the district court has not

granted (or otherwise acted on) the stay motion, Appellant seeks emergency relief

from this Court. Under the circumstances, this Motion could not reasonably have

been filed earlier.

      4. When and how counsel notified

      Counsel for Appellees were notified by email on August 15 regarding this

motion. Counsel for Appellees have stated that they oppose this motion.

      5. Submissions to the district court

      Pursuant to Fed. R. App. P. 8(a)(2)(A)(ii), Appellant states that, a motion to

stay having been made in the district court on August 11, 2023 (Dkt. 67), the

district court has not afforded the relief requested. A motion to stay remains

pending in the district court. In the alternative, Appellant also requested entry of

an administrative stay pending the submission of a motion to this Court. As of the

date and time of this Motion, the district court has not granted an administrative


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stay. Should the district court grant or deny a stay pending appeal, Appellant shall

immediately notify this Court.

                                                 Respectfully submitted,
Dated: August 15, 2023
                                                 /s/ Neal Kumar Katyal
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      Defendant Anne E. Lopez, in her official capacity as Attorney General of the

State of Hawaiʻi (“Appellant,” “Attorney General,” or “the State”), moves for a

stay pending appeal of the district court’s August 8, 2023 “Order Granting in Part

and Denying in Part Plaintiffs’ Motion for Temporary Restraining Order and

Preliminary Injunction.” Dkt. 66.1 Although characterized as a TRO, the order

plainly meets the requirements for an immediate appeal. The State also moves for

an administrative stay pending this Court’s consideration of the stay motion.

                                INTRODUCTION

      The district court issued a sweeping, statewide TRO prohibiting enforcement

of numerous provisions of a crucial Hawai‘i public safety law (“Act 52”), even

though none of the Winter factors supported a TRO and all of the Nken factors

favored a stay.2 The order rests on fundamentally incorrect legal and historical

premises, and is disruptive to the work of law enforcement agencies across the

State, which have invested significant time and energy into implementing Act 52

and now must rework those efforts on the fly. The order should be stayed in full

pending appeal, and an immediate administrative stay should be entered pending

the Court’s consideration of this motion.



  1
    All record citations are to the District Court docket, No. 1:23-cv-00265-
LEK-WRP (D. Haw.).
  2
     See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7 (2008); Nken v.
Holder, 556 U.S. 418 (2009).

                                            1
      Although the district court’s order purported to apply the Supreme Court’s

decision in New York State Rifle & Pistol Association v. Bruen, 142 S. Ct. 2111

(2022), it in fact applied a standard wholly untethered from that set out by the

Supreme Court. For example:

      1. The district court enjoined the Act’s restrictions on carrying guns in bars,

even though Plaintiffs “specifically limited” their challenge to the restriction on

restaurants and did not even challenge the restrictions on bars, see Dkt. 1

(Complaint) ¶¶ 45(B), 47(B), 49(B), 51(B), 57—and even though the State came

forward with a wealth of historical evidence supporting restrictions on all

establishments that serve alcohol. The district court’s order plainly cannot be

squared with this Court’s “well-established rule that injunctive relief must be

tailored to remedy the specific harm alleged.” E. Bay Sanctuary Covenant v. Barr,

934 F.3d 1026, 1029 (9th Cir. 2019) (cleaned up).

      2. The district court enjoined the State’s restriction on carrying guns in

parks, despite ample historical support, based on a flawed analysis that is far more

restrictive than anything required by Bruen. The court discounted important legal

authorities banning firearms in parks in New York and Pennsylvania because,

according to the court, those States covered “only about 4% of this Nation[’s]”

population in 1860. Dkt. 66 at 62 & n.17. But the very source cited by the district

court makes clear that New York and Pennsylvania accounted for nearly 22% of


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the Nation’s population, not 4%. Not only that, but the district court’s approach—

transforming a passing remark in Bruen into an arbitrary, bright-line population

requirement for any and all historical traditions—has no basis in the law.

      3. The district court disregarded a host of authorities from the 1870s, 1880s,

and 1890s. The order suggests that laws post-dating the Fourteenth Amendment’s

ratification should be discounted, but Bruen never adopted such an extreme rule.

Instead, Bruen cautioned against relying on “inconsistent” post-ratification

evidence. 142 S. Ct. at 2137 (emphasis in original). Moreover, it does not appear

that the historical analogues cited by the State were challenged or struck down on

constitutional grounds during the nineteenth century, see, e.g., Dkt. 55-2 (Cornell

Decl.) ¶¶ 48, 57, 62, and there is nothing to suggest that any contemporaneous

courts saw such sensitive-place provisions as unconstitutional. Cf. Bruen, 142 S.

Ct. at 2133 (stating that the Supreme Court was “aware of no disputes regarding

the lawfulness of . . . prohibitions” on “18th- and 19th-century ‘sensitive places’

where weapons were altogether prohibited”).

      4. As for parking lots shared by sensitive and non-sensitive locations, the

district court enjoined an application of the Act that the State itself had disclaimed

as reflecting an incorrect reading of the statute. Where the Attorney General has

disclaimed plaintiffs’ incorrect reading of the law, the district court should not

adopt that incorrect reading in order to reach a constitutional issue and enjoin the


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law. That is the opposite of constitutional avoidance, and it violates bedrock

Article III principles. Plaintiffs have no standing to challenge a law that, correctly

interpreted, does not even cover their proposed conduct.

      5. In its sensitive-places analysis, the district court heavily relied on two

outlier district court decisions—Antonyuk v. Hochul, No. 1:22-cv-0986, 2022 WL

16744700 (N.D.N.Y. Nov. 7, 2022), and Koons v. Platkin, No. 22-7464

(RMB/AMD), 2023 WL 3478604 (D.N.J. May 16, 2023)—but these decisions

have been stayed in relevant part pending appeal. See No. 22-2908 (2d Cir. Dec. 7,

2022), application to vacate stay denied, No. 22A557 (U.S. Jan. 11, 2023); No. 23-

1900 (3d Cir. June 20, 2023).3 Like the Second Circuit in Antonyuk and the Third

Circuit in Koons, this Court should stay the district court’s order pending appeal.

      6. The district court enjoined the Act’s restriction on carrying guns in banks,

even though Plaintiffs identified no banks where they would be allowed to carry if

the Act were enjoined, and even though the State identified centuries of examples

of prohibitions in sensitive commercial centers. The court likewise enjoined the

Act’s restriction on carrying guns on private property without authorization, even

though Plaintiffs’ alleged injuries are caused entirely by the choices of property

owners, and even though the State identified a number of historical analogues.



  3
     Both Circuits stayed the district court orders as to sensitive places; the
Second Circuit also stayed the order as to the private property default rule.

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                                 BACKGROUND

      The Hawai‘i Legislature enacted Act 52 to address the dangers of firearms

and gun violence. This important public safety measure designates certain

locations as sensitive places where guns may not be carried, and it prohibits

individuals from carrying firearms on private property without permission. In

passing Act 52, the Legislature sought to promote public safety “while respecting

and protecting the lawful exercise of individual rights.” Dkt. 55-34 (McLean Ex.

1) at 2-3. The State carefully followed the Supreme Court’s recent guidance in

Bruen, which recognized a right to public carry of firearms, but emphasized that

“the Second Amendment is not ‘a regulatory straightjacket.’ ” Id. at 2 (quoting

Bruen, 142 S. Ct. at 2133). The State sought in particular to “protect areas in

which carrying or possessing dangerous weapons has traditionally been restricted,

such as schools and other places frequented by children, government buildings,

polling places, and other analogous locations.” Id. at 3; see also Bruen, 142 S. Ct.

at 2133 (“assum[ing] it settled that these locations were ‘sensitive places’ where

arms carrying could be prohibited consistent with the Second Amendment”).

      As relevant here, Act 52 prohibits firearms in government buildings, see

HRS § 134-A(a)(1); bars and restaurants serving alcohol, see id. § 134-A(a)(4);

parks and beaches, see id. § 134-A(a)(9); banks and financial institutions, see id.

§ 134-A(a)(12); and adjacent parking areas to all the foregoing. The Act also



                                          5
prohibits carrying firearms on the private property of another person without

express authorization. See id. § 134-E. These provisions took effect July 1, 2023.

      On June 23, Plaintiffs sued the Attorney General and sought a TRO and PI.

Dkts. 1, 7. Plaintiffs challenged HRS § 134-A(a)(4), as applied to restaurants (but

not bars) serving alcohol and adjacent parking areas; HRS § 134-A(a)(9), as

applied to parks, beaches, and adjacent parking areas; HRS § 134-A(a)(12) in its

entirety; and HRS § 134-A(a)(1), as applied to parking areas adjacent to

government buildings that were also covered by § 134-A(a)(4), (9), or (12).

Plaintiffs also challenged HRS § 134-E, the private property default rule.

      The State filed its opposition on July 14, providing four reasons why

Plaintiffs were not entitled to relief. See Dkt. 55. First, Plaintiffs failed to

establish standing with respect to §§ 134-A(a)(4), (12), and 134-E, because they

did not identify any restaurants or banks that would allow them to carry firearms in

the absence of the challenged provisions, and because any purported injury from

the inability to carry on non-sensitive private property was caused by property

owners’ decisions to withhold consent, among other reasons. Second, Plaintiffs

did not meet their burden with respect to any of the challenged provisions of

showing that the Second Amendment’s plain text covered their specific conduct.

Third, even if the plain text did cover Plaintiffs’ conduct, a long tradition of

firearms regulation supported each of the challenged provisions. With respect to


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§ 134-A(a)(4), the State identified a host of laws from the 1700s and 1800s that

regulated the interaction of firearms and alcohol, including laws prohibiting the

possession of firearms in places that sold alcohol. With respect to § 134-A(a)(9),

the State identified a tradition of prohibiting firearms in parks going back to the

beginning of the modern American parks movement in the mid-1800s. See, e.g.,

Cornell Decl. ¶ 57. With respect to § 134-A(a)(12), the State highlighted an

unbroken history of regulation from the 1300s to the 1800s banning firearms in

sensitive commercial centers. And with respect to § 134-E, the State submitted

numerous laws from the Founding and Reconstruction eras requiring permission

(and sometimes written permission) to carry firearms on private property. Fourth,

the remaining injunction factors weighed heavily against Plaintiffs.

      The district court held a hearing on July 28 and issued a 91-page order on

August 8 that enjoined each of the challenged provisions. Although the district

court’s order purported to grant Plaintiffs’ motion only “in part,” Dkt. 66, the court

awarded Plaintiffs all the relief they sought. The district court enjoined § 134-E as

to any private property “held open to the public,” and it enjoined the portions of

§ 134-A(a)(9) prohibiting the carrying of firearms in parks, beaches, and their

adjacent parking areas. Dkt. 66 at 91. The court also enjoined § 134-A(a)(12) and

§ 134-A(a)(4) in their entirety, see id., despite the fact that Plaintiffs sought an

injunction of the latter provision only as to restaurants, see Dkt. 7 at 2. And the


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court enjoined § 134-A(a)(1) with respect to parking areas that did not exclusively

serve government buildings, see Dkt. 66 at 91, despite the fact that the State

explained at the hearing that these areas were not covered by § 134-A(a)(1), see Tr.

17-18 (July 28, 2023) (Add. 92-131).

      Beginning with standing, the district court misapplied basic principles of

traceability and redressability, and it uncritically accepted declarations that

Plaintiffs submitted for the first time with their Reply. See Dkt. 66 at 25-31. On

the merits, the court incorrectly held that the Second Amendment’s plain text

presumptively protects the right to carry firearms on private property open to the

public, see id. at 41-46, and it dismissed the wealth of historical precedents that the

State offered for each of the challenged sensitive places. Even where the State’s

analogues should be properly characterized as “historical twins,” the court supplied

artificial reasons to discount them, including reasons that Plaintiffs never raised,

and some that appear to rely on basic errors.

                               LEGAL STANDARD

      Courts consider four factors when deciding whether to grant a stay of an

appealable TRO: “(1) whether the stay applicant has made a strong showing that he

is likely to succeed on the merits; (2) whether the applicant will be irreparably

injured absent a stay; (3) whether issuance of the stay will substantially injure the

other parties interested in the proceeding; and (4) where the public interest lies.”



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Washington v. Trump, 847 F.3d 1151, 1164 (9th Cir. 2017) (per curiam) (citation

omitted). Each factor is satisfied here.

                                     ARGUMENT
 I.   The State Is Likely To Succeed On The Merits.

      A.     The District Court’s Order Is Appealable.
      A TRO is appealable where, as here, “it possesses the qualities of a

preliminary injunction,” meaning that it was “strongly challenged in adversarial

proceedings before the district court” and “will remain in force for longer than the

fourteen-day period identified in [Fed. R. Civ. P.] 65(b).” Washington, 847 F.3d at

1158 (cleaned up). Here, “[t]he parties vigorously contested the legal basis for the

TRO in written briefs and oral arguments,” id.; see Dkts. 7-1, 55, 61, 62, and “[t]he

district court’s order has no expiration date, and no hearing has been scheduled,”

Washington, 847 F.3d at 1158; see Dkt. 66 at 90-91. And where, as here, “the

Government argues in this court that emergency relief is necessary to support [its]

interests,” it is appropriate to “treat the district court’s order as an appealable

preliminary injunction.” E. Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 763

(9th Cir. 2018) (citing Washington, 847 F.3d at 1158); see Abbott v. Perez, 138 S.

Ct. 2305, 2319 (2018) (“[T]he label attached to an order is not dispositive,” and

“where an order has the practical effect of granting . . . an injunction, it should be

treated as such for purposes of appellate jurisdiction.” (cleaned up)).



                                            9
      B.     Plaintiffs Lack Standing To Challenge Several Provisions.

      Plaintiffs failed to “make a clear showing of each element of standing” for

“each form of relief sought.” LA All. for Hum. Rts. v. County of Los Angeles, 14

F.4th 947, 956-957 (9th Cir. 2021) (citations omitted). Plaintiffs lack standing to

challenge HRS § 134-A(a)(1) because, as the district court acknowledged, the State

made clear that “the parking areas adjacent to government buildings which are

listed in the Complaint are not considered areas protected by § 134-A(a)(1).” Dkt.

66 at 35. Plaintiffs have therefore not shown “an intention to engage in a course of

conduct . . . proscribed by a statute,” nor a “realistic danger of sustaining a direct

injury as a result of the statute’s operation or enforcement.” Lopez v. Candaele,

630 F.3d 775, 785 (9th Cir. 2010) (citations omitted). For other challenged

provisions, Plaintiffs failed to show that their alleged injuries “fairly can be traced

to the challenged action of the defendant,” as opposed to “the independent action

of some third party not before the court.” Simon v. Eastern Ky. Welfare Rts. Org.,

426 U.S. 26, 41-42 (1976). Plaintiffs did not allege or offer evidence that any

financial institution would allow them to carry firearms absent the prohibition in

HRS § 134-A(a)(12), meaning that any purported injury is caused not by the State,

but by financial institutions’ decisions to exclude firearms. See Dkt. 7-1 at 16

(“Plaintiffs here do not challenge that right of a private property owner.”).

      Likewise, with respect to HRS § 134-E, any injury Plaintiffs claim to suffer



                                           10
from not being able to carry firearms on others’ property without consent is caused

by owners’ decisions to withhold that consent. Act 52 changes nothing about the

rights of individuals to control their property: other than those places designated as

sensitive in HRS § 134-A, business owners who wish to allow firearms on their

property may do so. For similar reasons, an injunction against the enforcement of

HRS § 134-E cannot redress Plaintiffs’ claimed injuries. Moreover, because

Plaintiffs “fail[ed] to provide any statement . . . indicating that [they would] not

seek permission before carrying [on] private property”—and did not even allege

that having to seek consent would be burdensome—they “fail[ed] to establish

injury-in-fact.” Frey v. Nigrelli, No. 21-cv-05334 (NSR), 2023 WL 2473375, at

*9 (S.D.N.Y. Mar. 13, 2023). And because each of the business owners from

whom Plaintiffs submitted declarations with their reply brief stated that, “[i]f

H.R.S. § 134-E were repealed or enjoined or otherwise no longer in effect, I would

allow members of the public who have concealed carry permits, including the

Plaintiffs in this case, to carry in my business and on my property,” e.g., Dkt. 61-3

at 3 (emphasis added), Plaintiffs have now received “express authorization to carry

a firearm on the property by the owner,” HRS § 134-E.

      The district court erred in concluding that Plaintiffs had standing. The court

relied on O’Handley v. Weber, 62 F.4th 1145 (9th Cir. 2023), in which this Court

held that censorship of a Twitter user’s speech was fairly traceable to the actions of


                                          11
a government official who had flagged the speech for Twitter’s removal. Id. at

1161-62. But O’Handley is clearly distinguishable. The plaintiff there alleged that

Twitter had taken his posts down at the request of the government official. Id. at

1154. Here, by contrast, Plaintiffs do not allege that banks or owners of non-

sensitive private property have chosen to prohibit them from carrying guns because

of any request by the State.

      C.     Act 52’s Sensitive-Place Provisions Are Constitutional.

      Even if Plaintiffs had standing, they would not succeed on the merits of their

Second Amendment challenge to HRS § 134-A(a)(4), (9), and (12). Bruen

requires plaintiffs challenging firearms regulations to show that “the Second

Amendment’s plain text covers [their] conduct.” 142 S. Ct. at 2126. If plaintiffs

meet that burden, then the government must prove that the challenged regulation

“is consistent with this Nation’s historical tradition of firearm regulation.” Id.

      Plaintiffs failed to show that the plain text of the Second Amendment covers

their specific intended conduct. See Dkt. 55 at 3 & n.5. Plaintiffs were required to

meet their burden as to the course of conduct in which they wish to engage—here,

carrying firearms into each challenged location. See, e.g., United States v. Tallion,

No. 8:22-po-01758-AAQ, 2022 WL 17619254, at *5 (D. Md. Dec. 13, 2022).

      Even if Plaintiffs had met that burden, the State showed that the challenged

regulations are consistent with the Nation’s tradition of firearms regulation.



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Regarding § 134-A(a)(4), the State identified several Reconstruction-era laws that

prohibited firearms in places that served alcohol, see Dkt. 55-52 (1853 New

Mexico law); Dkt. 55-53 (1879 New Orleans ordinance); Dkt. 55-50 (1890

Oklahoma law), as well as over a dozen other laws from the 1700s and 1800s that

regulated the interaction of alcohol and firearms, see Dkt. 55 at 8-10. For § 134-

A(a)(9), the State showed that the first modern American parks prohibited firearms

at their inception in the mid-1800s. See id. at 14-16. And for § 134-A(a)(12), the

State highlighted a tradition going back to the 1328 Statute of Northampton of

prohibiting firearms in sensitive commercial centers. See id. at 17-18. In addition,

the State submitted declarations from experts in the history of firearms regulation,

see Cornell Decl.; Dkt. 55-4 (Rivas Decl.), and the American parks movement, see,

Dkt. 55-30 (Young Decl.), to provide context for these laws.

      The State also explained that the challenged provisions are analogous to the

sensitive-place laws—including those prohibiting firearms in “schools and

government buildings,” District of Columbia v. Heller, 554 U.S. 570, 626 (2008),

and “legislative assemblies, polling places, and courthouses,” Bruen, 142 S. Ct. at

2133—that the Supreme Court has endorsed. Children congregate at Hawai‘i’s

parks and beaches, just as they do at schools. See Dkt. 55-33 (Thielen Decl.) ¶ 6.

And public parks and beaches are owned by the government, such that they

implicate similar concerns as several of the sensitive places listed in Heller and


                                         13
Bruen regarding the government’s ability to regulate as a proprietor. The State

also explained that the unique modern status of Hawai‘i’s public beaches

“implicat[es] unprecedented societal concerns,” which, according to Bruen, require

“a more nuanced approach” to the historical inquiry. 142 S. Ct. at 2132.

      The district court committed numerous errors in holding that Plaintiffs were

likely to succeed on their challenge to Act 52’s sensitive-place provisions. At the

outset, the court mistakenly concluded that the text of the Second Amendment

covered Plaintiffs’ proposed conduct. See Dkt. 66 at 41-46. Bruen recognized a

right to carry firearms in public, see 142 S. Ct. at 2156, but the district court

expanded that right to private property open to the public, see Dkt. 66 at 41. This

was unwarranted. See GeorgiaCarry.Org, Inc. v. Georgia, 687 F.3d 1244 (11th

Cir. 2012) (“[T]he Second Amendment, whatever its full scope, certainly must be

limited by the equally fundamental right of a private property owner to exercise

exclusive dominion and control over its land.”), abrogated in part on other

grounds, Bruen, 142 S. Ct. 2111. It also ignored the Supreme Court’s admonition

that sensitive-place restrictions are “presumptively lawful” such that they fall

outside the scope of the Second Amendment. Heller, 554 U.S. at 626-627 & n.26.

      The court also misapplied Bruen’s historical inquiry in several respects.

First, despite acknowledging that the government need only “identify a well-

established and representative analogue” of the regulation at issue, “not a historical


                                           14
twin,” Dkt. 66 at 22 (quoting Bruen, 142 S. Ct. at 2133), the court essentially

required the State to find a “dead ringer,” Bruen, 142 S. Ct. at 2133, for each of the

challenged provisions. Take, for instance, HRS § 134-A(a)(4), for which the court

deemed irrelevant 1700s-era laws that prohibited selling alcohol not just to militia

members, but also near militia members. Dkt. 66 at 46-47. Likewise, with respect

to HRS § 134-A(a)(12), the court discounted centuries of prohibitions on firearms

in commercial centers. Id. at 72-73. The court reasoned that banks are not like

commercial centers because they are not as congested as some of those centers, see

id., but congestion is not the only relevant point of comparison. As Professor Saul

Cornell explained in his declaration supporting the State’s opposition, “bans on

arms in fairs and markets singled out these locations because they were sites of

commerce, entertainment, and politics,” and “it was the very fact that individuals

congregated in large numbers and moved about freely, engaging in productive

economic, cultural, and political activities that was the reason arms were

prohibited from these locations.” Cornell Decl. ¶ 42 (emphasis added).

Furthermore, because banks were understood at the Founding to be government

instrumentalities, see Dkt. 67-1 at 11 n.8, government buildings—which Heller

and Bruen recognized as sensitive—also provide a relevant analogue.

      Second, the district court artificially constrained the universe of analogues

on which the State was permitted to rely in a manner that made it impossible for


                                         15
the State to satisfy its burden under Bruen. As to HRS § 134-A(a)(4), for example,

the court disregarded the New Mexico, New Orleans, and Oklahoma laws cited

above—even though those regulations can appropriately be described as “historical

twin[s],” Dkt. 66 at 22—because the court understood Bruen “to dismiss any law

enacted unless it was done in a state where a significant percentage of the

people . . . resided at the time that the Fourteenth Amendment was enacted.” Id. at

51. Likewise, in its discussion of HRS § 134-A(a)(9), the court dismissed

ordinances banning firearms in the Nation’s first modern parks because those

States covered “only about 4% of this Nation,” and because some ordinances were

passed “from 1872 through 1886,” which the court deemed too late to shed light on

the meaning of the Fourteenth Amendment. Id. at 61-62. But see id. at 66 n.20

(treating an 1870 enactment as “ ‘during’ the Fourteenth Amendment’s ratification

for the sake of argument”). According to the very population estimates the district

court cited from its extra-record source, however, see id. at 62 n.17 (stating that the

U.S. population in 1860 was 31,443,321, with 3,880,735 people residing in New

York and 2,906,215 in Pennsylvania), New York and Pennsylvania had nearly

22% of the Nation’s population, not 4%. And even putting the math aside, the

district court erred by (1) relying on population totals at all, and (2) restricting the

universe of permissible analogues to pre-1868 (or perhaps pre-1870) state laws. It

is true that Bruen discounted territorial laws that “contradict[ed] the overwhelming


                                           16
weight of other, more contemporaneous historical evidence,” and Bruen noted,

rhetorically, that the territorial laws at issue “governed less than 1% of the

American population,” 142 S. Ct. at 2155 (cleaned up). But the Court did not

thereby instruct judges to reject historical traditions that happen to fall short of

some arbitrary population threshold. And here, unlike in Bruen, there is no

contemporaneous historical evidence that contradicts the laws the State has

proffered. Nor is there any evidence suggesting that these laws were considered

unconstitutional (or even particularly controversial) in the nineteenth century. See,

e.g., Rivas Decl. ¶ 29; Cornell Decl. ¶¶ 22-61.

      Finally, the district court erred in its understanding of the role that analogy

plays in the Bruen analysis. In discussing HRS § 134-A(a)(9), for example, the

court acknowledged several policy concerns that the State had identified, but it

reasoned that “these considerations by themselves do not matter under the Bruen

analysis.” Dkt. 66 at 56. This is incorrect. As the district court acknowledged

elsewhere in its order, “[p]olicy concerns might be relevant insofar as they help the

government identify a well-established and representative historical analogue to

the regulation at issue.” Id. at 69 (cleaned up). Relatedly, the court mistakenly

held that the government’s role as proprietor “in a post-Bruen world makes no

difference.” Id. at 55. As the D.C. Circuit recognized in United States v. Class,

930 F.3d 460 (D.C. Cir. 2019), the relevant part of which was not abrogated by


                                           17
Bruen, “the government—like private property owners—has the power to regulate

conduct on its property,” id. at 464. Finally, the court ignored altogether Bruen’s

admonition that “cases implicating unprecedented societal concerns . . . may

require a more nuanced approach.” 142 S. Ct. at 2132.

      D.     The Private Property Default Rule Is Constitutional.

      Plaintiffs are also unlikely to succeed on their Second Amendment challenge

to HRS § 134-E. The text of the Second Amendment does not protect the right to

carry firearms on private property without consent. See GeorgiaCarry.Org, 687

F.3d at 1264 (“[T]here is no constitutional infirmity when a private property owner

exercises his, her, or its . . . right to control who may enter, and whether that

invited guest can be armed, and the State vindicates that right.”). Indeed, the

district court acknowledged that “where a business revokes a licensee or invitee’s

permission to enter the business’s property, . . . [t]he licensee or invitee’s conduct

would not be covered by the Second Amendment’s plain text.” Dkt. 66 at 45.

Because HRS § 134-E simply prohibits individuals from carrying on private

property without consent, it does not burden conduct covered by the Second

Amendment’s text. But even if it did, the State put forth more than enough

historical precedent to justify HRS § 134-E. This included numerous laws from

the Founding and Reconstruction eras that required permission (and sometimes

written permission) to carry on private property. See Dkt. 55 at 21. The district



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court rejected all but one of these analogues on the ground that they “concerned

private property like residential lands, which were not generally held open to the

public,” but cited no historical evidence for that conclusion, see Dkt. 66 at 79, and

Plaintiffs never argued for it, see Dkt. 67-1 at 16. In any event, the court erred

again by requiring the State to identify a “historical twin,” as laws requiring

permission to carry on private property are clearly analogous to HRS § 134-E.

II.   The Balance of Harms Favors A Stay.

      The State “suffers . . . irreparable injury” whenever it is barred “from

effectuating statutes enacted by representatives of its people.” Maryland v. King,

567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers) (citation omitted). The

Legislature passed a law protecting sensitive places where people are particularly

susceptible to the risks of gun violence. And the Legislature honored private

property rights by establishing that individuals cannot carry firearms onto private

property without consent. The district court’s order prevents the democratic

branches from exercising their judgment regarding how best to keep residents safe

while respecting their rights. The harm is especially significant given the “law

enforcement and public safety interests” implicated by firearms and gun violence.

Id. Plaintiffs would not be irreparably harmed by a stay pending appeal. See, e.g.,

Maryland Shall Issue, Inc. v. Montgomery Cnty., No. CV TDC-21-1736, 2023 WL

4373260, at *16 (D. Md. July 6, 2023) (“the likelihood of irreparable harm . . . is



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dependent on the likelihood of success on the merits”).

III.   A Stay Is In The Public Interest.

       The public interest favors staying the district court’s order. “There is an

immeasurable societal benefit of maintaining the immediate status quo while the

process of judicial review takes place.” Duncan v. Becerra, No. 17-cv-1017-BEN-

JLB, 2019 WL 1510340, at *2 (S.D. Cal. Apr. 4, 2019). The status quo in this case

would permit the State to continue enforcing the challenged provisions, which

protect public safety and were in effect for over a month prior to the district court’s

order. The court erred in discounting the State’s interest, particularly based on data

submitted for the first time in an amicus brief. Dkt. 66 at 86-89.

IV.    Any Injunctive Relief Should Be Narrowed Pending Appeal.

       The district court’s order should be stayed in its entirety. At a minimum, it

should be stayed in part so that it remains in force only as to Plaintiffs, and only on

an as-applied basis. It is a “well-established rule that injunctive relief must be

tailored to remedy the specific harm alleged.” E. Bay Sanctuary Covenant, 934

F.3d at 1029. And as the State argued in the district court, Plaintiffs have failed to

show that they are entitled to facial relief. See Dkt. 55 at 23; Dkt. 67-1 at 8-9, 18.

                                   CONCLUSION
       The State respectfully requests that this Court stay the district court’s order

pending appeal. The State also requests an immediate administrative stay of the

order while the Court considers this motion.

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                                              Respectfully submitted,
Dated: August 15, 2023
                                              /s/ Neal Kumar Katyal     _
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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rules of Appellate Procedure 27(d)(2)(A) and 32(g), and

Circuit Rule 27-1(d), I certify that this motion complies with applicable type-volume

and length limitations because this motion is no more than 20 pages, excluding the

items exempted by Federal Rules of Appellate Procedure 27(a)(2)(B) and 32(f).

      This motion complies with the typeface and typestyle requirements of Fed. R.

App. P. 32(a)(5)-(6) because this motion has been prepared in a proportionally

spaced typeface using Microsoft Office Word for Office 365 in 14-point Times New

Roman font.

                                       /s/ Neal Kumar Katyal
                                       Neal Kumar Katyal
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                       UNITED STATES DISTRICT COURT

                             DISTRICT OF HAWAII

   JASON WOLFORD, ALISON WOLFORD,         CV 23-00265 LEK-WRP
   ATOM KASPRZYCKI, HAWAII
   FIREARMS COALITION,

                    Plaintiffs,

        vs.

   ANNE E. LOPEZ, IN HER OFFICIAL
   CAPACITY AS THE ATTORNEY GENERAL
   OF THE STATE OF HAWAII;

                    Defendant.


    ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFFS’ MOTION
      FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

              An alarming increase in violent crimes involving

  firearms in Hawai`i has heightened public concerns about guns

  and safety.1    State officials recently responded by enacting a

  law prohibiting the carrying or possessing of firearms in

  certain defined locations and premises, such as banks, beaches,

  and bars.    See generally Act 52 (June 2, 2023) (to be codified

  at Haw. Rev. Stat. Chapter 134) (“Act 52” and “the Act”).

  Whether a firearm regulation is consistent with the

  constitutional protection of the Second Amendment to carry



        1See, e.g., Kirstin Downey, An Increase in ‘Violent,
  Brazen’ Crime Raises Concerns on Oahu, HONOLULU CIVIL BEAT (Aug. 30,
  2022), https://www.civilbeat.org/2022/08/an-increase-in-violent-
  brazen-crime-raises-concerns-on-oahu/ (last visited Aug. 8,
  2023).



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  handguns publicly for self-defense has been recently articulated

  in New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S.

  Ct. 2111 (2022).     It is this powerful collision between Hawai`i

  officials’ concern for the safety and welfare of its citizens

  and “the Second and Fourteenth Amendments[’] [protections of] an

  individual’s right to carry a handgun for self-defense outside

  the home” that is before this Court today.         See Bruen, 142 S.

  Ct. at 2122

             In their present motion, Plaintiffs Jason Wolford

  (“J. Wolford”), Alison Wolford (“A. Wolford”), Atom Kasprzycki

  (“Kasprzycki”), and Hawaii Firearms Coalition (“HRC” and

  collectively “Plaintiffs”) seek to enjoin the State of Hawai`i

  from enforcing certain provisions of the Act that prohibit

  carrying handguns in particular areas.2        These areas are: parking

  areas adjacent to buildings or offices owned, leased, or used by

  the State or a county; restaurants or bars serving alcohol, and

  their adjacent parking areas; beaches and parks, and their

  adjacent parking areas; and banks or financial institutions, and

  their adjacent parking areas.       In addition, Plaintiffs seek to


        2On June 23, 2023, Plaintiffs filed their Motion for
  Temporary Restraining Order and Preliminary Injunction (“TRO
  Motion”). [Dkt. no. 7.] Plaintiffs filed their reply on
  July 21, 2023. [Dkt. no. 61.] The instant Order addresses only
  Plaintiffs’ request for a temporary restraining order (“TRO”).
  Plaintiffs’ request for a preliminary injunction will be
  subsequently and separately briefed, heard, and ruled on.

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  enjoin enforcement of the Act’s provision that prohibits

  carrying handguns on the private property of another person (for

  instance, a home, community association, or condominium) unless

  the property owner or manager gives unambiguous written or

  verbal authorization, or posts a sign on the property expressing

  authorization.    Hawai`i, acting through its attorney general,

  opposes the TRO Motion.3

              Plaintiffs’ TRO Motion is hereby granted in part and

  denied in part for the reasons set forth below, insofar as the

  following challenged provisions (or portions thereof) are

  enjoined:

  -the portions of Haw. Rev. Stat. § 134-A(a)(1) that prohibit
       carrying firearms in parking areas owned, leased, or used
       by the State or a county which share the parking area with
       non-governmental entities, are not reserved for State or
       county employees, or do not exclusively serve the State or
       county building;

  -the entirety of Haw. Rev. Stat. §§ 134-A(a)(4) and (a)(12);

  -the portions of Haw. Rev. Stat. § 134-A(a)(9) prohibiting the
       carrying of firearms in beaches, parks, and their adjacent
       parking areas; and

        3On July 14, 2023, Defendant Anne E. Lopez, in her official
  capacity as the Attorney General of the State of Hawai`i (“the
  State”), filed its Memorandum in Opposition to Plaintiffs’
  Motion for Temporary Restraining (ECF No. 7) (“Memorandum in
  Opposition.”). [Dkt. no. 55.] Because Plaintiffs sue Defendant
  Anne E. Lopez in her official capacity as the State of Hawai`i
  Attorney General, [Complaint at ¶ 5,] their claims are against
  the State, see Hafer v. Melo, 502 U.S. 21, 25 (1991) (“Suits
  against state officials in their official capacity therefore
  should be treated as suits against the State.” (citation
  omitted)). This matter came on for hearing on July 28, 2023.


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  -the portion of Haw. Rev. Stat. § 134-E that prohibits carrying
       firearms on private properties held open to the public.

  The TRO Motion is denied in all other respects.

                                  BACKGROUND

             Plaintiffs filed their Verified Complaint for

  Declaratory and Injunctive Relief (“Complaint”) on June 23,

  2023.   [Dkt. no. 1.]    Plaintiffs’ Complaint and TRO Motion

  challenge five State of Hawai`i laws on the grounds that the

  laws violate either the First Amendment, Second Amendment,

  and/or Fourteenth Amendment of the United States Constitution.

  Specifically, Plaintiffs challenge the following Hawai`i laws:

  (1) Haw. Rev. Stat. § 134-A(a)(1); (2) Haw. Rev. Stat. § 134-

  A(a)(4); (3) Haw. Rev. Stat. § 134-A(a)(9); (4) Haw. Rev. Stat.

  § 134-A(a)(12); and (5) Haw. Rev. Stat. § 134-E.          See Complaint

  at ¶¶ 57–58; TRO Motion, Mem. in Supp. at 3.         Plaintiffs,

  however, take care to state that they

             do not challenge the prohibitions in all areas
             under [the Act], instead, [they] challenge only a
             limited subset that impose particularly egregious
             restrictions on their Second Amendment right to
             bear arms.

  [Complaint at ¶ 42.]

             On June 2, 2023, Hawai`i Governor Josh Green, M.D.,

  signed into law Hawai`i Senate Bill No. 1230 - A Bill for an Act

  Relating to Firearms.     The Act was passed “to clarify, revise,

  and update Hawaii’s firearms laws to mitigate the serious

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  hazards to public health, safety, and welfare associated with

  firearms and gun violence, while respecting and protecting the

  lawful exercise of individual rights.”        Act 52, § 1 at pgs. 1–2.

  Amongst other things, and relevant here, the Act “defines

  locations and premises within the State where carrying or

  possessing a firearm is prohibited . . . .”         Id. at pg. 2.    The

  Act further provides: “In prohibiting carrying or possessing

  firearms in certain locations and premises within the State,

  this Act is intended to protect areas in which carrying or

  possessing dangerous weapons has traditionally been restricted,

  such as schools and other places frequented by children,

  government buildings, polling places, and other analogous

  locations.”    Id.

             Chapter 134 of the Hawai`i Revised Statutes relates to

  Hawaii’s regulations and laws for firearms, ammunition, and

  dangerous weapons.     Part I concerns the general regulations

  provided in Haw. Rev. Stat. Chapter 134.        Under Chapter 134

  part 1, the chief of police of a county within the State may

  grant licenses to carry a pistol or revolver – either concealed

  or unconcealed – if an applicant meets certain requirements.

  See generally Haw. Rev. Stat. § 134-9.        Section 2 of the Act

  amended part I of Chapter 134 to include the following language,

  in pertinent part:



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                  § 134-A   Carrying or possessing a firearm
             in certain locations and premises prohibited;
             penalty. (a) A person with a license issued
             under section 134-9, or authorized to carry a
             firearm in accordance with title 18 United States
             Code section 926B or 926C, shall not
             intentionally, knowingly, or recklessly carry or
             possess a loaded or unloaded firearm, whether the
             firearm is operable or not, and whether the
             firearm is operable or not, and whether the
             firearm is concealed or unconcealed, while in any
             of the following locations and premises within
             the State:

                   (1)   Any building or office owned, leased,
                         or used by the State or a county, and
                         adjacent grounds and parking areas,
                         including any portion of a building or
                         office used for court proceedings,
                         legislative business, contested case
                         hearings, agency rulemaking, or other
                         activities of state or county
                         government;

                   . . . .

                   (4)   Any bar or restaurant serving alcohol
                         or intoxicating liquor as defined in
                         section 281-1 for consumption on the
                         premises, including adjacent parking
                         areas;

                   . . . .

                   (9)   Any beach, playground, park, or
                         adjacent parking area, including any
                         state park, state monument, county
                         park, tennis court, golf course,
                         swimming pool, or other recreation area
                         or facility under control, maintenance,
                         and management of the State or a
                         county, but not including an authorized
                         target range or shooting complex;

                         . . . .



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                   (12) The premises of any bank or financial
                        institutions as defined in
                        section 211D-1, including adjacent
                        parking areas;

                   . . . .

             . . . .

                  (f) Any person who violates this section
             shall be guilty of a misdemeanor.

  Act 52, § 2 at pgs. 3–6, 10 (emphases in original and some

  emphases and quotation marks omitted).        Section 2 of the Act

  further provides:

                  § 134-E   Carrying or possessing a firearm
             on private property of another person without
             authorization; penalty. (a) A person carrying a
             firearm pursuant to a license issued under
             section 134-9 shall not intentionally, knowingly,
             or recklessly enter or remain on private property
             of another person while carrying a loaded or
             unloaded firearm, whether the firearm is operable
             or not, and whether the firearm is concealed or
             unconcealed, unless the person has been given
             express authorization to carry a firearm on the
             property by the owner, lessee, operator, or
             manager of the property.

                  (b) For purposes of this section, express
             authorization to carry or possess a firearm on
             private property shall be signified by:

                   (1)   Unambiguous written or verbal
                         authorization; or

                   (2)   The posting of clear and conspicuous
                         signage at the entrance of the building
                         or on the premises,

             by the owner, lessee, operator, or manager of the
             property, or agent thereof, indicating that
             carrying or possessing a firearm is authorized.


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                   (c)   For purposes of this section:

                  “Private entity” means any homeowners’
             association, community association, planned
             community association, condominium association,
             cooperative, or any other nongovernmental entity
             with covenants, bylaws, or administrative rules,
             regulations, or provisions governing the use of
             private property.

                  “Private property” does not include property
             that is owned or leased by any governmental
             entity.

                  “Private property of another person” means
             residential, commercial, industrial,
             agricultural, institutional, or undeveloped
             property that is privately owned or leased,
             unless the person carrying a firearm is an owner,
             lessee, operator, or manager of the property,
             including an ownership interest in a common
             element or limited common element of the
             property; provided that nothing in this chapter
             shall be construed to limit the enforceability of
             a provision in any private rental agreement
             restricting a tenant’s possession or use of
             firearms, the enforceability of a restrictive
             covenant restricting the possession or use of
             firearms, or the authority of any private entity
             to restrict the possession or use of firearms on
             private property.

                  (d) This section shall not apply to a
             person in an exempt category identified in
             section 134-ll(a).

                  (e) Any person who violates this section
             shall be guilty of a misdemeanor.

  Id. § 2 at pgs. 14–16 (emphases in original and some emphases

  and quotation marks omitted).4      In short, § 134-A(a) lists


        4Although these statutes have not yet been numerated in the
  Hawai`i Revised Statutes, for simplicity this Court will cite to
  the nomenclature used in Act 52.
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  “sensitive places” where individuals with a license to carry

  firearms are prohibited from carrying their firearms.

  Section 134-E creates a default rule that individuals with a

  license to carry firearms cannot carry their firearms on private

  property unless the owner of that property gives them consent.

  These pertinent provisions became effective on July 1, 2023.

  See id. § 18 at pg. 76.

             J. Wolford, A. Wolford, and Kasprzycki (“the

  Individual Plaintiffs”) are individuals living in the County of

  Maui.   See Complaint at ¶¶ 1–3.      They allege that each was

  granted, and now possess, a permit to carry a firearm pursuant

  to § 134-9.    See id. at ¶¶ 59(E) (as to J. Wolford), 60(E) (as

  to A. Wolford), 61(E) (as to Kasprzycki).         HFC is an

  organization incorporated under Hawai`i law with its principal

  place of business in Honolulu, Hawai`i.        It has thirty-three

  members with valid concealed carry permits.         HFC brings this

  suit on behalf of its members with a concealed carry permit

  issued by any county in Hawai`i.         [Id. at ¶ 4.]   The Individual

  Plaintiffs are members of HFC.       [Id. at ¶ 51.]      The Individual

  Plaintiffs allege they are impacted by the challenged

  regulations because they each attend and frequent beaches,

  parks, and their adjacent parking areas, bars and restaurants

  serving alcohol and their adjacent parking areas, banks and

  their adjacent parking areas, and parking areas adjacent to

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  government buildings, all within the County of Maui.           See

  generally id. at ¶¶ 59–61.       As such, Plaintiffs contend §§ 134-

  A(a)(1), (4), (9), and (12) are unconstitutional restrictions on

  their ability to carry their firearms in these respective

  places, in violation of the Second and Fourteenth Amendment.

               Further, Kasprzycki owns and operates his own business

  along with the associated business property/space.          His business

  is open to the public.      See id. at ¶¶ 62–63, 66b.5      Kasprzycki

  states that some of his clients do not support the concealed

  carrying of firearms.      Kasprzycki does not wish to involve his

  business in any issues related to the Second Amendment.             [Id. at

  ¶¶ 64-65.]    He alleges that, “[o]nce H.R.S. § 134-E goes into

  effect, [he] will not put up a sign or otherwise give prior

  written or verbal consent to carry a firearm.          But for H.R.S.

  § 134-E Kasprzycki would allow people to carry firearms in his

  business.”    [Id. at ¶ 65.]     Accordingly, Kasprzycki and HFC

  contend § 134-E compels speech in violation of the First

  Amendment.

               Plaintiffs bring this action against the State for

  injunctive and declaratory relief under 42 U.S.C. § 1983,




        5Plaintiffs’ Complaint has two consecutive paragraphs
  numbered 66. For clarity, the Court refers to the first
  paragraph 66 as “paragraph 66a” and the second paragraph 66 as
  “paragraph 66b.”


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  alleging the State violated, and continues to violate, their

  First, Second, and Fourteenth Amendment rights by restricting

  certain conduct of individuals with a license to carry firearms.

  They bring facial and as-applied challenges to §§ 134-A(a)(1),

  (a)(4), (a)(9), (a)(12), and 134-E.         In the TRO Motion,

  Plaintiffs seek a TRO to enjoin the challenged laws.           See TRO

  Motion at 2.

                                   STANDARD

              “[T]he legal standards applicable to TROs and

  preliminary injunctions are ‘substantially identical.’”

  Washington v. Trump, 847 F.3d 1151, 1159 n.3 (9th Cir. 2017)

  (quoting Stuhlbarg Int’l Sales Co., Inc. v. John D. Brush & Co.,

  Inc., 240 F.3d 832, 839 n.7 (9th Cir. 2001)).

                   A party moving for preliminary injunctive
              relief must establish (1) a likelihood of success
              on the merits, (2) a likelihood of irreparable
              harm, (3) that the balance of harm tips in the
              movant’s favor, and (4) that the injunction is in
              the public interest. See All. for the Wild
              Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th
              Cir. 2011). “The first factor—likelihood of
              success on the merits—is the most important
              factor.” California by & through Becerra v.
              Azar, 950 F.3d 1067, 1083 (9th Cir. 2020) (en
              banc) (citation and quotation marks omitted).
              Additionally, when a party seeks a preliminary
              injunction against the government, as is the case
              here, the balance of the equities and public
              interest factors merge. See Drakes Bay Oyster
              Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir.
              2014) (citing Nken v. Holder, 556 U.S. 418, 435,
              129 S. Ct. 1749, 173 L. Ed. 2d 550 (2009)).



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  Chamber of Com. of the U.S. v. Bonta, 62 F.4th 473, 481 (9th

  Cir. 2023).

                                  DISCUSSION

  I.    The Second Amendment and the United States Supreme Court

        A.    Prior to the Twenty-First Century

              Ratified in 1791, the Second Amendment reads: “A well

  regulated Militia, being necessary to the security of a free

  State, the right of the people to keep and bear Arms, shall not

  be infringed.”     U.S. CONST. amend. II.     To this Court’s

  knowledge, the Supreme Court’s first mention of the people’s

  right to bear arms was in the infamous case Dred Scott v.

  Sandford, 60 U.S. 393 (1857).       There, the Supreme Court held

  that, because Dred Scott was black, he was not a United States

  citizen and, as such, he was not entitled to any of the rights

  guaranteed to United States citizens under the United States

  Constitution.     See id. at 404-05.      The Supreme Court reasoned,

  in part, that slaveholder states could not have regarded black

  people as citizens because then

              it would give them the full liberty of speech in
              public and in private upon all subjects upon
              which its own citizens might speak; to hold
              public meetings upon political affairs, and to
              keep and carry arms wherever they went. And all
              of this would be done in the face of the subject
              race of the same color, both free and slaves, and
              inevitably producing discontent and
              insubordination among them, and endangering the
              peace and safety of the State.


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  Id. at 417 (emphasis added).       A possible implication of the

  Supreme Court’s statement is that United States citizens could

  “keep and carry arms wherever they went.”         See id.   To that end,

  this Court notes two vital points: (1) to the extent that the

  Supreme Court intended to make any holding regarding the right

  to bear arms in Dred Scott, its statement was purely dictum;6 and

  (2) Dred Scott is no longer good law because it was superseded

  by the Thirteenth and Fourteenth Amendments.

              In United State v. Cruikshank, the Supreme Court held

  that the Second Amendment contains the right “of bearing arms

  for a lawful purpose.      This is not a right granted by the

  Constitution.     Neither is it in any manner dependent upon that

  instrument for its existence.”       92 U.S. 542, 553 (1875)

  (internal quotation marks omitted).         The Supreme Court further

  held that the Second Amendment “is one of the amendments that

  has no other effect than to restrict the powers of the national

  government . . . .”      Id.   In other words, the Second Amendment

  does not create a right; rather, it protects a preexisting right

  from federal overreach.




        6“A statement is dictum when it is made during the course
  of delivering a judicial opinion, but . . . is unnecessary to
  the decision in the case and is therefore not precedential.”
  Cetacean Cmty. v. Bush, 386 F.3d 1169, 1173 (9th Cir. 2004)
  (alteration in Cetacean Cmty.) (brackets, citation, and internal
  quotation marks omitted).
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              In Presser v. Illinois, the Supreme Court reaffirmed

  the holding in Cruikshank and held that a military code which

  prohibited “bodies of men to associate together as military

  organizations, or to drill or parade with arms in cities and

  towns unless authorized by law, d[id] not infringe the right of

  the people to keep and bear arms.”          116 U.S. 252, 264-65 (1886).

  The Supreme Court further concluded that states could not

  “prohibit the people from keeping and bearing arms, so as to

  deprive the United States of their rightful resource for

  maintaining the public security, and disable the people from

  performing their duty to the general government.”          Id. at 265.

  In dictum, the Supreme Court in Robertson v. Baldwin, mentioned

  that “the right of the people to keep and bear arms . . . is not

  infringed by laws prohibiting the carrying of concealed

  weapons . . . .”     165 U.S. 275, 281-82 (1897).

              Forty-two years later, the Supreme Court in United

  States v. Miller, stated that: “With obvious purpose to assure

  the continuation and render possible the effectiveness of

  [Militias (as set forth in Article I, Section 8 of the United

  States Constitution),] the declaration and guarantee of the

  Second Amendment were made.”       307 U.S. 174, 178 (1939).        Thus,

  the Supreme Court concluded that the Second Amendment “must be

  interpreted and applied with that end in view.”          Id.   Under that

  interpretation, the Supreme Court held that the Second Amendment

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  did not guarantee the right to keep and bear “a shotgun having a

  barrel of less than eighteen inches in length” because there was

  insufficient evidence to show that such a firearm had “some

  reasonable relationship to the preservation or efficiency of a

  well regulated militia.”      Id. (internal quotation marks and

  citation omitted).      The Supreme Court did not decide another

  Second Amendment case until almost seventy years later.

        B.    In the Twenty-First Century

              In 2008, the Supreme Court in District of Columbia v.

  Heller, held that the Second Amendment “guarantee[s] the

  individual right to possess and carry weapons in case of

  confrontation.”     554 U.S. 570, 592 (2008).      The Supreme Court

  came to its conclusion by analyzing the text of the amendment.

  After its textual analysis, it reviewed some historical

  background to determine whether that historical background

  comported with its conclusion; it held that it did.           See, e.g.,

  id. at 592–95.

              The Supreme Court emphasized, however, that “the right

  secured by the Second Amendment is not unlimited.”          Id. at 626.

  It cautioned that “nothing in [its] opinion should be taken to

  cast doubt on longstanding prohibitions on the possession of

  firearms by felons and the mentally ill, or laws forbidding the

  carrying of firearms in sensitive places such as schools and

  government buildings . . . .”       Id.

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              Although the Supreme Court conducted some historical

  analysis of the people’s right to bear arms, the majority did

  not provide any reasoning or analysis as to why those enumerated

  prohibitions pass “constitutional muster,” see id. at 629;

  indeed, it presumed them to be constitutional restrictions, see

  id. at 627 n.26 (“We identify these presumptively lawful

  regulatory measures only as examples; our list does not purport

  to be exhaustive.” (emphasis added)).         The Supreme Court in the

  end held that a Washington, D.C. ban on firearms in the home

  violated the Second Amendment.       See id. at 628–29.     Following on

  the heels of Heller, in 2010, the Supreme Court in McDonald v.

  City of Chicago, held that the Second Amendment rights

  recognized in Heller were incorporated against the states

  through the Fourteenth Amendment.         See 561 U.S. 742, 791 (2010).7

              After Heller and McDonald, many courts implemented a

  two-step test to review challenges to regulations that invoked

  protections secured by the Second Amendment.         The two-step test

  required courts to: (1) determine if the challenged law affected

  protected conduct under the Second Amendment; and, if so, then

  (2) apply the appropriate level of scrutiny, based upon the

  extent to which the challenged law implicates the Second




        7Justice Scalia’s concurring opinion begins on page 791,
  but, for clarity, this cite is to the majority opinion ending on
  that page.
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  Amendment right.     See, e.g., Young v. Hawaii, 992 F.3d 765, 783-

  84 (9th Cir. 2021) (en banc), vacated and remanded, 142 S. Ct.

  2895 (2022).

              In 2022, the Supreme Court issued its decision in New

  York State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111

  (2022).    There, the Supreme Court relied on Heller and McDonald

  and held that the two-step test – sometimes called “means-end

  scrutiny” – utilized by lower courts was wrong and declined to

  adopt it.    See Bruen, 142 S. Ct. at 2125–26.       Instead, it held

              that when the Second Amendment’s plain text
              covers an individual’s conduct, the Constitution
              presumptively protects that conduct. To justify
              its regulation, the government may not simply
              posit that the regulation promotes an important
              interest. Rather, the government must
              demonstrate that the regulation is consistent
              with this Nation’s historical tradition of
              firearm regulation. Only if a firearm regulation
              is consistent with this Nation’s historical
              tradition may a court conclude that the
              individual’s conduct falls outside the Second
              Amendment’s “unqualified command.” Konigsberg v.
              State Bar of Cal., 366 U.S. 36, 50, n.10, 81 S.
              Ct. 997, 6 L. Ed. 2d 105 (1961).

  Id. at 2126.

              After establishing this constitutional standard for

  reviewing challenges under the Second Amendment, the Supreme

  Court applied it to a challenge to a New York regulation.            That

  regulation required applicants who sought a license to conceal

  carry a firearm outside of the home to prove that they had a

  “proper cause” to be issued such a license.         See id. at 2123.

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  The Supreme Court determined that the plain text of the Second

  Amendment covered the conduct that the challenged law regulated

  because the Second Amendment “presumptively guarantees . . . a

  right to bear arms in public for self-defense.”          Id. at 2135

  (internal quotation marks omitted).         Because “the Second

  Amendment guarantees a general right to public carry,” the

  Supreme Court stated the government had “the burden . . . to

  show that New York’s proper-cause requirement is consistent with

  this Nation’s historical tradition of firearm regulation.”            Id.

  at 2135.    It further stated that, “[o]nly if [the government]

  carr[ies] that burden can they show that the pre-existing right

  codified in the Second Amendment, and made applicable to the

  States through the Fourteenth, does not protect [the

  challenger’s] proposed course of conduct.”         Id.

              The Supreme Court then reviewed the historical

  evidence that the government provided.         It clustered the

  historical evidence into five categories: “(1) medieval to early

  modern England; (2) the American Colonies and the early

  Republic; (3) antebellum America; (4) Reconstruction; and

  (5) the late-19th and early-20th centuries.”         Id. at 2135–36.

  The Supreme Court did not find the government’s evidence

  regarding any of these categories convincing.          As to the first

  category, it stated that, “[a]t the very least, we cannot

  conclude from this historical record that, by the time of the

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  founding, English law would have justified restricting the right

  to publicly bear arms suited for self-defense only to those who

  demonstrate some special need for self-protection.”           Id. at

  2142.    As to the second category, it concluded that “in the

  century leading up to the Second Amendment and in the first

  decade after its adoption, there is no historical basis for

  concluding that the pre-existing right enshrined in the Second

  Amendment permitted broad prohibitions on all forms of public

  carry.”    Id. at 2145.

              For the third category, it summarized:

              The historical evidence from antebellum America
              does demonstrate that the manner of public carry
              was subject to reasonable regulation. Under the
              common law, individuals could not carry deadly
              weapons in a manner likely to terrorize others.
              Similarly, although surety statutes did not
              directly restrict public carry, they did provide
              financial incentives for responsible arms
              carrying. Finally, States could lawfully
              eliminate one kind of public carry—concealed
              carry—so long as they left open the option to
              carry openly.

  Id. at 2150 (emphasis in Bruen).

              In beginning its discussion of the fourth category,

  the Supreme Court relied on Dred Scott, stating that Dred Scott

  “indirectly affirmed the importance of the right to keep and

  bear arms in public.”      Id.   It further explained that Chief

  Justice Taney, writing for the Court in Dred Scott, “recognized

  . . . that public carry was a component of the right to keep and


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  bear arms–a right free blacks were often denied in antebellum

  America.”    Id. at 2151.    It is important to reiterate that Dred

  Scott’s discussion of a right to bear arms is dictum. See supra

  Discussion Section I.A.      Moreover, to the extent that the

  mention of a right to bear arms in Dred Scott provides any

  historical insight into the legal bounds of the Second

  Amendment, it should be cautioned that it is equally plausible

  that Chief Justice Taney exaggerated certain rights in a pursuit

  to justify the enslavement of black Americans.          In any event,

  after some additional historical analysis, the Supreme Court in

  Bruen concluded that, “[a]s for Reconstruction-era state

  regulations, there was little innovation over the kinds of

  public-carry restrictions that had been commonplace in the early

  19th century.”     Id. at 2152.

              Finally, in assessing the fifth category, the Supreme

  Court stated that the late-19th century evidence, particularly

  as to evidence regarding the newer western states, “cannot

  overcome the overwhelming evidence of an otherwise enduring

  American tradition permitting public carry.”         Id. at 2154.     The

  Supreme Court ultimately held that:

                   At the end of this long journey through the
              Anglo-American history of public carry, we
              conclude that respondents have not met their
              burden to identify an American tradition
              justifying the State’s proper-cause requirement.
              The Second Amendment guaranteed to “all
              Americans” the right to bear commonly used arms

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              in public subject to certain reasonable, well-
              defined restrictions. Heller, 554 U.S. at 581,
              128 S. Ct. 2783. Those restrictions, for
              example, limited the intent for which one could
              carry arms, the manner by which one carried arms,
              or the exceptional circumstances under which one
              could not carry arms, such as before justices of
              the peace and other government officials. Apart
              from a few late-19th-century outlier
              jurisdictions, American governments simply have
              not broadly prohibited the public carry of
              commonly used firearms for personal
              defense. . . .

  Id. at 2156.

        C.    Framework for Analyzing this
              Nation’s Historical Tradition

              Bruen’s directive is clear: once an individual’s

  conduct is covered by the plain text of the Second Amendment,

  the burden is on the government to establish that the regulation

  is consistent with this Nation’s historical tradition of firearm

  regulation.    See id. at 2129–30.        The exception being, of

  course, exclusion of firearms in traditionally “sensitive

  places.”    Then, and only then, is a gun regulation

  constitutional.     Although the burden is on the government to

  proffer evidence that the regulation is consistent with this

  Nation’s historical tradition of firearm regulation, a reviewing

  court must analyze the government’s proffered historical

  evidence.    A core element of this analysis is assessing how “the

  Second Amendment’s historically fixed meaning applies to new

  circumstances . . . .”      Id. at 2132.     This task “will often


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  involve reasoning by analogy” and “[l]ike all analogical

  reasoning, determining whether a historical regulation is a

  proper analogue for a distinctly modern firearm regulation

  requires a determination of whether the two regulations are

  relevantly similar.”      Id. (emphasis added) (citation and

  internal quotation marks omitted).

              In assessing whether regulations are “relevantly

  similar under the Second Amendment,” courts should look “toward

  at least two metrics: how and why the regulations burden a law-

  abiding citizen’s right to armed self-defense.”          Id. at 2132–33

  (emphases added).     But, “analogical reasoning under the Second

  Amendment is neither a regulatory straightjacket nor a

  regulatory black check.”      Id. at 2133.     “[A]nalogical reasoning

  requires only that the government identify a well-established

  and representative analogue, not a historical twin.           So even if

  a modern-day regulation is not a dead ringer for historical

  precursors, it still may be analogous enough to pass

  constitutional muster.”      Id. (emphases in Bruen).

              Relevant here, “[a]lthough the historical record

  yields relatively few 18th- and 19th-century ‘sensitive places’

  where weapons were altogether prohibited—e.g., legislative

  assemblies, polling places, and courthouses—” the Supreme Court

  stated it was “aware of no disputes regarding the lawfulness of

  such prohibitions.”      Id. (citations omitted).      The Supreme Court

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  assumed, then, that it was “settled that these locations were

  ‘sensitive places’ where arms carrying could be prohibited

  consistent with the Second Amendment.        And courts can use

  analogies to those historical regulations of ‘sensitive places’

  to determine that modern regulations prohibiting the carry of

  firearms in new and analogous sensitive places are

  constitutionally permissible.”       Id. (emphasis in Bruen).

               Moreover, “when it comes to interpreting the

  Constitution, not all history is created equal.          ‘Constitutional

  rights are enshrined with the scope they were understood to have

  when the people adopted them.’”        Id. at 2136 (emphasis in Bruen)

  (quoting Heller, 554 U.S. at 634–35, 128 S. Ct. 2783).              The

  Supreme Court stated that “courts must be careful when assessing

  evidence concerning English common-law rights”; it stated, for

  example: “A long, unbroken line of common-law precedent

  stretching from Bracton to Blackstone is far more likely to be

  part of our law than a short-lived, 14th-century English

  practice.”    Id.   It also “guard[ed] against giving postenactment

  history more weight than it can rightly bear.”          Id.   While it is

  true that “where a governmental practice has been open,

  widespread, and unchallenged since the early days of the

  Republic, the practice should guide our interpretation of an

  ambiguous constitutional provision[,] . . . . to the extent that

  history contradicts what the text says, the text controls.”               Id.

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  at 2137 (citations and internal quotation marks omitted).            That

  is, “post-ratification adoption or acceptance of laws that are

  inconsistent with the original meaning of the constitutional

  text obviously cannot overcome or alter that text.”           Id.

  (emphasis in Bruen) (quotation marks and citations omitted).

              The Supreme Court also “acknowledge[d] that there is

  an ongoing scholarly debate on whether courts should primarily

  rely on the prevailing understanding of an individual right when

  the Fourteenth Amendment was ratified in 1868 when defining its

  scope (as well as the scope of the right against the Federal

  Government).”     Id. at 2138 (citations omitted).       But, it did

  “not address this issue . . . because . . . the public

  understanding of the right to keep and bear arms in both 1791

  and 1868 was, for all relevant purposes, the same with respect

  to public carry.”      Id.   With this framework and understanding,

  this Court turns to the instant case.

  II.   Preliminary Matters

        A.    Standing

              The State contends Plaintiffs lack standing to

  challenge Haw. Rev. Stat. §§ 134-A(a)(4), (a)(12), and 134-E.

  See Mem. in Opp. at 7, 16, 19.       Because standing goes to the

  issue of whether this Court has jurisdiction to hear the case,

  the State’s argument must be addressed.         See Spokeo, Inc. v.

  Robins, 578 U.S. 330, 338 (2016) (stating that the standing

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  doctrine “ensure[s] that federal courts do not exceed their

  authority . . . .” (citation omitted)).         To establish the

  “irreducible constitutional minimum of standing,” a “plaintiff

  must have (1) suffered an injury in fact, (2) that is fairly

  traceable to the challenged conduct of the defendant, and

  (3) that is likely to be redressed by a favorable judicial

  decision.”    Id. at 338 (quotation marks and citations omitted).

  “To establish injury in fact, a plaintiff must show that he or

  she suffered an invasion of a legally protected interest that is

  concrete and particularized and actual or imminent, not

  conjectural or hypothetical.”       Id. at 339 (citation and internal

  quotation marks omitted).

               Here, Plaintiffs possess standing to challenge §§ 134-

  A(a)(4), (a)(12), and 134-E.       As to § 134-A(a)(4), which

  prohibits carrying firearms in bars and restaurants that serve

  alcohol, the State argues Plaintiffs “have not identified any

  bar or restaurant that has authorized (or would authorize)

  [them] to carry a gun into their premises.”         [Mem. in Opp. at

  7.]   The State’s argument fails because § 134-A(a)(4) flatly

  bans the carrying of firearms in bars and restaurants that serve

  alcohol.

               The Individual Plaintiffs allege they frequently visit

  and will continue to visit bars and restaurants that serve

  alcohol.    See Complaint at ¶¶ 59(H) (“Jason Wolford has in the

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  past regularly frequented the following areas which are . . .

  restaurants that serves alcohol or intoxicating liquor . . . on

  the premises, and he has, in the past carried a concealed arm

  with his permit in the locations referenced herein, and he

  intends to . . . in the future, own, possess, and carry a

  firearm with his concealed carry permit in these locations and

  locations like them.”); 60(H) (same as to A. Wolford); 61(H)

  (same as to Kasprzycki).      Because they frequently visit these

  spaces in their ordinary daily lives, the Individual Plaintiffs

  sufficiently establish that they face imminent harm that is

  concrete and particularized.       See Haw. Rev. Stat. § 134-A(f)

  (stating a violation of § 134-A constitute misdemeanors).            The

  harm is fairly traceable to the State’s conduct because the

  Individual Plaintiffs face criminal penalties if they are found

  to be carrying a firearm in that prohibited spaces.           See

  O’Handley v. Weber, 62 F.4th 1145, 1161 (9th Cir. 2023) (“[T]he

  traceability requirement is less demanding than proximate

  causation, and thus the causation chain does not fail solely

  because there are several links or because a single third

  party’s actions intervened.” (citations and internal quotation

  marks omitted)).     Stated another way, “[i]t is possible to draw

  a causal line from” the State implementing the challenged

  provision to Plaintiffs’ potential criminal penalties for



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  violating the challenged provisions, “even if [the causal line]

  is one with several twists and turns.”         See id. at 1161–62.

              The State’s argument appears to also rely on § 134-E.

  That is, because § 134-E requires private commercial owners to

  give express permission to carry firearms on their property, if

  a private owner gives permission to carry firearms on their

  property, then an individual is not penalized and, thus, there

  is no harm.    But, § 134-E does not negate the default ban set

  forth in § 134-A(a)(4).      Before the enactment of § 134-A(a)(4),

  the Individual Plaintiffs – as licensed firearm carriers – could

  conceal carry into bars and restaurants serving alcohol without

  facing criminal penalty.      Although the owners of those

  establishments could prohibit the Individual Plaintiffs from

  carrying in their establishments, the Individual Plaintiffs did

  not face criminal penalties.

              Despite the possibility that a commercial owner could

  override the prohibition set forth in § 134-A(a)(4), without

  more, such a third-party’s possible intervention does not

  destroy the causal chain needed to show traceability.           See

  O’Handley, 62 F.4th at 1161; see also Winsor v. Sequoia Benefits

  & Ins. Servs., LLC, 62 F.4th 517, 525 (9th Cir. 2023) (stating a

  plaintiff must allege “a substantial probability” that the

  defendant caused the alleged harm (citation and internal

  quotation marks omitted)).       Finally, the Individual Plaintiffs’

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  injury can also be redressed by a favorable judicial decision

  because a favorable judicial decision would enjoin the

  restriction set forth in § 134-A(a)(4) and the accompanying

  criminal penalty for any violation.         The Individual Plaintiffs

  therefore have standing to challenge § 134-A(a)(4).8

              The State contests Plaintiffs’ standing to challenge

  § 134-A(a)(12) for the same reason as it provided for § 134-

  A(a)(4).    See Mem. in Opp. at 16 (“As with bars and restaurants

  serving alcohol, Plaintiffs lack standing because they provide

  no allegations or evidence that any financial institution has

  authorized (or would authorize) carrying firearms on it

  premises.”).     This Court’s analysis in finding that the

  Individual Plaintiffs have standing to challenge § 134-A(a)(4)

  equally applies to this argument and, therefore, the Individual

  Plaintiffs have standing to challenge § 134-A(a)(12).9              See

  Complaint at ¶¶ 59(I) (“Jason Wolford has in the past regularly


        8In a similar case involving challenges to a New Jersey
  regulation for, among other things, restrictions on “sensitive
  places” including bars and restaurants serving alcohol, the
  district court similarly found that the plaintiffs had standing
  to challenge that particular “sensitive place” regulation. See
  Koons v. Platkin, Civil No. 22-7464 (RMB/AMD), 2023 WL 3478604,
  at *46 (D.N.J. May 16, 2023), appeal filed, 2023 WL 3478601
  (June 9, 2023).

        9Although the State does not contest the Individual
  Plaintiffs’ standing as to the other challenged provisions under
  § 134-A(a), the Individual Plaintiffs have standing to challenge
  those provisions for the same reason they have standing to
  challenge §§ 134-A(a)(4) and (a)(12).
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  frequented . . . banks or financial institutions . . . and has

  in the past carried a concealed arm with his permit and intends

  to . . . in the future, own, possess, and carry a firearm with

  his concealed carry permit in these locations and locations like

  them.”); 60(I) (same as to A. Wolford); 61(I) (same as to

  Kasprzycki).

               The State argues Plaintiffs lack standing to challenge

  § 134-E because “property owners could prohibit firearms even if

  HRS § 134-E were enjoined, leaving Plaintiffs in the exact same

  position.”    [Mem. in Opp. at 19.]       It also contends that,

  “because Plaintiffs ‘fail[] to provide any statement . . .

  indicating that [they] will not seek permission before carrying

  in a private property,’ they ‘fail to establish an injury-in-

  fact.’”    [Id. at 19 n.35 (alterations in original) (quoting Frey

  v. Nigrelli, 21 CV 05334 (NSR), 2023 WL 2473375, at *9 (S.D.N.Y.

  Mar. 13, 2023)).10]     The Individual Plaintiffs submitted

  supplemental declarations stating they have been to private

  businesses in the County of Maui while carrying a concealed

  firearm and would continue to frequent those businesses but for

  the threat of prosecution under § 134-E.         See Reply, Exh 5 at

  PageID.1328-30 (Suppl. Decl. of Jason Wolford) at ¶¶ 3–4; id. at




         An appeal has been filed.
        10                                  Frey v. Bruen, No. 23-365 (2d
  Cir. Mar. 16, 2023).
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  PageID.1331-33 (Suppl. Decl. of Alison Wolford) at ¶¶ 3–4; id.

  at PageID.1334-36 (Suppl. Decl. of Atom Kasprzycki) at ¶¶ 8–9.

              The State’s first argument is not persuasive because,

  although private businesses could prohibit firearms on their

  premises, some would not.       Plaintiffs provide declarations from

  some business owners, each stating that the business owner has

  not displayed a sign allowing the public to carry firearms on

  the premises, but if § 134-E was no longer in effect, the

  business owner would allow the public to conceal-carry firearms

  on the premises.     See generally Reply, Exh. 3 (collection of

  declarations from Maui business owners).         The State’s second

  argument also fails because the Individual Plaintiffs have

  proffered some evidence that, but for § 134-E, they would

  conceal-carry their firearms on private businesses’ properties.

  Further, the Individual Plaintiffs’ declarations imply that

  before § 134-E became effective they would not seek explicit

  permission from those businesses.         Plaintiffs would conceal

  carry in businesses in their ordinary daily lives and were not

  faced with criminal penalty.       Insofar as businesses did not

  display a sign prohibiting the carrying of firearms on their

  premises, the Individual Plaintiffs could conceal carry freely

  and the businesses would unlikely be aware that the Individual

  Plaintiffs were conceal carrying.



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              Accordingly, the Individual Plaintiffs have standing

  to challenge § 134-E.      Because the Individual Plaintiffs have

  standing to pursue their challenges to §§ 134-A(a)(4), (a)(12),

  and 134-E, this Court does not address HFC’s standing.              See

  Leonard v. Clark, 12 F.3d 885, 888 (9th Cir. 1993) (“The general

  rule applicable to federal court suits with multiple plaintiffs

  is that once the court determines that one of the plaintiffs has

  standing, it need not decide the standing of the others.”

  (citation omitted)).

        B.    Facial and As-Applied Challenges

              Plaintiffs raise facial and as-applied challenges to

  the challenged provisions.       See, e.g., Complaint at ¶¶ 73–77.

  “A facial challenge is . . . a claim that the law or policy at

  issue is unconstitutional in all its applications.”           Bucklew v.

  Precythe, 139 S. Ct. 1112, 1127 (2019).         “[A] plaintiff can only

  succeed in a facial challenge by establish[ing] that no set of

  circumstances exists under which the Act would be valid, i.e.,

  that the law is unconstitutional in all of its applications.”

  Wash. State Grange v. Wash. State Republican Party, 552 U.S.

  442, 449 (2008) (some alterations in Wash. State Grange)

  (citation and internal quotation marks omitted).

                   Facial challenges are disfavored for several
              reasons. Claims of facial invalidity often rest
              on speculation. As a consequence, they raise the
              risk of “premature interpretation of statutes on
              the basis of factually barebones records.” Sabri

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              v. United States, 541 U.S. 600, 609 (2004)
              (internal quotation marks and brackets omitted).
              Facial challenges also run contrary to the
              fundamental principle of judicial restraint that
              courts should neither “‘anticipate a question of
              constitutional law in advance of the necessity of
              deciding it’” nor “‘formulate a rule of
              constitutional law broader than is required by
              the precise facts to which it is to be applied.’”
              Ashwander v. TVA, 297 U.S. 288, 346–347 (1936)
              (Brandeis, J., concurring) (quoting Liverpool,
              New York & Philadelphia S.S. Co. v. Commissioners
              of Emigration, 113 U.S. 33, 39 (1885)). Finally,
              facial challenges threaten to short circuit the
              democratic process by preventing laws embodying
              the will of the people from being implemented in
              a manner consistent with the Constitution. We
              must keep in mind that “‘[a] ruling of
              unconstitutionality frustrates the intent of the
              elected representatives of the people.’” Ayotte
              v. Planned Parenthood of Northern New Eng., 546
              U.S. 320, 329 (2006) (quoting Regan v. Time,
              Inc., 468 U.S. 641, 652 (1984) (plurality
              opinion)). . . .

  Id. at 450–51 (some alterations in Wash. State Grange).

              “An as-applied challenge, meanwhile, focuses on the

  statute’s application to the plaintiff, and requires the court

  to only assess the circumstances of the case at hand.”

  Rodriguez Diaz v. Garland, 53 F.4th 1189, 1203 (9th Cir. 2022)

  (citation and internal quotation marks omitted).          “Facial and

  as-applied challenges differ in the extent to which the

  invalidity of a statute need be demonstrated.”          Isaacson v.

  Horne, 716 F.3d 1213, 1230 (9th Cir. 2013) (emphasis in

  Isaacson) (quotation marks and citation omitted).          “While a

  successful challenge to the facial constitutionality of a law


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  invalidates the law itself, a successful as-applied challenge

  invalidates only the particular application of the law.”

  Italian Colors Rest. v. Becerra, 878 F.3d 1165, 1175 (9th Cir.

  2018) (citation and internal quotation marks omitted).

              Importantly, though, the Ninth Circuit has also

  stated:

              “[T]he distinction between facial and as-applied
              challenges is not so well defined that it has
              some automatic effect or that it must always
              control the pleadings and disposition in every
              case involving a constitutional challenge.”
              Citizens United v. Fed. Election Comm’n, 558 U.S.
              310, 331, 130 S. Ct. 876, 175 L. Ed. 2d 753
              (2010). Instead, the distinction matters
              primarily as to the remedy appropriate if a
              constitutional violation is found. Id. The
              substantive legal tests used in facial and as-
              applied challenges are “invariant[.]” . . .

  Isaacson, 716 F.3d at 1230 (some alterations in Isaacson).

  III. Likelihood of Success on the Merits

              “To establish a substantial likelihood of success on

  the merits, [a plaintiff] must show ‘a fair chance of success.’”

  In re Focus Media, Inc., 387 F.3d 1077, 1086 (9th Cir. 2004)

  (quoting Republic of the Philippines v. Marcos, 862 F.2d 1355,

  1362 (9th Cir. 1988) (en banc)).          This Court reviews each

  challenged provision in turn to determine whether Plaintiffs

  establish a likelihood of success on the merits on their

  respective facial and as-applied challenges.




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        A.    Haw. Rev. Stat. § 134-A(a)(1) –
              Government Buildings and Adjacent Parking Areas

              Plaintiffs request a TRO to enjoin the portion of

  § 134-A(a)(1) that prohibits people from carrying a firearm in

  parking areas adjacent to government buildings.          See TRO Motion,

  Mem. in Supp. at 24.      During the hearing for the TRO Motion,

  Plaintiffs’ counsel clarified Plaintiffs’ challenge to § 134-

  A(a)(1).    Plaintiffs’ counsel stated that Plaintiffs were not

  seeking to enjoin the portion of § 134-A(a)(1) that covers all

  parking areas adjacent to government buildings.          Instead,

  Plaintiffs seek to enjoin § 134-A(a)(1) insofar as it prohibits

  carrying firearms in the parking areas mentioned in their

  Complaint and parking areas similar to those listed areas.

              Specifically, Plaintiffs challenge the following

  parking areas and/or parking areas similar to them: the parking

  area adjacent to Ace Hardware and Ross which shares a parking

  area with the County of Maui Department of Motor Vehicles (“Maui

  DMV”); see Complaint at ¶¶ 59(J)(i), 60(J)(i); see also

  Complaint, Exh. 5 (map depicting the parking area of Ace

  Hardware, Ross, and the Maui DMV); and the parking area adjacent

  to D.T. Fleming Beach Park in the County of Maui which shares a

  parking area with a county or State lifeguard building, see




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  Complaint at ¶¶ 60(F)(vii), 61(G)(iv).11        This Court therefore

  construes Plaintiffs’ challenge as an as-applied challenge and

  not a facial challenge.      In the hearing on the TRO Motion,

  counsel for the State maintained that the State’s position

  concerning § 134-A(a)(1) is that the word “adjacent” in that

  provision related to parking areas means “parking areas that

  exclusively serve a particular place.”         It appears, then, that

  the State’s position is that a parking area is adjacent to a

  government building if the parking area exclusively serves the

  government building.      Section 134-A(a)(1) as written does not

  stand for what the State now claims it does.         The State,

  however, appears to concede that the parking areas adjacent to

  government buildings which are listed in the Complaint are not

  considered areas protected by § 134-A(a)(1).

              Plaintiffs’ challenge to § 134-A(a)(1) is much

  narrower than initially raised in the TRO Motion.          In light of

  the parties’ updated positions, this Court will only address the

  limited challenge to § 134-A(a)(1) insofar as it prohibits

  carrying firearms in parking areas adjacent to government

  buildings where the parking area: (1) does not exclusively serve

  the government building; (2) is not reserved for government



         During the hearing on the TRO Motion, Plaintiffs’ counsel
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  also stated they are not challenging the prohibition of carrying
  firearms in parking areas that are reserved for government
  employees.
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  employees, i.e., non-government employees use the parking area;

  and (3) shares a parking area with a non-governmental building.

  Although the State appears to concede that some of Plaintiffs’

  challenged areas are not sensitive places – particularly the two

  parking areas listed in the Complaint – this Court must analyze

  the challenged areas, nonetheless, because Plaintiffs challenge

  portions of § 134-A(a)(1) as written.

              This Court begins with determining whether the

  regulated conduct in the challenged portion of § 134-A(a)(1) is

  covered by the plain text of the Second Amendment.          Section 134-

  A(a)(1) prohibits, in part, a person who is licensed to carry or

  possess a firearm from carrying or possessing a firearm in

  “parking areas” that are “owned, leased, or used by the State or

  a county . . . .”     Haw. Rev. Stat. § 134-A(a)(1).       To the extent

  that the challenged parking areas are shared with non-government

  buildings, do not exclusively serve the government building, and

  are not reserved for government employees, they are generally

  public spaces.12    It is clear, therefore, that the plain text of

  the Second Amendment covers the regulated conduct set forth in

  § 134-A(a)(1), as narrowly construed for the present challenge,



         Neither party explicitly addresses privately owned
        12

  parking areas that are held open to the public. This Court does
  not address that issue here, but this Court’s discussions
  regarding Haw. Rev. Stat. §§ 134-A(a)(4) and 134-E are
  applicable to privately owned parking areas that are held to the
  public. See infra Discussion Sections III.B, III.E.
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  because the Supreme Court has conclusively held that “[t]he

  Second Amendment’s plain text . . . presumptively guarantees

  . . . a right to ‘bear’ arms in public for self-defense.”            See

  Bruen, 142 S. Ct. at 2135.       The question, then, is whether the

  challenged parking areas are sensitive places such that the

  State may permissibly limit the general right to carry firearms

  publicly for self-defense.

              Importantly, Heller and Bruen did not concern the

  issue of determining the legal bounds of “sensitive places.”

  But more importantly, the parties are not in dispute as to the

  specific areas being challenged by Plaintiffs.          That is, the

  parties agree that the specific parking areas that Plaintiffs

  seek to enjoin the State from enforcing its firearms ban are not

  sensitive places.

              At this stage, the State fails to meet its burden in

  rebutting Plaintiffs’ narrow challenge to § 134-A(a)(1).            In

  fact, the State at oral argument conceded to Plaintiffs’

  position.    For the sake of completeness, however, this Court

  addresses the State’s lack of evidence.         In its memorandum in

  opposition, the State fails to cite to any historical evidence

  regarding possible analogues to restrictions on parking areas

  that some government buildings use (limited in scope to the

  aforementioned areas).      This Court is “not obligated to sift the

  historical materials for evidence to sustain” the State’s law.

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  See Bruen, 142 S. Ct. at 2150.       “That is [the State’s] burden.”

  See id.    In lieu of historical analogues, the State cites in a

  footnote to a case from the Eastern District of Virginia for the

  proposition that some parking areas could or should be viewed as

  sensitive spaces because they are used by many people including

  children.    See Mem. in Opp. at 18 n.33 (citing United States v.

  Masciandaro, 648 F. Supp. 2d 779, 790 (E.D. Va. 2009)).

              Masciandaro, however, is not binding on this Court, is

  not relevant, and, in light of Bruen, is no longer good law.

  There, the district court conducted the now-rejected “means-end

  scrutiny” analysis and, as such, no historical analysis was

  properly conducted.      See Masciandaro, 648 F. Supp. 2d at 789

  (stating the challenged regulation survived strict scrutiny,

  intermediate scrutiny, or an undue burden analysis).           Although

  the district court concluded that parking lots “are even more

  sensitive” because “parking lots are extensively regulated

  thoroughfares frequented by large numbers of strangers,

  including children,” see id. at 790, the district court did not

  assess any evidence of historical analogues.         The district

  court, of course, did not have the benefit of the Bruen analysis

  in informing its decision, and therefore the State’s reliance on

  Masciandaro is unhelpful here.

              Section 134-A(a)(1) does not differentiate between

  government parking areas.       It is possible that a parking area

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  adjacent to a post office is not a constitutionally protected

  sensitive place whereas the parking area adjacent to the State’s

  legislative building is a constitutionally protected sensitive

  place.    This Court makes no finding as to this possibility, but

  the State’s concessions during the hearing on the TRO Motion

  show that the State understands this important distinction.

  Section 134-A(a)(1) in its current form does not reflect the

  State’s now-held understanding.

              Because the State fails to “justify” the portion of

  § 134-A(a)(1) that regulates the challenged government parking

  areas by “demonstrate[ing] that the regulation is consistent

  with this Nation’s historical tradition of firearm regulation,”

  it is likely that “the Constitution presumptively protects that

  conduct.”    See Bruen, 142 S. Ct. at 2125.       Accordingly,

  Plaintiffs have a likelihood of success on the merits as to

  their as-applied challenge to § 134-A(a)(1); namely, the

  challenge to the portions of § 134-A(a)(1) that prohibit

  carrying firearms in parking areas owned, leased, or used by the

  State or county which share the parking area with non-

  governmental entities, are not reserved for State or county

  employees, and/or do not exclusively serve the State or county

  building.

              This Court notes that this conclusion is, and should

  be, narrowly construed.      The two parking areas listed in the

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  Complaint, and similarly situated parking areas next to a

  government building, fall within the category of areas being

  challenged.    The parking area shared by the Maui DMV, Ace

  Hardware, and Ross meet at least some of these criteria because

  that parking area is shared with non-governmental entities.                As

  to the parking area next to the lifeguard station at D.T.

  Fleming Beach Park, that parking area is also covered by some of

  these criteria because the parking area does not exclusively

  serve the lifeguard station; that is, members of the public also

  use that parking area when they go to the beach.          To the extent

  that there are other parking areas adjacent to a government

  building that meet some of these challenged criteria, this Court

  does not address the State’s argument that those areas are

  sensitive places under § 134-A(a)(1) because the State has not

  proffered evidence or cited any legal authority to support their

  contention.

        B.    Haw. Rev. Stat. § 134-A(a)(4) – Bars and
              Restaurants Serving Alcohol and Adjacent Parking Areas

              Plaintiffs also seek a TRO to enjoin § 134-A(a)(4) in

  its entirety.     See TRO Motion, Mem. in Supp. at 21–22.           This

  Court therefore analyzes this challenge as a facial and as-

  applied challenge.      Section 134-A(a)(4) prohibits a person with

  a license to carry a firearm from carrying a firearm in “[a]ny

  bar or restaurant serving alcohol or intoxicating


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  liquor . . . for consumption on the premises, including adjacent

  parking areas[.]”     The State argues Plaintiffs fail to satisfy

  their burden of showing that the plain text of the Second

  Amendment covers the conduct regulated in § 134-A(a)(4).            See

  Mem. in Opp. at 7–8.      The State is incorrect.

               “The Second Amendment’s plain text . . . presumptively

  guarantees    . . . a right to bear arms in public for self-

  defense.”    Bruen, 142 S. Ct. at 2135 (emphasis added) (internal

  quotation marks omitted).       In analyzing the text of the Second

  Amendment, the Supreme Court held that the “definition of ‘bear’

  naturally encompasses public carry.”        Id. at 2134 (emphasis

  added).    Because “[n]othing in the Second Amendment’s text draws

  a home/public distinction with respect to the right to keep and

  bear arms[,]” id., it follows that there is nothing in the

  Second Amendment’s plain text that makes a distinction between

  public places.     The Second Amendment’s plain text, therefore,

  also naturally encompasses places that are generally held open

  to the public.     To be sure, Bruen uniformly rejected the

  respondents’ argument that a state is permitted “to condition

  handgun carrying in areas frequented by the general public on a

  showing of a nonspeculative need for armed self-defense in those

  areas.”    See id. at 2135 (emphasis added) (citation and internal

  quotation marks omitted); see also id. at 2148 (“[T]he surety

  laws [of the mide-19th century] did not prohibit public carry in

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  locations frequented by the general community.” (first emphasis

  in Bruen)).    Put differently, for the respondents in Bruen to

  justify the regulation, they needed to show that prohibiting the

  carrying of firearms in areas frequented by the general public

  was consistent with this Nation’s historical tradition.             The

  Supreme Court held that they did not make such a showing.

              While bars and restaurants are private businesses,

  they are generally held open to the public, i.e., they are

  frequented by the general public.         Members of the public have a

  general invitation or license to enter those businesses’

  properties.    That invitation or license is not absolute, of

  course, and may be revoked if, for example, an invitee or

  licensee is engaging in unlawful behavior or behavior that the

  business deems unacceptable.       But, the general rule is that

  members of the public are welcome to enter those establishments.

  Thus, the conduct of carrying a firearm in a bar or restaurant

  that serves alcohol is covered by the plain text of the Second

  Amendment because those establishments are public to the extent

  that members of the public are invitees or licensees who may

  enter those establishments during business hours, unless their

  invitation or license is revoked.

              Although not dispositive of the issue, this

  understanding of the word “public” also comports with the common

  use of the word “public” in this general context.          See Public,

                                       42

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  BLACK’S LAW DICTIONARY (11th ed. 2019) (“Open or available for all

  to use, share, or enjoy.”).       The use of the word “public” or

  derivations of this word in some Hawai`i laws further

  illustrates this common understanding of the word.          Hawaii’s

  disorderly conduct law, for instance, includes businesses in its

  definition of “public place.”       See Haw. Rev. Stat. § 711-1101(1)

  (“A person commits the offense of disorderly conduct if, with

  intent to cause physical inconvenience or alarm by a member or

  members of the public, or recklessly creating a risk thereof,

  the person: . . . . (e) Impedes or obstructs, for the purpose of

  begging or soliciting alms, any person in any public

  place . . . .” (emphasis added)); Haw. Rev. Stat. § 711-1100

  (“‘Public place’ means a place to which the public or a

  substantial group of person has access and includes . . . places

  of amusement or business . . . .” (emphases added)).

              Hawaii’s law prohibiting discriminatory practices in

  public places incorporates a similar definition.          See Haw. Rev.

  Stat. § 489-3 (“Unfair discriminatory practices that deny, or

  attempt to deny, a person the full and equal enjoyment of the

  goods, services, facilities, privileges, advantages, and

  accommodations of a place of public accommodation on the basis

  of race; sex, including gender identity or expression; sexual

  orientation; color; religion; ancestry; or disability, including

  the use of a service animal, are prohibited.” (emphasis added));

                                       43

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  Haw. Rev. Stat. § 489-2 (“‘Place of public accommodation’ means

  a business . . . of any kind whose goods, services, facilities,

  privileges, advantages, or accommodations are extended, offered,

  sold, or otherwise made available to the general public as

  customers, clients, or visitors. . . .” (emphases added)).            So

  does Hawaii’s laws governing intoxicating liquors.          See Haw.

  Rev. Stat. § 281-1 (“‘Public place’ means any publicly owned

  property or privately owned property open for public use or to

  which the public is invited for entertainment or business

  purposes.” (emphasis added)).

              Some federal laws similarly classify private

  businesses held open to the public as public places.           See, e.g.,

  42 U.S.C. § 2000a(a)–(b) (statue prohibiting discrimination or

  segregation in places of public accommodations and including

  within “a place of public accommodation” “establishments which

  serve[] the public” whose “operations affect commerce”).            In

  sum, based on a common understanding of the word “public,” it is

  not controversial for Second Amendment purposes to classify

  certain private businesses held open to the public – e.g., bars

  and restaurants serving alcohol – as public places.

              Indeed, some district courts have reached the same

  conclusion that certain locations (and specifically bars and

  restaurants serving alcohol) held open to the public are covered

  by the Second Amendment’s right to bear arms in public.             See,

                                       44

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  e.g., Koons, 2023 WL 3478604, at *58 (“Plaintiffs’ right to

  carry for self-defense in public naturally encompasses entry

  onto the property of another, provided that such property is

  held open to the public and entry is otherwise lawful.”

  (emphasis in Koons)); Antonyuk v. Hochul, 1:22-CV-0986

  (GTS/CFH), 2022 WL 16744700, at *71 (N.D.N.Y. Nov. 7, 2022)

  (“The Court finds that the Second Amendment’s plain text covers

  the conduct in question (i.e., carrying a concealed handgun for

  self-defense in public in any establishment issued a license for

  on-premise consumption pursuant to . . . the alcoholic beverage

  control law where alcohol is consumed) . . . .” (first

  alteration in Antonyuk) (internal quotation marks omitted)),

  stayed, 2022 WL 18228317 (2d Cir. Dec. 7, 2022).

              It is important to note, however, that this conclusion

  is not without caveats.      The right to bear arms in public is

  “not a right to keep and carry any weapon whatsoever in any

  manner whatsoever and for whatever purpose.”         See Bruen, 142 S.

  Ct. at 2128 (quotation marks and citation omitted).           In cases

  where a business revokes a licensee or invitee’s permission to

  enter the business’s property, the business is no longer a

  public place to that licensee or invitee.         The licensee or

  invitee’s conduct would not be covered by the Second Amendment’s

  plain text in such a scenario.       Similarly, if a business is

  closed or otherwise restricts access to the public, the business

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  would not be considered to be held open to the public.              This

  Court’s conclusion is narrow; it only concludes that, to the

  extent that the conduct regulated by § 134-A(a)(4) is covered by

  the plain text of the Second Amendment, Plaintiffs have met

  their burden.

              Because the plain text of the Second Amendment covers

  Plaintiffs’ conduct of carrying a firearm in a bar or restaurant

  that serves alcohol, it is presumptively protected under the

  Constitution.     The burden shifts to the State to justify its

  regulation by showing that such a regulation is consistent with

  this Nation’s historical tradition of firearm regulation.             The

  State attempts to establish § 134-A(a)(4)’s constitutionality by

  citing to “[a] 1746 New Jersey law prohibit[ing] the selling of

  ‘any strong Liquor’ to members of the militia[.]”          [Mem. in Opp.

  at 8 (quoting Mem in Opp., Decl. of Nicholas M. McLean (“McLean

  Decl.”), Exh. 2 (1746 N.J. Laws 301-12 (An Act for better

  settling and regulating the Militia of this Colony of New

  Jersey, for the Repelling Invasions, and Suppressing

  Insurrections and Rebellions, ch. 84)) at § 26).]

              That law is not relevant here because it restricted

  militia members from being sold strong liquors.          Such a law may

  be important to ensure militia members are not intoxicated for

  the protection and security of the state, but it does not

  implicate the general public’s right to bear arms.          Prohibiting

                                       46

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  militia members from being sold certain types of alcohol is not

  closely analogous to restricting all individuals who are

  licensed to publicly carry a firearm from entering a bar or

  restaurant serving alcohol.

               The State also cites to a 1756 Delaware law and a 1756

  Maryland law that similarly restricted either militia officers

  from meeting near an inn or tavern, or militia members from

  being intoxicated on “any Muster-day.”         See id. at 8-9 (citing

  McClean Decl., Exh. 3 (An Act for establishing a Militia in this

  Government (Delaware, 1756), reprinted in The Selective Serv.

  Sys., 2 Backgrounds of Selective Service(Arthur Vollmer,

  ed. 1947)), pt. 3 at 10–15, Exh. 4 (An Act for Regulating the

  Militia of the Province of Maryland (1756), reprinted in The

  Selective Serv. Sys., 2 Backgrounds of Selective Service (Arthur

  Vollmer, ed. 1947)), pt. 5 at 83–108).         Those laws are also

  unpersuasive in finding that there was a national historical

  tradition of prohibiting members of the public – rather than

  members of the militia – from public carrying in places serving

  alcohol.

               The same principle holds true for the State’s reliance

  on a 1780 Pennsylvania law that prohibited non-commissioned

  officers or privates from “parading drunk” and militia companies

  or battalions from meeting at taverns on days of military

  exercises.    See id. at 9 (citing McLean Decl., Exh. 5 (An Act

                                       47

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  for the Regulation of the Militia of the Commonwealth of

  Pennsylvania (1780), ch. 902), § 45 (§ 57, P.L.); § 48 (§ 60,

  P.L.), 12th rule, reprinted in The Selective Serv. Sys., 2

  Backgrounds of Selective Service (Arthur Vollmer, ed. 1947),

  pt. 11 at 75-104).      Other citations to similar militia laws also

  fail for the same reason.       See id. at 9 n.13.

              The State further cites multiple laws from the mid- to

  late-19th century that regulated firearm possession by

  intoxicated individuals.      See id. at 9 n.14.     For instance, an

  1867 Kansas law prohibited “any person under the influence of

  intoxicating drink” from “carrying on his person a pistol . . .

  or other deadly weapon . . . .”        [McLean Decl., Exh. 14 (An Act

  to prevent the carrying of Deadly Weapons, ch. 12) at § 1).]            An

  1883 Missouri law also prohibited any person from carrying a

  firearm or other deadly weapon “when intoxicated or under the

  influence of intoxicating drinks.”          [Id., Exh. 15 (An Act to

  amend section 1274, article 2, chapter 24 of the Revised

  Statutes of Missouri, entitled “Of Crimes and Criminal

  Procedure”) at § 1.13]     An 1883 Wisconsin law made it “unlawful

  for any person in a state of intoxication, to go armed with any

  pistol or revolver.”      [Id., Exh. 16 (1883 Wis. Sess. Laws 290



         This Act also prohibited the concealed carrying of
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  firearms as well as carrying firearms in churches, schools, an
  election precinct on election day, courtrooms during court
  sessions, among other prohibitions.
                                       48

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  (An Act to prohibit the use and sale of pistols and revolvers),

  ch. 329) at § 3.]

              Although this Court declines to make a finding as to

  whether those laws conclusively establish a national historical

  tradition of regulating intoxicated individuals from carrying

  firearms, even if such a conclusion were assumed, § 134-A(a)(4)

  is broader than those laws.       Section 134-A(a)(4) prohibits

  people from carrying firearms in bars and restaurants that serve

  alcohol.    It includes individuals carrying in those

  establishments regardless of whether they are consuming alcohol.

  The historical laws cited by the State do not reach as far as

  § 134-A(a)(4).     Those laws, therefore, do not show a national

  historical tradition of regulating people from carrying firearms

  in establishments serving alcohol irrespective of whether the

  individual carrying is consuming alcohol.         For that reason,

  reliance on those laws is unpersuasive to support the

  restriction set forth in § 134-A(a)(4).

              The State also relies on a few laws prohibiting people

  from carrying firearms where alcohol is sold.          An 1853 New

  Mexico law, for instance, prohibited people from carrying

  firearms in a “Ball or Fandango” and “room adjoining said ball

  where Liquors are sold . . . .”        [McLean Decl., Exh. 19 (1853

  N.M. Laws 67-69 (An Act Prohibiting the carrying of a certain

  class of Arms, within the Settlements and in Balls)) at § 3).]

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  An 1879 New Orleans city ordinance made it unlawful “for any

  person to carry a dangerous weapon, concealed or otherwise, into

  any . . . tavern . . . .”       [Id., Exh. 20 (1879 New Orleans, La.,

  Gen. Ordinances (Concealed weapons or otherwise in balls or

  theatres), tit. I, ch. 1, art. 1, reprinted in Jewell’s Digest

  of the City Ordinances Together with the Constitutional

  Provisions, Act of the General Assembly and Decisions of the

  Courts Relative to Government of the City of New Orleans

  (Edwin L. Jewell, ed., New Orleans, L. Graham & Son 1882)) at 1-

  2.]   An 1890 Oklahoma law made it unlawful for a person to carry

  a firearm into “any place where intoxicating liquors are

  sold . . . .”     [Id., Exh. 17 (1890 Okla. Sess. Laws. at 495-96,

  ch. 25, art. 47 (Concealed Weapons)) at § 7.14]         These legal

  restrictions focus on the availability or access to alcohol or

  intoxicating liquor (not the consumption) and therefore they are

  comparable to the statute at issue.

              Courts have been cautioned that “the bare existence of

  [some] localized restrictions cannot overcome the overwhelming

  evidence of an otherwise enduring American tradition permitting

  public carry.”     See Bruen, 142 S. Ct. at 2154.       This Court

  therefore does not give much weight to the State’s reliance on



         This Act also prohibited the concealed carrying of
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  firearms in addition to prohibiting carrying firearms in
  sensitive areas such as churches, schools, political
  conventions, public assemblies, and other areas.
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  the 1879 New Orleans city ordinance, which only represents one

  city ordinance and was enacted after the ratification of the

  Fourteenth Amendment.      In assessing the 1853 New Mexico law and

  the 1890 Oklahoma law here, this Court notes Bruen’s warning

  against giving such western territorial laws too much weight

  because, at the time of the 1890 census, “Arizona, Idaho, New

  Mexico, Oklahoma, and Wyoming combined to account for only

  420,000 of [the roughly 62 million people living in the United

  States at the time]—about two-thirds of 1% of the population.”

  See id. (emphases added) (citation omitted).

              This is confounding.     On one hand, Bruen emphasizes

  the need to sift through historical evidence to assess the

  tradition of firearm regulations.         On the other, Bruen seems to

  dismiss any law enacted unless it was done in a state where a

  significant percentage of the people – insofar as they counted

  as living in the United States – resided at the time that the

  Fourteenth Amendment was enacted.15         This is also a curious way

  of evaluating the weight of territorial laws.          Where did the

  people in the territories, other than the native people who were

  not counted in the census, come from?         Some were foreigners but



         For instance, Native Americans were not counted as part
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  of the census until the Census Act of 1879. See Censuses of
  American Indians, U.S. CENSUS BUREAU
  https://www.census.gov/history/www/genealogy/decennial_census_re
  cords/censuses_of_american_indians.html (last visited Aug. 8,
  2023).
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  many were American citizens seeking the opportunity to own land.

  See, e.g., the Homestead Act of 1862, ch. 75, 12 Stat. 392

  (codified at 43 U.S.C. §§ 161–284) (repealed 1976).

              The word “tradition” is defined as “an inherited,

  established, or customary pattern of thought, action, or

  behavior (such as a religious practice or a social custom).”

  Tradition, MERRIAM-WEBSTER.COM, https://www.merriam-

  webster.com/dictionary/tradition (last visited Aug. 8, 2023).

  Should this Court consider territorial laws as reflecting the

  “Nation’s historical tradition” because many of the people who

  moved to the territories came from the states and brought

  traditional thoughts and ways – legal governance, marriage,

  agricultural practices, and the like – and enacted laws in the

  territories reflecting those traditions?         That is, where New

  Mexico, Oklahoma, and New Orleans enacted similar prohibitions,

  does that reflect the national attitude at that time?           Laws

  restricting the carrying of firearms have been described by some

  legal scholars as being “widely enacted” by 1867.          See, e.g.,

  Robert J. Spitzer, Gun Law History in the United States and

  Second Amendment Rights, 80 L. & Contemp. Probs. 55, 63–64

  (2017).    If there is evidence of such laws being widely enacted,

  although in territories rather than states, is the Court

  necessarily compelled to discount these laws because the



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  majority national population resided in the states and not in

  the territories?     Bruen leaves these questions unanswered.

               At this point in the matter before this Court, the

  State has offered few relevant laws and, therefore, this Court

  cannot conclude on the current record that the State has met its

  burden in establishing that § 134-A(a)(4) is consistent with

  this Nation’s historical tradition of gun regulation.           That is,

  the State has failed to show there is a national historical

  tradition of prohibiting individuals from carrying firearms in

  bars and restaurants that serve alcohol and their adjacent

  parking areas.     Accordingly, and based solely on the evidence

  presented at this point, Plaintiffs are likely to succeed on the

  merits of their facial and as-applied challenge to § 134-

  A(a)(4).

        C.     Haw. Rev. Stat. § 134-A(a)(9) –
               Beaches, Parks, and Adjacent Parking Areas

               Plaintiffs request a TRO to enjoin the portions of

  § 134-A(a)(9) that prohibit carrying firearms at any beach,

  park, and adjacent parking area.          See TRO Motion, Mem. in Supp.

  at 19.     The State first argues that the conduct of carrying a

  firearm at beaches and parks is not covered by the plain text of

  the Second Amendment.      See Mem. in Opp. at 10.      The Court

  rejects the State’s argument because beaches and parks in

  Hawai`i are public areas owned by the State.         See, e.g., Haw.


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  Rev. Stat. § 115-1 (“The purpose of this chapter is to guarantee

  the right of public access to the sea, shorelines, and inland

  recreational areas . . . .” (emphasis added)).          Because beaches,

  parks, and their adjacent parking areas are public areas, the

  carrying of firearms in those areas is covered by the plain text

  of the Second Amendment.      The burden shifts to the State to

  offer evidence that § 134-A(a)(9) is consistent with this

  Nation’s historical tradition of gun regulation.

              The State contends that, because it owns public parks

  and beaches, its “role as proprietor weighs in favor of

  upholding a regulation.”      [Mem. in Opp. at 11.]      The State cites

  Nordyke v. King, 681 F.3d 1041 (9th Cir. 2012) (en banc), to

  support its contention, but that case is inapposite.           That case

  concerned an exception to a city ordinance that prohibited the

  carrying and possession of firearms on county property.             See

  Nordyke, 681 F.3d at 1044.       At issue was an exception to the

  general prohibition, which allowed the possession of a firearm

  on country property by an authorized participant of an event

  such as a gun show provided that, when an authorized participant

  was not in actual possession of the firearm, the firearm was

  secured.    See id.   The plaintiffs challenged the exception on

  Second Amendment grounds, but the Ninth Circuit held that the

  ordinance was constitutional because it “regulates the sale of

  firearms at Plaintiffs’ gun shows only minimally, and only on

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  County property.”     Id.   It further held that the plaintiffs

  could not succeed on their claim “no matter what form of

  scrutiny applies to Second Amendment claims.”          Id. at 1045.    The

  Ninth Circuit in Nordyke, however, predates Bruen and thus could

  not apply Bruen’s holding that the Second Amendment protects the

  right to bear arms in public.       This Court therefore cannot apply

  Nordyke’s reasoning to the instant case.

               The State asks this Court to make the distinction

  “‘between the government exercising the power to regulate or

  license, as lawmaker, and the government acting as proprietor,

  to manage its internal operation.’”         [Mem. in Opp. at 11

  (quoting Nordyke, 681 F.3d at 1045 (cleaned up)).]          The State

  makes this distinction to argue that it may regulate conduct on

  its property when it is acting as a proprietor.          See id. at 11

  n.17 (citations omitted).       This distinction in a post-Bruen

  world makes no difference.       What matters at the first step of

  the inquiry is whether the regulated conduct is covered by the

  Second Amendment’s plain text.

               Relevant here, the determinative issue at the first

  step is whether the conduct concerns the public carrying of

  firearms irrespective of the proprietary interest the government

  possesses.    If the government’s capacity to act as a proprietor

  was a determinative factor in the first step of the analysis,

  then the fundamental right of public carry – as expressed fully

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  in Bruen – would be jeopardized.          Indeed, under such a theory,

  an argument could be made that the government possesses the

  unfettered power to restrict public carrying of firearms in many

  – if not most – public places because it has a proprietary

  interest in those areas.      Whether the government acted as a

  proprietor may have been relevant when assessing Second

  Amendment challenges under a means-end scrutiny test, but it has

  no place under the first step of the Bruen analysis.

               Next, the State argues “the nature of public parks and

  beaches clearly demonstrates that they are sensitive locations”

  because “[c]hildren and families congregate at parks and

  beaches” and “[p]arks and beaches often host crowded gatherings,

  like concerts, fairs, competitions, and cultural exhibitions,

  and they are places where important expressive activities

  occur.”    [Mem. in Opp. at 11–12 (footnotes omitted).]         It is

  beyond question that: children and families congregate at

  beaches and parks in Hawai`i; beaches and parks are integral and

  highly valued in Hawaiian culture; and beaches and parks are

  critical components of Hawaii’s economy.          Alas, these

  considerations by themselves do not matter under the Bruen

  analysis.    The Supreme Court recognizes that firearms can be

  prohibited in “sensitive places” consistent with the Second

  Amendment.    See Bruen 142 S. Ct. at 2133 (recognizing undisputed

  lawfulness of prohibitions in places such as legislatures,

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  polling places, courthouse, schools, and government buildings).

  But, for firearms to be prohibited in parks and beaches

  consistent with the Second Amendment, the State must come forth

  with “analogies to those historical regulations of ‘sensitive

  places’” so this Court can “determine [whether] modern

  regulations prohibiting the carry of firearms in new and

  analogous sensitive places are constitutionally permissible.”

  See id. (emphasis in Bruen).       The record is absent of analogies

  to historical “sensitive places” for parks and beaches.

              The State does not provide any evidence that this

  Nation has a historical tradition of regulating or prohibiting

  the carrying of firearms on beaches.        Instead, it appears to

  analogize gun regulations regarding beaches with gun regulations

  regarding parks.     Fair enough, this Court will therefore

  consider the issue of beaches and parks as operating under the

  same analysis.     The State begins with the proposition that

  “[t]here were no modern-style parks in the era of the Second

  Amendment.”    See Mem. in Opp., Expert Decl. of Saul Cornell

  (“Cornell Decl.”) at ¶ 55;16 see also id. at ¶ 56 (“The creation

  of parks as we now know them began in the middle of the

  nineteenth century . . . .”).       Plaintiffs, however, point to



         Saul Cornell is “the Paul and Diane Guenther Chair in
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  American History at Fordham University.” [Cornell Decl. at
  ¶ 3.]


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  reports that the Boston Common, established in 1634, served as a

  site for informal socialization, recreation, sports,

  entertainment, and celebrations.          See TRO Motion, Mem. in Supp.

  at 19 (quoting Anne Beamish, Before Parks: Public Landscapes in

  Seventeenth- and Eighteenth-Century Boston, New York, and

  Philadelphia, 40 Landscape J. 1, 4-6 (2021)).          They further

  argue the City Hall Park in New York City “began as a ‘public

  common’ in the 17th century,” and “New York’s Bowling Green Park

  was established ‘for the Recreation & Delight of the Inhabitants

  of [New York] City’ in 1733.”       Id. at 19–20 (alteration by

  Plaintiffs) (quoting The Earliest New York City Parks, N. Y.

  City Dep’t. of Parks and Recreation, available at

  https://on.nyc.gov/3hBZXfe (last visited June 23, 2022)).

              The question becomes whether parks at the ratification

  of the Second Amendment were sufficiently similar to today’s

  parks.    If so, then an assessment must be made as to whether, at

  the time of the Second Amendment’s ratification, guns were

  regulated in a similar manner as the State’s gun regulation

  concerning parks.     The State appears to argue that parks, as we

  view them today, did not become common place until around 1850

  and, therefore, the relevant historical period to scrutinize in

  determining the historical tradition of gun regulation involving

  parks should begin in 1850.       This Court addresses each scenario;

  namely, it addresses whether there is a historical tradition of

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  gun regulation, at the time of the Second Amendment’s

  ratification, limiting public carry at parks when parks are

  (1) viewed similarly with modern parks or (2) not viewed

  similarly with modern parks.       Under either scenario, however,

  the State fails to meet its burden.

               If, during the time of the Second Amendment’s

  ratification, parks were sufficiently analogous to parks today,

  as Plaintiffs contend, then the State has not proffered evidence

  that there was a historical tradition of prohibiting the

  carrying of firearms in parks.       Plaintiffs have proffered some

  evidence that shows some cities in the 1700’s had some form of a

  public park.     Because the State has not presented any evidence,

  it has not met its burden.       See Koons, 2023 WL 3478604, at *83

  (“Despite the existence of such common lands since the colonial

  period, the State has failed to come forward with any laws from

  the 18th century that prohibited firearms in areas that today

  would be considered parks.”).

               If, during the time of the Second Amendment’s

  ratification, parks were not sufficiently analogous to modern

  parks, as the State argues, then it urges this Court to consider

  the gun laws around the mid-19th century – when parks became

  more akin to modern parks – to determine whether § 134-A(a)(9)

  is consistent with those laws.       The State’s position is

  misplaced.    The test in Bruen does not direct courts to look at

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  when a historical place became akin to the modern place being

  regulated.    Rather, the focus is on “determining whether a

  historical regulation is a proper analogue for a distinctly

  modern firearm regulation” which “requires a determination of

  whether two regulations are relevantly similar.”          See Bruen, 142

  S. Ct. at 2132 (emphases added) (citation and internal quotation

  marks omitted).     The distinction is subtle, yet materially

  significant.     See, e.g., id. at 2133 (“[W]hether modern and

  historical regulations impose a comparable burden on the right

  of armed self-defense and whether that burden is comparably

  justified are central considerations when engaging in an

  analogical inquiry.” (emphasis, citation, and internal quotation

  marks omitted)).

               As such, the inquiry must start with comparing the

  challenged regulation and a historical analogue that is

  relevantly similar, if one exists.          For purposes of the TRO

  Motion, the Court finds that parks around 1791 were not

  comparable to modern parks.       The States’ burden is thus to

  demonstrate a historical tradition of gun regulation prohibiting

  the carrying of firearms in public spaces that were relevantly

  similar to parks.     The State relies on: an 1858 ordinance

  adopted by the Board of Commissioners of New York’s Central Park

  prohibiting people from carrying firearms within the park; an

  1866 ordinance adopted by the Commissioners of Prospect Park in

                                       60

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  the City of Brooklyn with a similar prohibition as the 1858

  ordinance; and an 1868 Pennsylvania law prohibiting people from

  carrying firearms or shooting birds in Fairmount Park in

  Philadelphia.     See McLean Decl., Exhs. 21 (1858 N.Y.C., N.Y. in

  Minutes of Proceedings of the Board of Commissioners of the

  Central Park for the Year ending April 30, 1958, (New York,

  Wm. C. Bryant & Co. 1858)) at 166-68, 22 (1873 Brooklyn, N.Y.,

  Park Ordinances (Ordinance No. 1), reprinted in Annual Reports

  of the Brooklyn Park Commissioners 1861-1873 (1873) at 136,

  art. 1) at § 4, 23 (1868 Pa. Laws 1083-90 (A Supplement to an

  act entitled “An Act appropriating ground for public purposes in

  the City of Philadelphia”), pt. II) at § 21.

              The 1858 and 1866 ordinances were local ordinances,

  not state laws, passed by the respective board of commissioners,

  both within New York.      Local ordinances reflect the citizenry’s

  values in the most basic and essential way.         Moreover, since the

  parks were under local – not state – governance, it is not

  surprising that state laws were silent about permissible conduct

  in the parks.     The two ordinances were enacted by one of the

  most populous states at the time, but the two ordinances reflect

  only New York’s historical tradition of gun regulations.            Taking

  these ordinances into account along with the 1868 Pennsylvania

  law, the State’s evidence establishes that, at the time of the

  Fourteenth Amendment’s ratification in 1868, only about 4% of

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  this Nation had a historical tradition of prohibiting carrying

  firearms in parks. 17     Even if the laws established a tradition

  of regulating carrying firearms in certain parks in Pennsylvania

  and New York, this Court cannot conclude that these laws

  sufficiently establish this Nation’s historical tradition of gun

  regulation in parks by 1868.

              Finally, the State cites numerous local ordinances

  that regulated firearms in parks, but those ordinances are from

  1872 through 1886.      See Mem. in Opp. at 15 (citations omitted).

  Because those local ordinances were passed after the Fourteenth

  Amendment’s ratification in 1868, the Court is constrained in

  considering them as to the Nation’s historical tradition of gun

  regulation at the time of either the Second Amendment’s

  ratification or the Fourteenth Amendment’s ratification.            See

  Bruen, 142 S. Ct. at 2136 (“[W]e must also guard against giving

  postenactment history more weight than it can rightly bear.”).18


        17 The population of the United States was 31,443,321 in
  1860 with New York’s population reported as 3,880,735 and
  Pennsylvania’s population reported as 2,906,215. See U.S. CENSUS
  BUREAU,
  https://www2.census.gov/library/publications/decennial/1900/volu
  me-1/volume-1-p2.pdf (last visited Aug. 8, 2023), at Table VII
  (Population of states and territories, arranged geographically:
  1790 to 1900), pg. xxii.
        18 The Supreme Court in Bruen “avoid[ed] another ongoing

  scholarly debate on whether courts should primarily rely on the
  prevailing understanding of an individual right when the
  Fourteenth Amendment was ratified in 1868 or when the Bill of
  Rights was ratified in 1791.” 142 S. Ct. at 2163 (Barrett, J.,
                                                 (. . . continued)
                                       62

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              The State further contends “[t]here is a robust

  historical tradition of restricting guns in places like parks

  and beaches.”     [Mem. in Opp. at 14.]      It relies on a recent

  District of Maryland case, Maryland Shall Issue, Inc. v.

  Montgomery County, --- F. Supp. 3d ----, Civil Action No. TDC-

  21-1736, 2023 WL 4373260 (D. Md. July 6, 2023),19 to support its

  position.    There, the district court found that the plaintiffs

  were not likely to succeed on the merits of their challenge to a

  Maryland regulation prohibiting the carrying of firearms at

  public parks, recreational facilities, and multipurpose

  exhibition facilities.      See Md. Shall Issue, 2023 WL 4373260, at

  *12.    After reviewing some historical laws, the district court

  concluded that those laws “demonstrate that there is ‘historical

  precedent’ from before, during, and after the ratification of

  the Fourteenth Amendment that ‘evinces a comparable tradition of

  regulation’ of firearms in parks.”          Id. at *11 (quoting Bruen,

  142 S. Ct. at 2131–32).      To the extent that the State relies on

  Maryland Shall Issue to support § 134-A(a)(9)’s restriction on




  concurring) (citation and internal quotation marks omitted).
  Regardless of that debate, the reliance on local ordinances that
  were enacted after the ratification of the Fourteenth Amendment
  cannot sufficiently assist in determining the prevailing
  understanding of the right to bear arms in public at the time of
  ratification.

         An appeal has been filed.
         19                                 Md. Shall Issue, No. 23-1719
  (4th Cir. July 10, 2023).
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  publicly carrying firearms in parks and on beaches, this Court

  respectfully disagrees with that district court’s finding that

  the laws it reviewed demonstrate a national historical tradition

  of prohibiting carrying firearms in parks.

              The district court there relied on the following laws

  and ordinances:

              an 1857 ordinance stating that “[a]ll persons are
              forbidden . . . [t]o carry firearms or to throw
              stones or other missiles” within Central Park in
              New York City, see First Annual Report on the
              Improvement of the Central Park, New York at 106
              (1857); an 1870 law enacted by the Commonwealth
              of Pennsylvania stating that “[n]o persons shall
              carry fire-arms” in Fairmount Park in
              Philadelphia, Pennsylvania, see Acts of Assembly
              Relating to Fairmount Park at 18, § 21.II (1870);
              an 1895 Michigan state law providing that “No
              person shall fire or discharge any gun or pistol
              or carry firearms, or throw stones or other
              missiles” within a park in the City of Detroit,
              see 1895 Mich. Local Acts at 596, § 44; and a
              1905 ordinance in Chicago, Illinois stating that
              “all persons are forbidden to carry firearms or
              to throw stones or other missiles within any of
              the Parks . . . of the City,” 1905 Chi. Revised
              Mun. Code, ch. XLV, art. I, § 1562. Similar
              restrictions were enacted to bar the carrying of
              firearms in (I) Saint Paul, Minnesota, see Annual
              Reports of the City Officers and City Boards of
              the City of Saint Paul at 689 (1888);
              (2) Williamsport, Pennsylvania, see 1891
              Williamsport, Pa. Laws and Ordinances at 141,
              § 1; (3) Wilmington, Delaware, see 1893
              Wilmington, Del. Charter, Part VII, § 7;
              (4) Reading, Pennsylvania, see A Digest of the
              Laws and Ordinances for the Government of the
              Municipal Corporation of the City of Reading,
              Pennsylvania at 240, § 20(8) (1897); (5) Boulder,
              Colorado, see 1899 Boulder, Colo. Revised
              Ordinances at 157, § 511; (6) Trenton, New
              Jersey, see 1903 Trenton, N.J. Charter and

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              Ordinances at 390; (7) Phoenixville,
              Pennsylvania, see A Digest of the Ordinances of
              Town Council of the Borough of Phoenixville at
              135, § 1 (1906); (8) Oakland, California, see
              1909 Oakland, Cal. Gen. Mun. Ordinances at 15,
              § 9; (9) Staunton, Virginia, see 1910 Staunton,
              Va. Code, ch. II, § 135; and (10) Birmingham,
              Alabama, see 1917 Birmingham, Ala. Code,
              ch. XLIV, § 1544.

                   On a state level, in 1905, Minnesota
              prohibited the possession of firearms within
              state parks unless they were unloaded and sealed
              by a park commissioner. 1905 Minn. Laws,
              ch. 344, § 53. In 1917, Wisconsin prohibited
              bringing a “gun or rifle” into any “wild life
              refuge, state park, or state fish hatchery lands”
              unless it was unloaded and in a carrying case.
              1917 Wis. Sess. Laws, ch. 668, § 29.57(4). In
              1921, North Carolina enacted a law prohibiting
              the carrying of firearms in both private and
              public parks without the permission of the owner
              or manager of that park. See 1921 N.C. Sess.
              Laws 53–54, Pub. Laws Extra Sess., ch. 6, §§ 1,
              3.

  Md. Shall Issue, 2023 WL 4373260, at *11 (alterations in Md.

  Shall Issue) (emphases added) (some citations omitted).

              In finding that the cited laws demonstrated a national

  historical tradition of carrying firearms in parks, the district

  court relied on only one local ordinance that was in effect

  prior to the Fourteenth Amendment’s ratification.          The other

  sixteen laws or ordinances were passed after the Fourteenth

  Amendment’s ratification, and nine of those laws were passed in

  the twentieth century.      Of the sixteen laws and ordinances

  passed after the Fourteenth Amendment’s ratification, fifteen of



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  those were passed at least twenty years after the Fourteenth

  Amendment’s ratification.

              Put another way: out of the seventeen laws the

  district court reviewed, only one local ordinance was enacted

  before the Fourteenth Amendment’s ratification and only one

  state law was enacted “during” the time of the Fourteenth

  Amendment’s ratification.20      This Court is not convinced that

  evidence of one local ordinance and one state law is sufficient

  to find that there was a national historical tradition of

  prohibiting the carrying of firearms in parks at the time of the

  Fourteenth Amendment’s ratification.        As to the other fifteen

  laws passed at least twenty years after the Fourteenth

  Amendment’s ratification, this Court is constrained from placing

  too much “weight” on “postenactment history” given Bruen’s

  directive to determine whether the modern prohibition against

  the carrying of firearms has a historical analogue that was

  clearly established at either the Second Amendment’s

  ratification or the Fourteenth Amendment’s ratification.            See

  Bruen, 142 S. Ct. at 2136.




         The 1870 Commonwealth of Pennsylvania law was enacted
        20

  around two years after the Fourteenth Amendment’s ratification,
  but this Court will consider the enactment as “during” the
  Fourteenth Amendment’s ratification for the sake of argument.


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              Additionally, the ten most populated cities reviewed

  by the district court – New York City, Chicago, Philadelphia,

  Detroit, St. Paul, Wilmington, Trenton, Oakland, Birmingham, and

  Williamsport – amounted to roughly 9.3% of the total population

  of the United States in 1900.21       See U.S. CENSUS BUREAU,

  https://www2.census.gov/library/publications/decennial/1900/volu

  me-1/volume-1-p2.pdf (last visited Aug. 8, 2023), at Table XXII

  (Population of cities having 25,000 inhabitants or more in 1900,

  arranged according to population: 1880 to 1900), pgs. lxix–lxx.

  This is certainly more than 4%, but what percentage that must be

  reached to find national representation and whether the general

  population of the United States must be considered when,

  presumably, there were at least some states, cities, or counties

  that did not have parks at the time are inquiries not considered

  in Bruen.    Based on the record before it, this Court cannot find

  that the laws and ordinances cited in Maryland Shall Issue,

  which covered, at most, less than ten percent of the United

  States’ population, are sufficient to restrict this Nation’s

  history and tradition of an individual’s right to carry firearms




         Although some of the ordinances or laws were enacted
        21

  before or after 1900, this Court uses 1900 as a general time
  period to illustrate that these laws and ordinances did not
  reflect the state of the law applicable to the vast majority of
  the Nation.


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  in public.22    The State’s reliance on Maryland Shall Issue is

  therefore unpersuasive.

               The State fails to meet its burden to show that there

  is a national historical tradition prohibiting carrying firearms

  in parks.    Because the State argues beaches are analogous to

  parks to support its restriction on beaches, the State also

  fails to meet its burden showing that there is a national

  historical tradition prohibiting carrying firearms on beaches.

  Finally, the State does not provide any evidence that

  prohibiting carrying firearms in parking areas adjacent to parks

  and beaches is consistent with this Nation’s history and

  tradition of gun regulation.       Accordingly, Plaintiffs are likely

  to succeed on the merits of their facial and as-applied

  challenge to the portions of § 134-A(a)(9) that prohibit

  carrying firearms at beaches, parks, and their adjacent parking

  areas.     See Koons, 2023 WL 3478604, at *85 (“Plaintiffs have

  thus established a reasonable likelihood of success on their

  Second Amendment challenge to Chapter 131’s prohibition on

  handguns at parks, beaches, and recreation areas, as well as the




         This Court is wary about calculating the percentage of
        22

  states’ populations and it does not think comparing percentages
  is dispositive. This Court also does not make a finding as to
  what percentage of the Nation’s population is needed to be under
  similar regulations to find a historical tradition, but less
  than ten percent is likely too low of a percentage to represent
  the Nation’s population as a whole.
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  state regulation banning handguns at state parks.”); Antonyuk,

  2022 WL 16744700, at *67 (similar finding).

        D.    Haw. Rev. Stat. § 134-A(a)(12) – Banks,
              Financial Institutions, and Adjacent Parking Areas

              Plaintiffs also request a TRO to enjoin § 134-A(a)(12)

  in its entirety.     See TRO Motion, Mem. in Supp. at 23.           That

  provision prohibits carrying a firearm on “[t]he premises of any

  bank or financial institution . . . , including adjacent parking

  areas[.]”    Haw. Rev. Stat. § 134-A(a)(12).

              The State argues “banks and financial institutions

  plainly are sensitive locations where carrying firearms may be

  restricted[,]” in part because “[a]s the Hawai`i Bankers

  Association testified during legislative hearings on Act 52,

  ‘the elevated risk of danger in bank crimes that involve

  firearms’ means that ‘it makes good policy sense and is

  appropriate to restrict firearms on bank premises.’”           [Mem. in

  Opp. at 16 (citation omitted).]        Bankers may raise good policy

  concerns related to allowing guns in their businesses, but

  policy concerns like these, by themselves, are irrelevant under

  Bruen when state restrictions on carrying firearms are under

  consideration.     Policy concerns might be relevant insofar as

  they help the government “identify a well-established and

  representative historical analogue” to the regulation at issue.

  Bruen, 142 S. Ct. at 2133 (emphasis omitted).          The State,


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  however, does not argue how these policy concerns negate the

  Second Amendment’s plain text.       As with § 134-A(a)(4) – the

  provision prohibiting carrying firearms in restaurants and bars

  serving alcohol – the plain text of the Second Amendment covers

  carrying firearms in banks because they are held open to the

  public.    See supra Discussion Section III.B.       Thus, insofar as

  banks are held open to the public and do not revoke the general

  license or invitation to enter, they are public places for

  purposes of the Second Amendment.         The onus is on the State to

  rebut the presumption that carrying firearms in banks is

  constitutionally protected conduct.

              In Bruen, the Supreme Court stated:

                   The test that we set forth in Heller and
              apply today requires courts to assess whether
              modern firearms regulations are consistent with
              the Second Amendment’s text and historical
              understanding. In some cases, that inquiry will
              be fairly straightforward. For instance, when a
              challenged regulation addresses a general
              societal problem that has persisted since the
              18th century, the lack of a distinctly similar
              historical regulation addressing that problem is
              relevant evidence that the challenged regulation
              is inconsistent with the Second Amendment. . . .

  142 S. Ct. at 2131 (emphasis added).        Here, the inquiry is

  “fairly straightforward” because banks and firearms existed at

  the time of the Second Amendment’s ratification.          Plaintiffs

  point to a few banks that existed around the time of the

  founding.    See TRO Motion, Mem. in Supp. at 23 (citing Todd


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  Wallack, Which bank is the oldest? Accounts vary, THE BOSTON GLOBE

  (Dec. 20, 2011, 12:00 AM),

  https://www.bostonglobe.com/business/2011/12/20/oldest-bank-

  america-accounts-vary/WAqvIlmipfFhyKsx8bhgAJ/story.html).            The

  State does not challenge Plaintiffs’ contention.          It is likely

  that “the elevated risk of danger in bank crimes that involve

  firearms” has persisted since 1791.         See Mem. in Opp. at 16

  (quotation marks and citation omitted).         The State’s lack of

  evidence regarding regulations prohibiting carrying firearms in

  banks is telling and suggests “that the challenged regulation is

  inconsistent with the Second Amendment.”         See Bruen, 142 S. Ct.

  at 2131.    The State also does not make any argument that this

  Court should analogize to different historical regulations

  because banks at the time of the Second Amendment’s ratification

  are substantially different than modern banks.          Without more,

  the State has not met its burden.

              Despite the existence of banks and firearms at the

  time of the Second Amendment’s ratification, the State urges

  this Court to consider historical evidence that purportedly

  shows a tradition of prohibiting the carrying of firearms in

  fairs and markets.      See Mem. in Opp. at 17 (citations omitted).

  Because the State does not establish that prohibiting the

  carrying of firearms in banks or financial institutions is a

  “modern regulation[] that w[as] unimaginable at the founding,”

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  see Bruen, 142 S. Ct. at 2132, this Court need not consider

  whether § 134-A(a)(12) is “relevantly similar” to a historical

  analogue, see id. (quotation marks and citation omitted).            Yet,

  for the sake of completeness, this Court addresses the State’s

  reliance on historical regulations that it contends is

  relevantly similar to § 134-A(a)(12).

              The State cites a case from the Southern District of

  New York, Frey, 2023 WL 2473375, to support its position that

  there is “a long historical tradition of prohibiting firearms in

  sensitive commercial centers.”       See Mem. in Opp. at 17.

  Relevant to the State’s reliance on Frey, the district court

  there considered whether a regulation prohibiting carrying

  firearms in the Time Square area was constitutional under the

  Second Amendment.     See 2023 WL 2473375, at *16–17.       In finding

  that the plaintiffs did not establish a substantial likelihood

  of success on the merits to challenge the regulation, the

  district court relied in part on a 1786 Virginia law and a 1792

  North Carolina law which “contain[ed] a ‘fairs’ and ‘markets’

  prohibition . . . .”      See id. at *16.    The district court noted

  that it was persuaded with the defendants’ argument that the

  regulation was “in line with the historical tradition of banning

  firearms in locations where large groups of people congregated

  for commercial, social, and cultural activities.”          Id. at *17

  (emphasis added).

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              Here, the State likewise depends on the 1786 Virginia

  law and the 1792 North Carolina law.        See Mem. in Opp. at 17.

  It appears, then, that the State contends banks and financial

  institutions are relevantly similar to large gathering places

  like fairs, markets, or Time Square.23        This Court finds that the

  State fails to establish such an analogue.         The State does not

  argue or show that there is a feature that sufficiently connects

  banks to fairs or markets.       Unlike in Frey, where the district

  court found that Time Square was similarly relevant to

  historical fairs and markets because of the large congregation

  of people, here banks are not likely to be so congested or

  heavily congregated such that they are akin to a place like Time

  Square.    If they are similar in that regard, the State fails to

  establish the similarity.       The State instead asks this Court to

  take its word for it.      This Court cannot do so.

              In addition, the State fails to make any showing that

  similar prohibitions in adjacent parking areas are consistent

  with this Nation’s historical tradition of gun regulation.

  Because the State has failed to show that § 134-A(a)(12) is

  consistent with this Nation’s historical tradition of gun




         The State also cites to a string of laws from the 1800s
        23

  that prohibited carrying firearms in social gatherings, see Mem.
  in Opp. at 18 n.31, but those laws are unavailing for a
  substantially similar reason as the 1786 Virginia law and the
  1792 North Carolina law.
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  regulation, Plaintiffs have a likelihood of success on the

  merits of their facial and as-applied challenge to § 134-

  A(a)(12).

          E.   Haw. Rev. Stat. § 134-E – Private
               Property and Express Authorization

               Plaintiffs’ final request is a TRO to enjoin § 134-E

  because, as they argue, it violates the Second Amendment right

  to carry firearms in public, and the portion of § 134-E

  requiring private property owners to give express authorization

  to carry on their property violates the First Amendment.             See

  TRO Motion, Mem. in Supp. at 14–18.         This Court turns first to

  Plaintiffs’ Second Amendment challenge.

                    1.    Second Amendment Challenge

               The State contends the conduct that § 134-E regulates

  – i.e., carrying a firearm on private property without express

  authorization – is not covered by the Second Amendment’s plain

  text.    See Mem. in Opp. at 19.     Plaintiffs argue § 134-E “enacts

  . . . a presumption against carrying firearms in property open

  to the public.”     [TRO Motion, Mem. in Supp. at 15.]        The parties

  are both correct to a certain extent.        Section 134-E regulates

  carrying firearms on private properties that are, at least

  sometimes, held open to the public, such as some “commercial,

  industrial, agricultural, institutional, or undeveloped

  propert[ies] . . . .”      See Haw. Rev. Stat. § 134-E(c).          To the


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  extent that § 134-E regulates private properties held open to

  the public, it is covered by the Second Amendment’s plain text.

  See supra Discussion Sections III.B., III.D.         The portion of

  § 134-E that regulates private property not held open to the

  public – e.g., residential properties – is not covered by the

  Second Amendment’s plain text.

              The State argues “HRS § 134-E does no more than

  vindicate the traditional right to exclude by preventing

  Plaintiffs from carrying firearms onto private property absent

  the owner’s consent.”      [Mem. in Opp. at 20.]     But, § 134-E is

  not needed to “vindicate the traditional right to exclude,” see

  id. (emphasis added), because since the time of the founding,

  “[o]ur law holds the property of every man so sacred, that no

  man can set his foot upon his neighbor’s close without his

  neighbor’s leave,” see Florida v. Jardines, 569 U.S. 1, 8 (2013)

  (quotation marks and citation omitted).         The State asserts “the

  Second Amendment does not include a right to carry guns on

  others’ property without their consent,” see Mem. in Opp. at 19

  (emphasis in original), but that is inaccurate.          The Second

  Amendment guarantees a right to carry a firearm in public, which

  includes private properties held open to the public so long as

  those places are not sensitive areas as evidenced by this

  Nation’s historical tradition.       If an owner of a private

  property that is held open to the public revokes a general

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  license or invitation, then the property is no longer held open

  to the public and, therefore, the right to carry on that

  property is not presumptively protected under the Second

  Amendment.    Similarly, because the Second Amendment concerns the

  public carrying of firearms, it is silent as to private property

  not held open to the public.

               In other words, and contrary to the State’s assertion,

  the Second Amendment does grant a presumptive right to carry on

  some private property, insofar as the private property is held

  open to the public.      That presumption can change, for instance,

  if an owner of the private property rescinds a general license

  or invitation to enter the property: such as limiting entrance

  to members or prohibiting certain attire.         There is no conflict

  between the two rights – the right to bear arms and the right to

  exclude others from one’s property – both of which preexisted

  the ratification of the Bill of Rights.         See, e.g., Bruen, 142

  S. Ct. at 2142 (“[B]y the time of the founding, the right to

  keep and bear arms was understood to be an individual right

  protecting against both public and private violence.” (citation

  and internal quotation marks omitted)); Jardines, 569 U.S. at 7–

  8.

               What § 134-E does, and what cannot be constitutionally

  permitted, is remove the presumption of the right to carry a

  firearm on private property held open to the public.           Under

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  § 134-E, conduct that was presumptively protected under the

  Second Amendment is now presumptively not protected.           Such a

  change runs afoul of the Second Amendment’s “guarantee[] to all

  Americans [of] the right to bear commonly used arms in public

  subject to certain reasonable, well-defined restrictions.”            See

  Bruen, 142 S. Ct. at 2156 (citation and internal quotation marks

  omitted).

              The State argues “[t]here is extensive historical

  support for prohibitions on carriage on private property without

  consent, and for governmental regulation of this conduct.”

  [Mem. in Opp. at 21.]      In support of its contention, the State

  cites three laws from the mid- to late-19th century:

  -an 1865 Louisiana law prohibiting “any person or persons to
       carry fire-arms on the premises or plantations of any
       citizen, without the consent of the owner or proprietor”;
       [id., Exh. 43 (1865 La. Acts 14-16 (An Act To prohibit the
       carrying of fire-arms on premises or plantations of any
       citizen, without the consent of the owner), no. 10), § 1;]

  -an 1866 Texas law prohibiting “for any person or person to
       carry fire-arms on the enclosed premises or plantation of
       any citizen, without the consent of the owner or
       proprietor”; [id., Exh. 44 (1866 Tex. Gen. Laws 90 (An Act
       to prohibit the carrying of Fire-Arms on premises or
       plantations of any citizens without the consent of the
       owner), ch. 92) at § 1;] and

  -an 1893 Oregon law prohibiting “any person, other than an
       officer on lawful business, being armed with a gun, pistol,
       or other firearm, to go or trespass upon any enclosed
       premises or lands without the consent of the owner or
       possessor thereof,” [id., Exh. 45 (1893 Or. Laws 79 (An Act
       To Prevent a Person from Trespassing upon any Enclosed
       Premises or Lands not His Own Being Armed with a Gun,


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        Pistol, or other Firearm, and to Prevent Shooting upon or
        from the Public Highway)) at § 1].

              The State also cites to five laws from the 1700’s:

  -a 1715 Maryland law that was passed “to prevent the abusing,
       hurting or worrying of any stock of hogs, cattle or horses,
       with dogs, or otherwise,” and prohibited “any person . . .
       that ha[s] been convicted of any of the crimes aforesaid,
       or other crimes, . . . that shall shoot, kill or hunt, or
       be seen to carry a gun, upon any person’s land, whereon
       there shall be a seated plantation, without the owner’s
       leave . . . .”; [id., Exh. 38 (1715 Md. Laws 88-91 (An Act
       for the speedy trial of criminals, and ascertaining their
       punishment in the county courts when prosecuted there, and
       for payment of fees due from criminal persons), ch. 26) at
       § VII;]

  -a 1721 Pennsylvania law prohibiting “any person or persons”
       from “carry[ing] any gun or hunt[ing] on the improved or
       inclosed lands of any plantation other than his own, unless
       he have license or permission from the owner . . . .”;
       [id.; Exh. 39 (1721 Pa. Laws, ch. 246, (An Act to prevent
       the killing of deer out of season, and against carrying of
       guns or hunting by persons not qualified)) at § III,
       reprinted in 3 James T. Mitchell & Henry Flanders, The
       Statutes at Large of Pennsylvania from 1682 to 1801 (Pa.,
       Clarence M. Busch, 1896);]

  -a 1722 New Jersey law prohibiting “any Person or Persons” from
       “carry[ing] any Gun, or Hunt[ing] on the Improved or
       Inclosed Lands in any Plantation, and on other than his
       own, unless he have Lisence or Permission from the
       owner . . . .”; [id.; Exh. 40 (1722 N.J. Laws 141-42 (An
       Act to prevent the Killing of Deer out of Season, and
       against Carrying of Guns and Hunting by Persons not
       qualified) at 141;]

  -a 1763 New York law prohibiting “any Person or Persons
       whatsoever, other than the Owner, Proprietor, or Possessor”
       from “carry[ing], shoot[ing], or discharg[ing] any Musket,
       Fowling-Piece, or other Fire-Arm whatsoever, into, upon, or
       through any Orchard, Garden, Corn-Field, or other inclosed
       Land, whatsoever, within the City of New York . . . without
       License in Writing first had and obtained for that Purpose
       from such Owner, Proprietor, or Possessor . . . .”; [id.,
       Exh. 41 (1763 N.Y. Laws, ch. 1233 (An Act to prevent

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        hunting with Fire-Arms in the City of New York, and the
        Liberties Thereof)) at § 1, reprinted in 1 Laws of New-York
        from The Year 1691, to 1773 Inclusive 441-42 (N.Y., Hugh
        Gaine 1774);] and

  -a 1771 New Jersey law prohibiting “any Person or Persons” from
       “carry[ing] any Gun on any Lands not his own, and for which
       the Owner pays Taxes, or is in his lawful possession,
       unless he hath License or Permission in Writing from the
       Owner or Owners or legal Possessors . . . . ,” [id.,
       Exh. 42 (1771 N.J. Laws 343-347, ch. 540 (An Act for the
       Preservation of Deer and other Game, and to prevent
       trespassing with Guns)) at § 1)].

              These eight laws do not support the State’s contention

  that this Nation has a historical tradition of prohibiting the

  carrying of firearms on private property held open to the

  public.    Those laws concern prohibiting carrying firearms on

  enclosed premises or plantations.         The definitions of the

  relevant words in those laws are helpful in establishing that

  the laws concerned private property like residential lands,

  which were not generally held open to the public.          The word

  “enclose” means “[t]o surround or encompass; to fence or hem in

  all sides.”    Enclose, BLACK’S LAW DICTIONARY (11th ed. 2019).       In

  relation to land, “enclosed land” means “[l]and that is actually

  enclosed and surrounded with fences.”         Land, BLACK’S LAW DICTIONARY

  (11th ed. 2019).     Moreover, the word “plantation” means “[a]n

  estate or large farm . . . .”       Plantation, OXFORD ENGLISH DICTIONARY

  (3d ed. Revised June 2006).       Because those eight laws prohibited

  carrying firearms on private property that consisted of fenced

  off lands or estates, the laws did not likely concern private

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  property that was generally held open to the public.

  Accordingly, the conduct regulated in those laws are not covered

  by the Second Amendment’s plain text.

              The only law out of those eight laws that does not use

  the words “enclosed,” “inclosed,” or “plantation,” is the 1771

  New Jersey law which prohibited persons from carrying firearms

  on “any [l]ands” not their own.        See McLean Decl., Exh. 42.

  Even assuming this meant any private property regardless of

  whether it was held open to the public, one New Jersey law does

  not show that such a law was “representative” of the laws

  applicable throughout the Nation.         See Bruen, 142 S. Ct. at

  2133.    The State’s reliance on these laws is therefore

  unpersuasive.     The State has not established that the portion of

  § 134-E that prohibits carrying firearms on private property

  held open to the public is consistent with this Nation’s

  historical tradition of gun regulation.         Because the State has

  not met its burden, Plaintiffs are likely to succeed on the

  merits of their challenge to § 134-E to the extent that § 134-E

  prohibits carrying firearms on private property held open to the

  public.    Plaintiffs are not likely to succeed on the merits of

  their challenge to § 134-E to the extent that § 134-E prohibits

  carrying firearms on private properly not held open to the

  public.    Plaintiffs’ facial challenge is therefore unlikely to



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  succeed, but their as-applied challenge regarding private

  property held open to the public is likely to succeed.

                    2.     First Amendment Challenge

              Plaintiffs next contend § 134-E(b) requires them to

  engage in compelled speech in violation of the First Amendment.

  See TRO Motion, Mem. in Supp. at 18–19.         Section 134-E prohibits

  carrying firearms on private property unless the property owner

  gives “express authorization.”       Haw. Rev. Stat. § 134-E(b).

  Plaintiffs argue § 134-E “requires property owners and lessees

  to espouse a belief one way or the other on the carriage of

  firearms outside the home by requiring them to expressly consent

  or post a sign.”       [TRO Motion, Mem. in Supp. at 19.]      Plaintiffs

  are mistaken.

              “The First Amendment, applicable to the States through

  the Fourteenth Amendment, prohibits laws that abridge the

  freedom of speech.”      Nat’l Inst. of Fam. & Life Advocs. v.

  Becerra, 138 S. Ct. 2361, 2371 (2018).         This includes laws that

  “compel[] individuals to speak a particular message” so as to

  “alter the content of their speech.”        See id. (brackets,

  quotation marks, and citations omitted).         Compelled-speech

  violations “result[] from the fact that the complaining

  speaker’s own message [is] affected by the speech it [is] forced

  to accommodate.”       See Rumsfeld v. F. for Acad. & Institutional

  Rts., Inc., 547 U.S. 47, 63 (2006) (emphasis added).

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              Here, Plaintiffs’, and particularly Kasprzycki’s,

  message is not affected by any speech they are forced to

  accommodate.     Kasprzycki is not forced to speak at all.          If he

  chooses to allow clients to carry firearms on his business’s

  property, then he may do so.       He determines whether he wants to

  give express authorization.       He is not required to say anything.

  There is no coercion.      There is no specific message Plaintiffs

  must speak.    Therefore, § 134-E does not regulate speech within

  the scope of the First Amendment.         Plaintiffs are not likely to

  succeed on the merits of their facial and as-applied challenge

  to § 134-E on the ground that it compels speech in violation of

  the First Amendment.

  IV.   Irreparable Harm

              “A plaintiff seeking preliminary relief must

  ‘demonstrate that irreparable injury is likely in the absence of

  an injunction.’”     California v. Azar, 911 F.3d 558, 581 (9th

  Cir. 2018) (quoting Winter v. Nat. Res. Def. Council, Inc., 555

  U.S. 7, 22, 129 S. Ct. 365 (2008) (emphasis omitted)).

  “Irreparable harm is traditionally defined as harm for which

  there is no adequate legal remedy, such as an award of damages.”

  Ariz. Dream Act Coal. v. Brewer, 757 F.3d 1053, 1068 (9th Cir.

  2014) (citation omitted).       The Ninth Circuit “has ruled that

  speculative injury does not constitute irreparable injury

  sufficient to warrant granting a preliminary injunction.             A

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  plaintiff must do more than merely allege imminent harm

  sufficient to establish standing; a plaintiff must demonstrate

  immediate threatened injury as a prerequisite to preliminary

  injunctive relief.”      Boardman v. Pac. Seafood Grp., 822 F.3d

  1011, 1022 (9th Cir. 2016) (emphasis in Boardman) (brackets,

  citation, and internal quotation marks omitted).          “A threat of

  irreparable harm is sufficiently immediate to warrant

  preliminary injunctive relief if the plaintiff is likely to

  suffer irreparable harm before a decision on the merits can be

  rendered.”    Id. at 1023 (citing Winter, 555 U.S. at 22, 129 S.

  Ct. 365 (quoting 11A Charles A. Wright & Arthur R. Miller,

  Federal Practice and Procedure § 2948.1 (2d ed. 1995))).

               Plaintiffs argue they will face irreparable harm per

  se because their constitutional rights have been violated.            See

  TRO Motion, Mem. in Supp. at 24.          The Court finds that

  Plaintiffs have sufficiently established they will likely face

  immediate irreparable harm.       “It is well established that the

  deprivation of constitutional rights ‘unquestionably constitutes

  irreparable injury.’”      Melendres v. Arpaio, 695 F.3d 990, 1002

  (9th Cir. 2012) (quoting Elrod v. Burns, 427 U.S. 347, 373, 96

  S. Ct. 2673, 49 L. Ed. 2d 547 (1976)).         The Ninth Circuit does

  “not require a strong showing of irreparable harm for

  constitutional injuries.”       Cuviello v. City of Vallejo, 944 F.3d

  816, 833 (9th Cir. 2019).

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              Neither the Supreme Court nor the Ninth Circuit have

  addressed whether a violation of the Second Amendment

  “unquestionably constitutes irreparable injury.”          See Melendres,

  695 F.3d at 1002 (quotation marks and citation omitted).             In

  Elrod, the Supreme Court held that “[t]he loss of First

  Amendment freedoms, for even minimal periods of time,

  unquestionably constitutes irreparable injury.”          427 U.S. at 373

  (citation omitted).      The Ninth Circuit in Melendres applied the

  same principle to violations of the Fourth Amendment’s

  protection against unreasonable searches and seizures.              See 695

  F.3d at 1002.     So has the Ninth Circuit for violations of the

  Fifth Amendment’s Due Process Clause.        See Hernandez v.

  Sessions, 872 F.3d 979, 994–95 (9th Cir. 2017).          A court in this

  district also applied the same principle to violations of the

  Fifth Amendment’s Takings Clause, made applicable to the State

  by the Fourteenth Amendment.       See Haw. Legal Short-Term All. v.

  City and Cnty. of Honolulu, Case No. 22-cv-247-DKW-RT, 2022 WL

  7471692, at *11 (D. Hawai`i Oct. 13, 2022).

              This Court finds no reason not to apply the principle

  relied on in Elrod, Melendres, Hernandez, and Hawai`i Legal to

  violations of the Second Amendment because “[t]he constitutional

  right to bear arms in public for self-defense is not a second-

  class right, subject to an entirely different body of rules than

  the other Bill of Rights guarantees.”        See Bruen, 142 S. Ct. at

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  2156 (citation and internal quotation marks omitted).           To the

  extent that this Court finds that Plaintiffs are likely to

  succeed on the merits on some of their challenges, this Court

  also finds that they will likely face irreparable harm for the

  probable violation of their Second Amendment rights.

              Additionally, Plaintiffs sufficiently establish that

  the irreparable harm is immediate because they intend to

  continue to carry their firearms in accordance with their

  permits in places where carrying firearms are now prohibited.

  They are therefore likely to be in violation of the challenged

  provisions now that they are in effect, and will likely face

  criminal penalties.

              The State contends that a finding of immediate

  irreparable harm is unwarranted because Plaintiffs purportedly

  delayed in filing their TRO Motion.         See Mem. in Opp. at 24.

  Specifically, the State asserts Plaintiffs delayed because they

  did not file their action until three weeks after Governor Green

  signed the Act into law.      Plaintiffs state they did not delay

  because they filed their action eight days before the challenged

  provisions became effective.       See Reply at 15.

              It is generally recognized that a “long delay
              before seeking a preliminary injunction implies a
              lack of urgency and irreparable harm,” Oakland
              Tribune, Inc. v. Chronicle Publishing Co., 762
              F.2d 1374, 1377 (9th Cir. 1985), but “[d]elay by
              itself is not a determinative factor in whether
              the grant of interim relief is just and proper.”

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              Aguayo ex rel. N.L.R.B. v. Tomco Carburetor Co.,
              853 F.2d 744, 750 (9th Cir. 1988). “Usually,
              delay is but a single factor to consider in
              evaluating irreparable injury”; indeed, “courts
              are loath to withhold relief solely on that
              ground.” Arc of Cal. v. Douglas, 757 F.3d 975,
              (9th Cir. 2014) (emphasis added) (quoting Lydo
              Enters., Inc. v. City of Las Vegas, 745 F.2d
              1211, 1214 (9th Cir. 1984)).

  Cuviello, 944 F.3d at 833 (alteration and emphasis in Cuviello).

  Filing before the challenged provisions became effective is not

  likely to result in an unreasonable delay.         But, even assuming

  that Plaintiffs delayed to a certain extent in bringing the TRO

  Motion, in light of the likelihood of success on the merits and

  the likelihood of immediate irreparable harm, this Court

  declines to withhold relief on that basis only.          Thus,

  Plaintiffs have shown that they will likely face immediate

  irreparable harm.

  V.    Balancing of the Equities and Public Interest

              “Generally, public interest concerns are implicated

  when a constitutional right has been violated, because all

  citizens have a stake in upholding the Constitution.”            Preminger

  v. Principi, 422 F.3d 815, 826 (9th Cir. 2005) (citation

  omitted); see also Melendres, 695 F.3d at 1002 (“[I]t is always

  in the public interest to prevent the violation of a party’s

  constitutional rights.” (quotation marks and citation omitted)).

              The State argues the interest in protecting public

  safety strongly weighs against issuing a TRO because of the

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  dangers and safety concerns associated with firearms.           See Mem.

  in Opp. at 25.     In their Reply, Plaintiffs rely on an amicus

  brief submitted by Amici Gun Owners of America, Inc., Second

  Amendment Law Center, Hawaii Rifle Association, California Rifle

  & Pistol Association, Inc., Gun Owners of California, and Gun

  Owners Foundation to rebut the safety issues the State raises.24

  See Reply at 15; see also the GOA Amici’s amicus brief in

  support of Plaintiffs’ TRO Motion, filed 7/14/23 (dkt. no. 53)

  (“GOA Amicus Brief”).      According to the GOA Amicus Brief, the

  vast majority of individuals in the United States with concealed

  carry permits are law-abiding.       See GOA Amicus Brief at 20–25

  (discussing the statistics of people with concealed carry

  permits to support the proposition that people with concealed

  carry permits are significantly less likely to commit gun-

  related crimes).     Although the State raises important safety

  concerns, it fails to demonstrate that the public safety

  concerns overcome the public’s interest in preventing

  constitutional violations.

              This is particularly relevant for this analysis

  because the challenged provisions only affect those individuals

  who have been granted a permit to carry firearms, either openly

  or concealed.     See, e.g., Haw. Rev. Stat. § 134-A(a) (stating



         For the sake of simplicity, this Court refers to this
        24

  group of Amici as “the GOA Amici.”
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  that the statute, including the twelve enumerated sensitive

  areas, apply to “[a] person with a license issued under

  section 134-9, or authorized to carry a firearm in accordance

  with title 18 United States Code section 926B or 926C . . . .”);

  see also Haw. Rev. Stat. § 134-9 (listing the requirements an

  applicant must meet to be issued a carry permit, which is

  granted by the chief of police of a county).         Further,

  Plaintiffs allege that, prior to Bruen, the counties within the

  State “had only issued less than a half-dozen carry concealed

  permits in the prior decades[.]”          [Complaint at ¶ 28 (citing

  Young v. County of Hawaii, 142 S. Ct. 2895).]          As such, the

  challenged provisions only impact a substantially small subset

  of gun owners and, thus, the State’s public safety argument is

  not persuasive.     Although it is possible post-Bruen that more

  conceal carry permits are eventually issued in Hawai`i, that

  alone does not negate Plaintiffs’ position that the vast

  majority of conceal carry permit holders are law-abiding.            See,

  e.g., GOA Amicus Brief at 21–22 (stating that Texas in 2020 had

  1,4441 convictions for aggravated assault with a deadly weapon

  but only four of those convictions were people with valid

  concealed carry permits – roughly 0.278% of the total).

              Based on the foregoing, this Court finds that the

  balance of the equities and the public interest weigh in favor

  of issuing a TRO.     The public has an interest in preventing

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  constitutional violations, and the State has not established a

  factual basis for the public safety concerns regarding permit-

  carrying gun-owners who wish to exercise their Second Amendment

  right to carry a firearm in public.

  VI.   Summary of this Court’s Ruling

               Plaintiffs have established a substantial likelihood

  of success on the merits of their: as-applied challenge to

  § 134-A(a)(1); facial and as-applied challenges to §§ 134-

  A(a)(4), (a)(12), and the portions of § 134-A(a)(9) prohibiting

  the carrying of firearms in beaches, parks, and their adjacent

  parking areas; and as-applied challenge to § 134-E on the ground

  that it violates the Second Amendment, applicable to the State

  through the Fourteenth Amendment.         For these challenges,

  Plaintiffs have also sufficiently established that they will

  face immediate irreparable harm and that the public interest and

  the balancing of the equities weigh in favor of issuing a TRO.

  Accordingly, the TRO Motion is granted in part, to the extent

  that these challenged provisions (or challenged portions of the

  respective provisions) are enjoined.

               Conversely, insofar as Plaintiffs have abandoned their

  facial challenge to § 134-A(a)(1), they have not established a

  substantial likelihood of success on the merits of that

  challenge.    Plaintiffs also have not established a substantial

  likelihood of success on the merits of their: facial challenge

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  to § 134-E on the ground that it violates the Second Amendment,

  applicable to the State through the Fourteenth Amendment; and

  facial and as-applied challenge to § 134-E on the ground that it

  violates the First Amendment, applicable to the State through

  the Fourteenth Amendment.       Because Plaintiffs fail to establish

  a substantial likelihood of success on the merits of these

  challenges, Plaintiffs’ TRO Motion is denied as to those

  challenges.

              This Court notes, however, that these rulings could be

  changed at the preliminary injunction stage because the State

  may be able to proffer adequate evidence to meet its burden as

  to any of the challenges.       Thus, it is important to understand

  that the State’s failure to provide sufficient evidence as to

  some of the challenges at this stage is not necessarily fatal at

  the preliminary injunction stage, assuming the State is able to

  provide more evidence to meet its burden under Heller and Bruen.

                                  CONCLUSION

              For the foregoing reasons, Plaintiffs’ Motion for

  Temporary Restraining Order and Preliminary Injunction,25 filed

  June 23, 2023, is HEREBY GRANTED IN PART AND DENIED IN PART.

  The TRO Motion is GRANTED to the extent that the following

  provisions are enjoined:



         Again, this Order only addresses the portion of the
        25

  motion seeking a TRO.
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  -the portions of § 134-A(a)(1) that prohibit carrying firearms
       in parking areas owned, leased, or used by the State or a
       county which share the parking area with non-governmental
       entities, are not reserved for State or county employees,
       or do not exclusively serve the State or county building;

  -the entirety of §§ 134-A(a)(4) and (a)(12);

  -the portions of § 134-A(a)(9) prohibiting the carrying of
       firearms in beaches, parks, and their adjacent parking
       areas; and

  -the portion of § 134-E that prohibits carrying firearms on
       private properties held open to the public.

  The TRO Motion is DENIED in all other respects.

              IT IS SO ORDERED.

              DATED AT HONOLULU, HAWAII, August 8, 2023.




  JASON WOLFORD, ET AL. VS. ANNE E. LOPEZ, ETC.; CV 23-00265 LEK-
  WRP; ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFFS’
  MOTION FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY
  INJUNCTION




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 1                  IN THE UNITED STATES DISTRICT COURT

 2                      FOR THE DISTRICT OF HAWAII

 3
     JASON WOLFORD, et al.,          )    CV 23-00265 LEK-WRP
 4                                   )
              Plaintiffs,            )
 5                                   )    Honolulu, Hawaii
      vs.                            )    July 28, 2023
 6                                   )
     ANNE E. LOPEZ, et al.,          )    [7]PLAINTIFFS' MOTION FOR
 7                                   )    TEMPORARY RESTRAINING ORDER
              Defendants.            )    AND PRELIMINARY INJUNCTION
 8                                   )

 9
                       TRANSCRIPT OF PROCEEDINGS
10             BEFORE THE HONORABLE LESLIE E. KOBAYASHI
                      UNITED STATES DISTRICT JUDGE
11
     APPEARANCES:
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25




                       UNITED STATES DISTRICT COURT
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                                                                      2


 1   APPEARANCES CONTINUED:

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21   Official Court Reporter:   Debra Read, RDR
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24
     Proceedings recorded by machine shorthand, transcript produced
25   with computer-aided transcription (CAT).




                      UNITED STATES DISTRICT COURT
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                                                                            3


 1    FRIDAY, JULY 28, 2023                                    10:32 A.M.

 2                THE COURTROOM MANAGER:     I'll go ahead and bring the

 3   public in, do a few public reminders, and then call in the

 4   judge.

 5            If you're an observer on the call, please keep your line

 6   muted at all times.      All hearings are strictly prohibited from

 7   being recorded or broadcast, in whole or in part, in any

 8   fashion.

 9            If you're joining in from the public line, please ensure

10   that your line is muted.      My understanding is that you can all

11   hear your own conversations on the line, but you can't as well,

12   as the proceeding, so if you could mute yourself, that would be

13   great to assist with other people who are listening in on the

14   call.

15            Let's see.   When addressing the Court, please make sure

16   that you unmute yourself.      When you're not addressing the

17   Court, please mute yourself during that progress.

18            All right?   Thank you.    One moment, I'll call the judge.

19            Hi, Your Honor.   Can you hear me?

20                THE COURT:    I can.   You may go ahead and call the

21   case.    Thank you.

22                THE COURTROOM MANAGER:     Thank you.

23            The United States District Court for the District of

24   Hawaii with the Honorable Leslie E. Kobayashi, United States

25   District Judge presiding, is now in session.




                           UNITED STATES DISTRICT COURT
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                                                                          4


 1          Civil No. 23-00265 LEK-WRP, Jason Wolford, et al., versus

 2   Anne E. Lopez.

 3          This matter is set for -- on a plaintiffs' motion for

 4   TRO.

 5          Counsel, please make your appearances for the record,

 6   starting with plaintiffs' counsel.

 7              MR. BECK:    Alan Beck for the plaintiffs, Your Honor.

 8   Good morning.

 9              THE COURT:     Good morning, Mr. Beck.

10          Mr. O'Grady.

11              MR. O'GRADY:     Good morning, Your Honor.

12          Kevin O'Grady on behalf of the plaintiffs.

13              THE COURT:     All right.    And on behalf of the State

14   of Hawaii and Attorney General Lopez?

15              MS. FERNANDES:    Good morning, Your Honor.

16          Kaliko'onalani Fernandes, Solicitor General, for

17   defendant Anne Lopez.

18          I have with me here today Nicholas McLean, First Deputy

19   Solicitor General, and Mary McCord, Ben Gifford, and Dana

20   Raphael, Special Deputy Attorneys General.      Mr. Gifford will be

21   handling today's argument.

22              THE COURT:     All right.    Well, good morning to all of

23   you, and thank you for designating and letting me know that

24   Mr. Gifford will be addressing the oral argument.

25          So we'll first start, of course, with counsel for




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 1   Mr. Wolford.    I did want to assure all counsel that, you know,

 2   we have looked closely at Bruen and its -- you know, it's prior

 3   Supreme Court cases with regard to the Second Amendment, so I'd

 4   like to assure you that you don't need to go into the framework

 5   with regard to the analysis.

 6            And if you could address the specifics, with regard to

 7   Mr. Wolford's counsel, I particularly have a few questions, and

 8   I'll start with the parking areas adjacent to buildings or

 9   offices owned, leased, or used by the state or county, and

10   adjacent grounds and parking areas.

11            So my question is directed with regard to an

12   acknowledgement that the buildings that they're adjacent to are

13   sensitive places.    The Supreme Court has recognized that.   They

14   haven't told us why or what the analysis is for sensitive

15   places, but have merely stated it.

16            And so what we're talking about these adjacent areas, my

17   question is -- and I'm happy to hear your other arguments with

18   regard to it -- but specifically are these adjacent parking

19   areas akin to curtilage under a Fourth Amendment analysis?     Is

20   it an extension of a sensitive place?    And if so, whose burden

21   is it?

22            Does the State even have to come forth with any argument

23   because assuming court's already informed us that the buildings

24   themselves are sensitive places and these are adjacent and

25   therefore an extension of that?    Or, do I look at, for




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 1   instance, United States v. Dunn, a Supreme Court case talking

 2   about the four factors of the curtilage question:     One,

 3   proximity of the area claimed to be curtilage; two, whether

 4   there is included in an closure surrounding the home; three,

 5   the nature of the uses to which the area's put; and, four,

 6   steps taken by the resident to protect the area from

 7   observation by people passing by?     Clearly they're all on

 8   point, the four factors, but some concept like that.

 9         I do note like the state capital, the adjacent parking

10   areas are actually within the footprint, you know, of the

11   capital, and yet you have something like where city hall is

12   where there's a walkway that connects the parking areas.

13         So if you could address that with regard to the parking

14   areas, and then I have a couple other areas I'd like you to

15   address, but then I'm sure you have other arguments to make.

16         So who will be arguing on behalf of Mr. Wolford?       All

17   right, Mr. Beck, please.

18              MR. BECK:    Good morning, Your Honor.

19         As a additional matter, I'd like to clarify our -- what

20   we're challenging today in regards to parking lots and

21   government buildings.

22              THE COURT:    Okay.

23              MR. BECK:    We -- we have specific locations, for

24   example, KT Flemming Beach.      And just an additional matter, I

25   am not that familiar with Maui, so I want to just say that in




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 1   advance, but there's a beach all my clients go to and that

 2   beach has a life guard building, not a life guard tower but

 3   actual government building on it, and that's one location.

 4   Another location is the DMV.    And there are -- there's

 5   a -- that they simply want to go to.

 6            We're not -- on that issue we're not making a broad

 7   challenge to the parking lot of every government building.

 8   It's -- and taking the beach at the parking lot at KT Flemming

 9   Beach, for example, we don't believe that it's a sensitive

10   place.    However, assuming it is for purposes of addressing the

11   Court's question, I think that maybe the Dunn case isn't

12   exactly analogous, but I think the analysis in the Class case,

13   which the defendants cite to, actually gives us a lot

14   of -- illuminates this issue.

15            In Class, the DC Court of Appeals made a special

16   carve-out for that specific parking lot because it was right

17   next to the capitol building.    It was a government

18   employees' -- only government employees could park there.       And

19   in that situation, they deemed that special parking lot to be a

20   government -- to be a sensitive place.    And a similar argument

21   might be made for, say, a capital building parking lot where

22   only the -- where only employees can go to.    I'm -- I don't

23   want to get too specific, but, you know, I mean, just an

24   example, the capital building, it has -- at the bottom level

25   there's a parking lot.    I'm talking about the Hawaii capital




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 1   building.

 2               THE COURT:    Right.   I understand.

 3               MR. BECK:    And, you know, there's a good argument

 4   potentially if we were challenging that specific location where

 5   that might be a location where the government might want to not

 6   have firearms taken to it.    We're not conceding that; we're

 7   just simply saying that's a much different challenge than what

 8   we are discussing here.

 9         We're discussing a isolated building that's at a beach,

10   just as one example, and people that -- with the parking lots

11   clearly open to the public and people are wanting to go to the

12   beach and there happens to be a building right there.

13         Another example is if -- at certain parks, you know,

14   there might be a ranger station or something like that where,

15   you know, it's a very large park, you know, and there happens

16   to be within that -- within that park a building and then on

17   the other side there's a parking lot.     And that's much

18   different analysis than what the court used in Class.

19         Also in Bondi which the State also cites to -- in Bondi

20   the court used a -- made it clear that, one, it was applying

21   intermediate scrutiny, but in addition to that, the parking lot

22   in Bondi, even under intermediate scrutiny which has now been

23   abrogated because of Bruen, they were actually conducting

24   business in that parking lot as part of the Postal Service's

25   just day-to-day, you know, operations.




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 1               THE COURT:    Understood.   So am I to understand your

 2   argument that you're limiting to these two specific locations,

 3   and because you're really arguing that the government activity

 4   that's going on in these locations that are adjacent to the

 5   parking lots aren't really sensitive areas, so therefore, it

 6   can't -- there cannot be a carve-out or something that might be

 7   related to, and further, that these parking areas are open to

 8   the general public as opposed to limited to the specific

 9   purpose of conducting government business such as like a poll

10   place, or court, or et cetera?

11               MR. BECK:    Yes, Your Honor, except we're not

12   limiting it just to those two places.     In our complaint we have

13   a number of other places, for example, in the parks, just an

14   example.   I mean, I think the most glaring is KT Flemming

15   Beach, but there are other areas within our complaint.       I

16   just -- and many of the parks we're going to they have maybe,

17   say, a ranger station, just an example, you know, and what we

18   want is to make sure we get complete relief if our -- if,

19   assuming this Court rules in our favor, just for example in the

20   park ban, we don't want them to not be able to carry there just

21   because there happens to be a -- a park -- a ranger station or

22   something along that line.

23         But the general statement that Your Honor's making is

24   correct in the sense that we're not simply challenging, saying

25   the parking lot at the federal courthouse, just as an




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 1   example --

 2                THE COURT:    Right.

 3                MR. BECK:    -- you know.

 4                THE COURT:    Understood.   Okay.   Anything else with

 5   regard to that?    And then I wanted to move on to the bars and

 6   restaurants.

 7                MR. BECK:    There's a -- one point I just would like

 8   to make that I didn't address in my brief is the State said

 9   there's a administrative -- this is in the irreparable harm

10   section of their argument which is why I overlooked it.

11   There's a footnote that says that there were preexisting

12   restrictions in government parking lots, and that's -- and I

13   looked up that administrative code, and all it says in there is

14   that there were -- you only could carry if done so in a lawful

15   manner.   So a person with a CCW prior to implementation of

16   SB 1230 would have been able to legally carry in a government

17   parking lot.

18                THE COURT:    All right.    Thank you for that

19   clarification.

20         All right.    So turning then to the bar or restaurants, so

21   the State has, you know, come up with some examples, and I

22   understand what you're saying with regard to the, you know,

23   forbidding, you know, members of the military and so forth

24   drinking, so I agree with you with regard to those.       But then

25   they've brought up some other ones from territories at the time




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 1   barring the sale of alcohol in certain locations that one could

 2   infer are analogous to bars or restaurants serving alcohol.

 3         So I guess two things.     I understand -- and I don't want

 4   to put words in your mouth that, you know, you're saying

 5   territorial law really shouldn't be taken into account or has

 6   less weight -- but where are we in terms of how many historical

 7   analogs does the State need to come up with?    Is it the number?

 8   Is it when it occurred?   Is it the weight because it's happened

 9   in the colonies as opposed to the territories?     What's your

10   position with regard to that?

11              MR. BECK:   Well, as a preliminary matter, I think

12   that we are bound by 1791.    The primary support that the State

13   had in their brief is the Bondi case, the 11th Circuit.     And it

14   was actually the same day -- I don't fault them for -- within

15   the hour of them filing their brief the 11th Circuit had

16   abrogated that and it's taken that case en banc.

17         And so beyond that, there's not really a lot of support

18   for the proposition that 1868, the ratification of the

19   Fourteenth Amendment, should be used, and I think the most

20   practical thing -- reason is it doesn't make a lot of sense for

21   the federal government to be under one standard and for the

22   states to be under another standard 'cause at least the theory

23   for using the 1868 is that's when the Bill of Rights was

24   incorporated to the states.     So there can't be any real valid

25   argument that the federal government would use 1868 as the




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 1   proper time frame.

 2           And if the courts -- this Court -- you know, if courts in

 3   general were to start using 1868, then that would mean that

 4   there's two different standards of time frames to be used, one

 5   for the federal government and one for the state government.

 6   There's no other area of constitutional law where that applies.

 7           And, you know, I know you've already read my briefing so

 8   I won't go into details of the statute, but we already have a

 9   lot of quotations regarding that.       So I think that's our first

10   here.

11           And in the -- as for how many, I think we need to have a

12   majority of the -- of colonial states, colonies -- maybe they

13   could have been territories -- you know, colonies prior to

14   1790.   You know what I mean, Your Honor.

15               THE COURT:    Yes, I do.

16               MR. BECK:    Yeah.   But, you know, I think it has to

17   be a majority.   We have a citation from the Supreme Court where

18   this was after, I think -- yeah, this is a modern era case.

19   We're discussing 13 states isn't enough to create a tradition.

20   And, yeah, this is the one where there was 50 states.       I mean,

21   so I think we know that whatever that percentage is, it has to

22   be greater than that, and it just seems that from the Supreme

23   Court's standpoint they're looking for a real tradition.      A

24   tradition is going to be something that's majority, something

25   that was widely accepted during the founding era, Your Honor.




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 1         And I believe there was a third issue that you wanted me

 2   to address, but I can't remember, Your Honor.

 3                THE COURT:    No, I think that's fine.   That's great.

 4         And then my last area, and then I'll let you argue

 5   whatever or point out to me whatever you want, my questions are

 6   with regard to the beaches.

 7         So during the founding era, you know, beaches were used

 8   much differently than they currently are and particularly here

 9   in Hawaii.   So there really -- there's not going to be a

10   historical analog, that's for sure.

11         And I understand your folks' position is that you want me

12   to look at it in the same analysis as parks, and then you have

13   those examples with the Boston Commons, et cetera.

14         But where there is a location that really didn't exist,

15   has no counterpart in -- to its modern-day location,

16   particularly when it involves, you know, commercial and

17   recreational use, is it of any value or consideration for the

18   court to look at cultural practices and history for states

19   where, like Hawaii, beaches have played an integral role in the

20   community, government, and society?      Is that something that I

21   should consider as part of the analysis, or you think that

22   because it wasn't part of the colonies at the time that it

23   should be of no matter?

24                MR. BECK:    Well, I think, Your Honor, that because

25   we're challenging a state law that bans carry completely on




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 1   beaches and that's, you know, at Waikiki, that's at Sandy's,

 2   you know, that's any beach, especially on the outer islands

 3   where it's much more rural than Oahu, it's -- we can't take in

 4   the specific cultural practices.

 5           I think that would be a little bit of a different

 6   analysis, though, if the state law had a ban on -- well, little

 7   bit of a cop-out -- but polling places that happen to be on

 8   beaches.   That's not a good example.   But if they had a -- I

 9   know we're post Bruen.   I don't mean it in that sense.     If the

10   law was crafted in a way where it wasn't all beaches but

11   instead it was these specific beaches when -- or in these

12   specific circumstances that traditionally people were able to

13   carry, you know, and cited to those specific historical

14   practices, or maybe even other cultural practices.

15           But here in a situation where it's just simply a carte

16   blanche ban on all beaches, I think we are bound to simply look

17   at what was happening at beaches in general, you know, at 1791.

18   And if the State were to come back, it would be a little bit of

19   a different law that wasn't quite so expansive, and let's just

20   say, you know, you can't carry when this specific event is

21   going on, then they can, you know, cite back, Hey, there's a

22   historical tradition here of not allowing carry at this type of

23   event on a beach or specifically analogize some other way, you

24   know.

25           But in light of the fact this is just simply a broad ban




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 1   on beaches, I don't think that's something we can do in this

 2   particular circumstance, Your Honor.

 3               THE COURT:    Okay.   I think I understand your

 4   argument.   For instance, the City of Refuge on the island of

 5   Hawaii, historically, you know, people were given protection

 6   and safety and no one was allowed to bring any kind of weapon

 7   in that area, and if you reached the City of Refuge, then you

 8   couldn't be arrested or punished or what have you.     You had a

 9   period of grace and -- but no one was allowed to bring weapons.

10         So what I hear you saying -- I'm not saying you're

11   conceding this as to that area and that beach -- but that if it

12   was specifically identified and based on those cultural

13   reasons, then you're saying there might be a case for it.

14         But where you're saying if they have a general ban on all

15   beaches, it'd be inappropriate for the court to take a look at

16   the historical and cultural significance of beaches and how it

17   was used during the same period of time, you know, 1791.

18               MR. BECK:    Yeah, that's essentially my argument.

19   You know, I mean, what popped into my head is because we're

20   talking about Maui County.

21               THE COURT:    Yes.

22               MR. BECK:    Molokai, there's that particular -- with

23   the priest -- there's a particular county --

24               THE COURT:    Father Damien, you mean?

25               MR. BECK:    Yes, Your Honor.




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 1              THE COURT:    You talking about Kalaupapa?

 2              MR. BECK:    Yes, I mean, something like that.    I

 3   mean, this is completely beyond the scope of this case but --

 4              THE COURT:    Right.

 5              MR. BECK:    -- I'm just simply saying that, you know,

 6   if there was some -- if the legislature came back and came back

 7   with a -- something that wasn't just plain beach ban, this is

 8   an analysis we could really look into, but I just don't think

 9   that's the case here, Your Honor.

10              THE COURT:    Understood.   Anything else that you wish

11   to argue before the court before I turn to the State's counsel?

12              MR. BECK:    Just on the topic of beaches, Your Honor?

13              THE COURT:    Anything else with regard to your

14   petition for a temporary restraining order.

15              MR. BECK:    Well, I just -- I know I pointed this out

16   in the briefing, but I just want to be very clear that the

17   State's position is in -- that carry's been banned in state

18   parks since 1990, that's simply not the case.

19         I looked up the administrative code, and any argument on

20   irreparable harm failing because of that just can't be

21   done -- isn't valid because the ban was you couldn't carry in a

22   way that would harass animals.    It was perfectly valid up until

23   the passage of SB 1230 to carry with a -- in a lawful, safe

24   manner with the CCW, Your Honor.

25         And -- but beyond that, I'll -- I'm hopeful the Court




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 1   will let me reply afterwards, Your Honor.

 2              THE COURT:     I will.   Thank you.

 3              MR. BECK:    Yes.    Thank you, Your Honor.

 4              THE COURT:     All right.      Mr. Gifford.

 5              MR. GIFFORD:    Thank you, Your Honor.

 6         Do you have any preliminary questions for me, or may I

 7   respond to some of the points that were addressed by Mr. Beck?

 8              THE COURT:     Yes, if you could respond particularly

 9   with regard to the parking areas adjacent to any government

10   building first, that would be helpful.

11              MR. GIFFORD:    Yes, Your Honor.

12         The State's position with respect to parking lots

13   adjacent is that the term adjacent means parking lots that

14   exclusively serve a particular place.        So consistent with Class

15   and Bonidy, which analyzed this issue in a manner that it's

16   still good after Bruen, was not disrupted by the Bruen

17   framework, both cases are instructive here.

18         If a location is sensitive that a parking lot is adjacent

19   to that place, that parking lot exclusively serves the place in

20   the way that the parking lots did in Class and Bruen.        And

21   given the better interpretation of adjacent, the clearer

22   interpretation consistent with the rule of lenity,

23   constitutional avoidance, and legislative intent that the State

24   advances, plaintiffs' conduct is not even covered by the

25   adjacent parking lots clause within the relevant provisions




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 1   that they challenge, so the Court need not address the merits

 2   of those arguments.

 3         However, if the Court were to address the merits, then we

 4   believe that the parking lots adjacent to government buildings

 5   are sensitive for the same reasons that the courts held in

 6   Class and Bonidy.

 7         Does that address Your Honor's questions on parking lots?

 8              THE COURT:     Yeah.   So if I'm to understand you, you

 9   know, along the lines of Class then, I would look at what kind

10   of activities are conducted in the adjacent -- so adjacent

11   isn't just a geographical reference then; you're saying a

12   physical connection.    You're saying that there's adjacent

13   meaning where the business of the sensitive areas take place

14   also in the parking lot, that's what's meant adjacent to.

15              MR. GIFFORD:    Correct, Your Honor.     And that means

16   that the parking lots that the plaintiffs have highlighted,

17   such as the parking lot that is shared by the DMV and the Ross

18   and the Ace Hardware, would not be a sensitive place because it

19   does not exclusively serve the DMV.     Likewise, the parking lot

20   that's shared by plaintiff Kasprzycki's business and the

21   financial institution located in the same parking lot of his

22   business would not be a sensitive place because it is not

23   exclusively serving that bank.

24              THE COURT:     Okay.   Fair enough.   Thank you.   I

25   appreciate that.    That's a great clarification.




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 1         All right.   So maybe this is the time -- good time to

 2   segue to banks and financial institutions.     So I understand

 3   what your arguments are.   You brought, you know, historical

 4   examples.   And so are markets and fairs the same as banks and

 5   financial institutions?

 6               MR. GIFFORD:   We believe that they are analogous to

 7   banks and financial institutions.      And I'd like to just flag at

 8   the outset that plaintiffs have not shown that they have

 9   standing to challenge the bank's provision because even in

10   their late-breaking declarations submitted with their reply,

11   which the State does not believe the Court should consider

12   because those declarations were not submitted with the moving

13   papers, the plaintiffs have not identified any banks that have

14   said that plaintiffs would be permitted to carry.

15         We also -- our position is that the bank provision cannot

16   be challenged even -- or the plaintiffs' challenge, rather, to

17   that provision fails at the first step of Bruen because the

18   plaintiffs have failed to show that the scope of the Second

19   Amendment covers their right to carry in financial institutions

20   in the first place.

21         But even if the Court were to analyze the question of the

22   second step, we believe that the tradition going back to the

23   1300s of restricting firearms in fairs and markets and other

24   commercial centers would provide a ready analog.

25         Judge Román's opinion in the Frey decision in the




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 1   Southern District of New York which analogized Times Square to

 2   fairs and markets is instructive on this point.       And I'd like

 3   to clarify that while plaintiffs try to disparage those early

 4   fairs and markets laws as containing a terror requirement, it

 5   nevertheless is significant that those laws holding the terror

 6   requirement to the side isolated fairs and markets as unique

 7   places.   And even Judge Suddaby in the Antonyuk decision on

 8   which the plaintiffs rely recognized that fairs and markets

 9   were unique places and indicated that if the plaintiffs in that

10   case had had standing to challenge the Times Square

11   prohibition, that he would have reached the same outcome that

12   Judge Román did in the Frey case.

13          And we also think just from the common sense perspective

14   and as the banks testified in support of this law, it would be

15   I believe shocking to the ordinary person to learn that the

16   state is unable to prohibit firearms in banks.

17               THE COURT:     Well, it may be that the individual

18   financial institutions can do so.        I mean, they're private

19   businesses, but they are -- they've invited the public to come

20   in.   So it may be that the state can't prohibit that, but it

21   may be on an individual basis that these banks and financial

22   institutions could do so; isn't that correct?

23               MR. GIFFORD:    The State agrees that financial

24   institutions can prohibit individuals from carrying firearms

25   onto their property, but the State as well possesses the power




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 1   to prohibit firearms in sensitive places, and given the long

 2   tradition going back to the 1300s of prohibiting firearms in

 3   commercial centers such as fairs and markets, and then there's

 4   beyond that the entire robust tradition of 19th century

 5   prohibitions on all manner of commercial and social places

 6   where the proprietors privately could have prohibited firearms

 7   themselves, the State believes that there is an ample -- ample

 8   support for the banks and financial institutions provision.

 9              THE COURT:     Okay.   You know -- and I understand your

10   common sense argument -- unfortunately, that wasn't included

11   anywhere in Bruen in terms of what the government or, you know,

12   your client's burden is in terms of, you know, demonstrating

13   overcoming the Second Amendment constitutional right.

14              MR. GIFFORD:    The point is well taken, Your Honor.

15   I believe that the common sense merely reinforces the long

16   tradition of regulation in these sorts of commercial spaces

17   going back to the 1300s.

18              THE COURT:     Okay.   I appreciate that.   And what

19   about the argument that the cutoff is 1791 so I shouldn't be

20   looking at anything?

21              MR. GIFFORD:    Thank you, Your Honor.      I'd like to

22   address that point in several respects.

23         I think the first is to dispel with the argument that

24   we've somehow relied on the now-vacated decision in Bonidy in a

25   way that affects our case at all.       That was one of myriad cases




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 1   that has found 1868 to be relevant, and that it's vacated makes

 2   no difference to our argument.

 3           The overwhelming majority of courts have found that 1868

 4   is relevant.     Even the Antonyuk decision on which the

 5   plaintiffs rely found that 1868 was relevant.      The Maryland

 6   Shall Issue decision found that 1868 was relevant, the Frey

 7   decision, and then numerous pre-Bruen decisions as well.

 8           And with respect to the point that the content of the

 9   Second Amendment and the Fourteenth Amendment right to bear

10   arms needs to be the same so that the right has the same

11   content with respect to the state and federal government, we

12   absolutely agree, but we believe that the content of that right

13   is determined as of 1868, and we think that the relevant

14   portion of Justice Thomas's opinion in Bruen speaks clearly to

15   that.   It cites and quotes at length from an article by Kurt

16   Lash which essentially explains that in 1868 the states that

17   ratified the Fourteenth Amendment breathed contemporary

18   meaning into that amendment and so breathes contemporary

19   meaning into the Second Amendment with respect to both the

20   states and the federal government.

21           And in a sense it's a theory of reversing corporation

22   against the federal government with respect to the Second

23   Amendment, but clearly it pegs the content of the Second

24   Amendment as applied against the states to an 1868

25   understanding.    And as we've explained and shown through the




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 1   laws from the middle of the century, but before and after 1868,

 2   there is a wealth of relevant and analogous restrictions.

 3               THE COURT:     Uh-huh.   Okay.   Fair enough.

 4         So moving on to bars and restaurants serving alcohol, you

 5   know, there's been this whole contention -- well, first of all,

 6   I would say I tend to agree with regard to the general laws

 7   about forbidding alcohol to militia and so forth, that's a

 8   little far removed in terms of what we're talking about.

 9         But you have presented, you know, laws in the

10   territories, Kansas, and then also a Connecticut law, so one of

11   the colonies barring or criminalizing possession of pistols by

12   intoxicated persons, talking about linking it up to the sale of

13   alcohol.   And then you have, of course, referred to different

14   areas about serving alcohol in fandangos and other places, so I

15   understand your argument about 1868.

16         And then I come back to the, you know -- you know, I

17   guess it's how many angels can dance, you know, on the top of a

18   pin -- the head of a pin, you know, how many historical analogs

19   does the State need to bring forth in order to make a

20   sufficient argument to overcome its burden?

21               MR. GIFFORD:    I'd like to make a few points in

22   response to that question because I think that the plaintiffs

23   have misread our history.     And while the State's position is

24   that the laws prohibiting individuals from drinking and

25   carrying guns are analogous, the State believes that they do




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 1   inform our analysis here because the concerns of mixing alcohol

 2   and firearms were the same then as they are now.

 3         There are other laws that we cite, and this is on pages 8

 4   and 9 of our brief, that are from the mid-1700s from states as

 5   well that prohibit, for example, the sale of liquor anywhere

 6   near a training ground, and so there those words specifically

 7   prohibiting individuals from drinking and carrying firearms,

 8   although the laws also did that.

 9         And so really there's a tradition going back to the

10   mid-1700s, including the states as well and not just

11   territories, of prohibiting the sale of alcohol in proximity to

12   firearms regardless of whether those carrying the firearms were

13   drinking.

14         With respect to the number of laws, I believe that

15   Mr. Beck said that a majority of states need to have adopted

16   such laws.   The Bruen court did not impose anywhere near such a

17   high hurdle when explaining why the places that it understood

18   and assumed it settled to be sensitive were, in fact,

19   sensitive.   Some of those laws which the Court cited secondary

20   scholarship for were two laws in Maryland in the mid-1600s that

21   supported the designation of polling places as sensitive, maybe

22   one or two laws somewhere else.    There were very few laws, and

23   it was the fact that those laws were long established and had

24   not been challenged that was sufficient for the designation of

25   those places that we know are sensitive.   So that there's no




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 1   indication that a majority of states or colonies need to have

 2   had such a law on the books.

 3         And furthermore, the notion that territorial laws can be

 4   disregarded altogether or that laws that cover a substantial

 5   but nonmajoritarian population can be disregarded is

 6   inconsistent with the Bruen decision.    Bruen was saying simply

 7   that where the weight of history cuts in one direction, a few

 8   later laws from territories that cover less than one percent of

 9   the population can't swing the analysis in the opposite

10   direction, and it was not saying that these laws deserve no

11   weight or that courts should be doing a percentage analysis.

12              THE COURT:     Thank God, 'cause I don't want to do a

13   percentage analysis.    It's enough that I have to look at

14   historical references and figure out whether or not -- or what

15   weight to give them.

16         All right.   I appreciate that.    Anything else with regard

17   to that?

18              MR. GIFFORD:     On the bars and restaurants point, no,

19   Your Honor, although I would just like to again reiterate the

20   initial standing argument and the initial step one argument

21   because we think that the declarations that were submitted

22   should not be considered at this stage.    But I would also like

23   to address the beaches point and the parkland point.

24              THE COURT:     Yes.

25              MR. GIFFORD:     With respect to the parkland




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 1   point -- and again, we think that plaintiffs have delayed too

 2   long simply to challenge this law on a TRO basis given that

 3   they had two months from the time the bill was passed and

 4   three weeks from the time that the law was signed.

 5           But with respect to the state parks prohibition, Hawaii

 6   Administrative Rule 13-146-19(a) says no firearms, I'm

 7   paraphrasing, except as provided herein, and then (b) says you

 8   can possess firearms in accordance with 13-146-41.   And that

 9   says yes, you can't molest or kill animals unless you're

10   authorized.   So it's saying simply you cannot possess firearms;

11   that's the rule.   And then the exception is you can possess

12   them if you're authorized to hunt.    There's nothing in there

13   that the State has found that would suggest that there is some

14   embedded permission to carry for self-defense if you have a

15   concealed carry permit.

16           And so although not necessary to find that plaintiffs

17   have delayed too long to show irreparable harm, we -- the

18   State's position is that that is just another reason in order

19   to find that the State -- that the plaintiffs have delayed too

20   long.   So that was one point that I wanted to address that

21   Mr. Beck raised.

22           Another is the point that Mr. Beck made with respect to

23   beaches.   I believe that the -- to the extent that the

24   declaration specified the beaches that the plaintiffs want to

25   visit and specify how populated those beaches are, they're all




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 1   indicated to be moderately or very populated, so I don't even

 2   think on this record that plaintiffs have demonstrated an

 3   intent to visit an isolated beach.

 4         But regardless, the analogs that we found and that we've

 5   put forth to the Court and the expert evidence from software

 6   now from Terence Young doesn't look to the density of parks and

 7   beaches when determining the purpose for designating those as

 8   sensitive.

 9         The purpose of designating those locations as sensitive

10   is that they were meant to be places of quiet reflection and

11   enjoyment of nature, and that that enjoyment was disrupted by

12   the presence of firearms as it was by the presence of

13   projectiles, and even, according to Professor Young, of sports

14   and athletic activities which had to be taken and done in other

15   parts of the parks.

16         And the idea that there has been open natural space

17   forever is simply too reductive when one is trying to

18   understand the rise of the modern American parks movement and

19   the rise of modern American beaches.   The experience in Hawaii

20   with respect to beaches is a perfect illustration of this.

21         There has been beach land for a long time.   There has not

22   been modern beach tourism for a long time.   But even the modern

23   American parks movement, although it's taken for granted that

24   parks seem to exist everywhere, really didn't rise until the

25   mid-1800s, and our experts have explained that their kind of




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 1   earlier antecedents, such as the Boston Common, were not parks

 2   in the modern conception of parks.     Even the article that

 3   plaintiffs cite for that proposition that Boston Common was

 4   somehow a relevant space is called Before Parks and it's

 5   talking about spaces that predated modern American parks.

 6         So when one looks to the beginning of modern American

 7   parks, both urban parks, state parks, and national parks, one

 8   is looking at parks like New York's Central Park, or Brooklyn's

 9   Prospect Park, or Philadelphia's Fairmount Park, and all of

10   those parks.   And I believe the thought that parks in the five

11   most populous American cities with -- and this is in the

12   Cornell declaration -- all banned firearms in their parks.       So

13   to describe those as outliers I think is misleading and

14   certainly not consistent with the Bruen analysis.

15         One other point that I would like to make because on --

16   on the declaration, because I know that plaintiffs submitted a

17   number with their reply brief, is that plaintiffs have

18   submitted a declaration that purports to rebut Professor

19   Cornell's declaration, and at the preliminary injunction stage

20   we would like an opportunity to supplement all of our

21   declarations, but particularly the declaration submitted by

22   Professor Cornell, in order to respond to the purported

23   rebuttal declaration from -- from the expert, Mr. Cramer.

24              THE COURT:   Fair enough.    We'll be setting dates

25   with regard to that in terms of submission of affidavits and




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 1   declarations.

 2               MR. GIFFORD:     Thank you, Your Honor.   And if Your

 3   Honor wouldn't mind, I'd like to just address a few other

 4   points --

 5               THE COURT:     Yes, please.

 6               MR. GIFFORD:     -- that were not addressed by

 7   Mr. Beck.

 8               THE COURT:     Yes.

 9               MR. GIFFORD:     One of the first points that I think

10   is crucial to understanding this case is the plaintiffs' lack

11   of standing.    As discussed, plaintiffs have submitted some

12   11th-hour declarations that should not be considered with

13   respect to sensitive places.

14         But with respect to the default rule, plaintiffs have

15   failed to show standing for a more fundamental reason which is

16   that they cannot show traceability or redressability because

17   any injury they have is traceable to the decision of the

18   private property owner not to allow plaintiffs on to their

19   property.

20         As the State understands the late-breaking declarations

21   that the plaintiffs have submitted, these are private property

22   owners who are saying We welcome plaintiffs as gun owners to

23   carry guns on our property, but we won't allow them on as long

24   as 134-E is on the books.

25         The State understands that to be an express grant of




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 1   permission, in which case the plaintiffs have not suffered any

 2   injury from their failure or their inability to go on to this

 3   private property.    To the extent it's an exclusion, it's -- the

 4   State believes something approaching gamesmanship because there

 5   seems to be a preference to allow the plaintiffs on and only a

 6   possible denial in the hopes of creating a case.

 7         Plaintiffs argue that it's novel to require them to show,

 8   to allege that they would be permitted to carry in any of the

 9   places that they would like to carry absent the restrictions

10   that they challenge, but there's nothing novel about requiring

11   plaintiffs to allege and prove standing.   That's a bedrock

12   Article III principle.    And none of the other decisions

13   post-Bruen of which we're aware have addressed the first step

14   standing arguments that we're making here, particularly with

15   respect to the default rule.

16         The plaintiffs rely on a few decisions repeatedly, such

17   as the Antonyuk decision and the Koons decision.    Those didn't

18   address the precise arguments we're raising here, and even to

19   the extent that they come close, those decisions have both been

20   stayed by the appellate courts pending appeal.

21         I'd like to clarify one point about how we understand the

22   first step of the Bruen test to work.   The plaintiffs seem to

23   say that all that matters is the dictionary definition of the

24   words "bear" and "arms," and as long as you are carrying some

25   sort of weapon, then you've satisfied Bruen's first step.     If




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 1   that were the case, then it would be trivially easy to satisfy

 2   Bruen's first step.   Plaintiff would be bearing arms regardless

 3   of whether he wanted to bring a rifle to a shooting range or a

 4   hand grenade into a school.   And there needs to be more content

 5   than that when one is trying to understand Bruen's first step.

 6         Even the Koons decision and the Antonyuk decision on

 7   which the plaintiffs rely, which again have been stayed in full

 8   or in large part to the extent they ruled against the State,

 9   understood that there must be some sort of locational

10   restriction in the text of the Second Amendment such that the

11   Second Amendment even at step one would not allow individuals

12   to carry on to private property close to the public without the

13   owner's consent.

14         And I think that the Eleventh Circuit's decision in the

15   GeorgiaCarry.org decision -- GeorgiaCarry.org case addressed

16   this exact point, and although it's pre-Bruen, it was doing a

17   step one analysis which Bruen endorsed, is probably consistent

18   with Heller, and the court there explained that there is no

19   right -- it is not within the scope of the Second Amendment to

20   carry firearms on private property without the owner's consent.

21         I believe that those are -- we've talked through most of

22   the step two arguments with respect to bars, parks, and

23   beaches, and financial institutions, and so I think that I

24   don't have anything further to say on the second step of Bruen

25   as it applies to the places that plaintiffs are challenging.




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 1         I would like to say with respect to the second step as it

 2   applies to the private property default rule, if the Court

 3   decides to analyze the private property default rule at step

 4   two -- and we believe that we would win at steps one and two --

 5   there is a long tradition going back to the early 1700s of

 6   prohibiting individuals from carrying guns on other's property

 7   without consent.   And the plaintiffs argue that these laws

 8   dealt only with hunting, but it's apparent from the text of the

 9   laws which we have submitted that these laws imposed distinct

10   prohibitions on hunting and carrying without consent.

11         I'd also like to address Plaintiff Kasprzycki's compelled

12   speech claims because we believe Plaintiff Kasprzycki is not

13   being compelled to say anything, and unlike in other compelled

14   speech cases, Plaintiff Kasprzycki is not required to speak a

15   specific message as a condition of opening his business to the

16   public.   Instead, he may operate his business and simply remain

17   silent on the issue of guns.

18         Even the Koons case, on which plaintiffs rely heavily,

19   rejected this compelled speech argument, and there's no

20   distinction within Koons that could be made as to speech with

21   respect to property that goes open to the public and closed to

22   the public, which is a distinction that plaintiffs try to draw.

23         The Antonyuk decision did accept the compelled speech

24   arguments that plaintiffs are making, but then it was stayed by

25   the Second Circuit meaning that the Second Circuit has found




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 1   that that claim is likely to fail.

 2           Furthermore, if Plaintiff Kasprzycki were correct that

 3   the default rule compelled speech by requiring him to express

 4   consent to allow guns on his property, then the opposite rule

 5   would compel even more speech because it would require Hawaii

 6   businesses, the majority of which oppose guns on their

 7   property, to express their lack of consent in order to prohibit

 8   guns.   And this is detailed in a very helpful way in the amicus

 9   brief that Honolulu submitted in support of our opposition.

10           And there's just one final point I would like to make

11   with respect to scope of relief, which is that plaintiffs

12   cannot obtain facial relief here because they cannot show that

13   there is no set of circumstances in which the challenged

14   provisions can be constitutionally applied.    They argue that

15   they can bring an overbreadth challenge, but overbreadth

16   challenges are limited to the First Amendment context, and they

17   are disfavored even there.

18           The plaintiffs cite Judge Seabright's decision in

19   Yukutake and the Supreme Court's decisions in Heller and Bruen,

20   but none of those cases applied an overbreadth framework, so

21   plaintiffs can only bring an as-applied challenge here, and for

22   the reasons that I've discussed, their challenge fails.

23           I'd welcome any further questions from the Court.

24               THE COURT:   I don't have any.   Thank you.

25           I'll turn to Mr. Beck and give him the final word.




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 1              MR. GIFFORD:   Thank you, Your Honor.

 2              MR. BECK:   I -- I won't address everything that

 3   Mr. Gifford said because most of it has been addressed in our

 4   briefing, but I do have a few points to make.

 5         As to the declarations, as an initial matter we don't

 6   actually think the Court needs to use the declarations because

 7   we have standing apart from that.

 8         However, Judge Otake in Yukutake v. Lopez, which was --

 9   is a standing decision that she decided in -- it was about

10   January or February -- it was this year -- had a -- accepted

11   submissions made after a -- in a reply in a situation just like

12   that where we filed these as supplemental authority because the

13   State made a new argument in I think it was a reply brief.     So

14   there's -- Judge Otake's reasoning was fully applicable here in

15   this situation because it was just raised in their response for

16   the first time.   We addressed that in the reply with the

17   declarations.

18         As for the issue of restaurants, we are not challenging

19   the State's ability to ban people who are actually drinking

20   from carrying a firearm, and all the State's historical sources

21   are dealing with people who are actually drinking.

22         Our clients want to order a pizza and -- while not

23   drinking -- and, you know, just simply eat there.    And it

24   doesn't -- it's not really relevant whether someone is having a

25   beer, you know, a few tables down.    So on -- and there's




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 1   already a Hawaii law that bans operating firearms while

 2   intoxicated, so that wouldn't go away.

 3              THE COURT:    Well, so that's a little finer point.

 4   So the -- so under the Bruen analysis that the court's supposed

 5   to conduct, the State has brought forth examples of laws that

 6   tie the sale of alcohol to individuals, you know, for

 7   consumption and banning firearms.      And it doesn't seem -- and I

 8   may have missed it, so point it out to me -- that any of these

 9   laws indicate, well, it's -- but if people are just eating and

10   they're not consuming -- it didn't seem to be the consumption

11   of alcohol, but the sale of alcohol, you know, impliedly for

12   consumption.

13         So I think you're drawing a very fine distinction saying,

14   well, as long as you go to the restaurant and you have the

15   intent of not consuming alcohol but just eating, consuming food

16   or nonalcoholic beverages, then the state shouldn't be able to

17   forbid you from carrying a firearm.

18              MR. BECK:    Well, I -- Your Honor, well, at least I'm

19   saying we're not challenging that right here.     And, you know,

20   that's a much different situation.      If -- if this is 1791, I go

21   and I -- and I'm ordering a drink, I mean, there's a safe

22   assumption that I want to drink that drink --

23              THE COURT:    Right.

24              MR. BECK:    -- you know.    And --

25              THE COURT:    But it's not so much ordering a drink;




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 1   it's going to an establishment that serves alcohol, whether or

 2   not you order it.    And that's the situation that we find

 3   ourselves in under the current law that you're seeking the TRO,

 4   right?    It's -- it's a bar or restaurant serving alcohol for

 5   consumption on premises, not, you know, a supermarket where

 6   you're going to take it out or a liquor store.     It's for

 7   consuming it on the premises, and they've given me these

 8   historical analogs where there's been a distinction between

 9   banning firearms where there's the consumption of alcohol.

10                MR. BECK:    You know, I -- my recollection of reading

11   those statutes was these all pertain to situations where people

12   are actively ordering or drinking alcohol.     I don't recall

13   seeing any statutes that just simply forbid carrying a firearm,

14   you know, being within close proximity to the service of

15   alcohol.    I generally don't --

16                THE COURT:    I don't think there's any fandango,

17   ballroom, or what have you where alcohol is or intoxicating

18   liquors are consumed or sold -- I can't remember the exact

19   words -- and so I'm with you on that.

20            But that seemed to be the connection this place -- I

21   mean, they've cited all these other prior cases about

22   specifically banning firearms or not allowing firearms where --

23   to an intoxicated, you know, militia or so forth.

24            But there was also the Oklahoma law banning firearms at

25   any place where intoxicating liquors are sold, 1890 Oklahoma




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 1   Territory Statute.   So laws such as that, sort of this

 2   connection of the place where these are sold, you know, with

 3   the inference they're consumed there, you know, and that's

 4   specifically this -- this law is specifically tailored for

 5   consumption on premises and adjacent parking lots, so serving

 6   alcohol for consumption on premises and adjoining parking lots.

 7         I realize the distinction that you're making.      They're

 8   going to go to a place where the restaurants and bars may sell

 9   alcohol for consumption on the premises and they're not going

10   to consume it and they want to be able to carry firearms

11   because they're not consuming alcohol; they're going to be

12   eating or drinking nonalcoholic beverages.

13               MR. BECK:    Yes, Your Honor.   I -- without -- just as

14   a -- don't have a -- without conceding that --

15               THE COURT:    Okay.

16               MR. BECK:    -- those statutes are specifically, you

17   know, prohibiting carrying guns within restaurants, I mean.

18               THE COURT:    Okay.

19               MR. BECK:    One, I mean, that's a territorial law

20   which is specifically forbidden from Bruen, and it's 1890 which

21   is a little bit late even if we're talking about -- even if

22   1868 were used, and again, you know, our position is 1791 is

23   the year.

24               THE COURT:    Right.

25               MR. BECK:    If it's just one that the State was able




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 1   to find, that just simply wouldn't be enough and, you know.

 2                 THE COURT:    Understood.    That's the only one I have

 3   in my notes that I can talk to.       I remember there was a

 4   Louisiana -- I mean a New Orleans law that you pointed to, but

 5   I guess you would say that's also a territory as opposed to one

 6   of the colony states.      Understood.     I think I understand your

 7   argument.

 8         I didn't mean to interrupt you.         Is there anything else

 9   you want to add or clarify?

10                 MR. BECK:    Just we addressed -- no, just the last

11   thing is the Eleventh Circuit GeorgiaCarry case.        The Eleventh

12   Circuit very specifically said that they would frame that

13   argument in a situation where there was

14   affirmative -- affirmative denial to carry, and does a person

15   have a right to come onto a land where they've affirmatively

16   not been told they can't carry.       I say this a little more

17   articulately within the briefing.         It's within the footnotes,

18   though, so I just wanted to raise that so it's not overlooked.

19         But beyond that, that's the remainder of my argument,

20   Your Honor.

21                 THE COURT:    Thank you very much.

22         Well, I thank --

23                 MR. BECK:    Thank you very much.

24                 THE COURT:    -- all counsel for their briefing and

25   their oral arguments, very helpful to the court.        The court




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 1   will take the matter under advisement and issue its written

 2   order as soon as possible.    And I'm not going to give a

 3   specific date for that, but we recognize, you know, that you

 4   folks are looking forward to the decision and it is a motion

 5   for temporary restraining order, so we will move with all

 6   cautious speed as much as possible.

 7         All right.    Wish all of you a very good Friday.

 8         There being nothing further before the court, we stand

 9   adjourned.   Good day, everyone.

10                THE COURTROOM MANAGER:     This Honorable Court is now

11   in recess.

12                (Proceedings concluded at 11:28 A.M.)

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 1                    COURT REPORTER'S CERTIFICATE

 2

 3                 I, DEBRA READ, Official Court Reporter, United

 4   States District Court, District of Hawaii, do hereby certify

 5   that pursuant to 28 U.S.C. §753 the foregoing is a complete,

 6   true, and correct transcript of the stenographically reported

 7   proceedings held in the above-entitled matter and that the

 8   transcript page format is in conformance with the regulations

 9   of the Judicial Conference of the United States.

10
                   DATED at Honolulu, Hawaii, August 14, 2023.
11

12

13                         /s/ Debra Read

14                         DEBRA READ, CSR CRR RMR RDR

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                         CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Ninth Circuit by using the

appellate CM/ECF system on August 15, 2023.

       I certify that all participants in the case are registered CM/ECF users and

that service will be accomplished by the appellate CM/ECF system.


                                        /s/ Neal Kumar Katyal
                                        Neal Kumar Katyal
